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            EXHIBIT 3
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                                       May 31, 2018                                  1

   ·1· · · · · · IN THE UNITED STATES DISTRICT COURT

   ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

   ·3

   ·4

   ·5

   ·6
   · · · ·*****************************
   ·7· · ·ALEKSEJ GUBAREV, XBT HOLDING
   · · · ·S.A., AND WEBZILLA, INC.,
   ·8
   · · · · · · Plaintiffs,
   ·9
   · · · ·vs.· · · · · · · · · · · · · · · ·Case No.:
   10· · · · · · · · · · · · · · · · · · · ·1:17-cv-60426-UU
   · · · ·BUZZFEED, INC. AND BEN SMITH,
   11
   · · · · · · Defendants
   12· · ·*****************************

   13

   14· · · · · · · · · · · · CONFIDENTIAL

   15· · · · ·VIDEOTAPED DEPOSITION OF JEFFREY ANDERSON

   16· · · · · · · · · ·Thursday, May 31, 2018

   17· · · · · · · · · · · · ·10:12 a.m.

   18· · · · · · · · · · · · · Held at:

   19· · · · · · · · · Ciampa Fray-Witzer, LLP

   20· · · · · · · · · · · ·20 Park Plaza

   21· · · · · · · · · · · · · Suite 505

   22· · · · · · · · · ·Boston, Massachusetts

   23

   24· · · · · · Judith McGovern Williams, CSR, CRR
   · · · · · · · ·Registered Professional Reporter
   25


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   ·1· · · APPEARANCES:

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   ·3· · · ·Evan Fray-Witzer, Esquire

   ·4· · · ·20 Park Plaza

   ·5· · · ·Suite 505

   ·6· · · ·Boston, Massachusetts 02116

   ·7· · · ·617-426-0000

   ·8· · · ·evan@cfwlegal.com

   ·9· · · and

   10· · · BOSTON LAW GROUP, PC

   11· · · ·Val Gurvits, Esquire

   12· · · ·825 Beacon Street

   13· · · ·Suite 20

   14· · · ·Newton Center, Massachusetts· 02459

   15· · · ·617-928-1800

   16· · · ·vgurvits@bostonlawgroup.com

   17· · · ·Both on behalf of the Plaintiffs

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   ·1· · · APPEARANCES (continued):

   ·2· · · DAVIS WRIGHT TREMAINE LLP

   ·3· · · ·Nathan Siegel, Esquire

   ·4· · · ·Alison B. Schary, Esquire

   ·5· · · ·1919 Pennsylvania Avenue NW

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   ·7· · · ·Washington, D.C.· 20006-3401

   ·8· · · ·202-973-4237

   ·9· · · ·nathansiegel@dwt.com

   10· · · ·alisonschary@dwt.com

   11· · · ·On behalf of the Defendants

   12

   13· · · Also present:

   14· · · ·Robert Giannini, Videographer

   15

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   ·1· · · · · · · · · · · · · I N D E X

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   ·3· · · JEFFREY ANDERSON

   ·4· · · By Mr. Siegel· · · · · · · · · · · · · · · ·8

   ·5

   ·6· · · · · · · · · · · E X H I B I T S

   ·7

   ·8· · · EXHIBIT· · · · · DESCRIPTION· · · · · · · PAGE

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   10· · · Exhibit 1· ·One-page chart· · · · · · · · ·37

   11· · · Exhibit 2· ·Supplemental Expert Report· · ·62

   12· · · Exhibit 3· ·Holding Consolidated 2016· · · 93

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   16· · · · · · · · · ended 31 December 2016

   17· · · Exhibit 5· ·XBT Holding Limited Equity· · ·96

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   ·2· · · · · · · · · Consolidated Business Plan

   ·3· · · · · · · · · prepared November 2016,

   ·4· · · · · · · · · bearing production numbers

   ·5· · · · · · · · · P-G 001035 through

   ·6· · · · · · · · · P-G 001087

   ·7· · · Exhibit 9· ·Expert report of Jeff· · · · · 170

   ·8· · · · · · · · · Anderson, bearing

   ·9· · · · · · · · · production numbers P-S

   10· · · · · · · · · 000005 through P-S 0000044

   11· · · Exhibit 10· BuzzFeed news article· · · · · 203

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   19· · · · · · · · · Positions Generated on

   20· · · · · · · · · February 16, 2018

   21

   22

   23· · · (Original exhibits retained by the court

   24· · · reporter.)

   25


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   ·1· · · · · · · · · ·P R O C E E D I N G S

   ·2· · · · · · · · · · · · · · - - -

   ·3· · · · · · · · · ·It is stipulated and agreed

   ·4· · · · · ·by and between counsel that the

   ·5· · · · · ·deponent will read and sign the

   ·6· · · · · ·deposition transcript before a

   ·7· · · · · ·Notary Public within 30 days of

   ·8· · · · · ·receipt of the transcript.· The

   ·9· · · · · ·filing of the transcript is waived.

   10· · · · · · · · · ·It is further stipulated and

   11· · · · · ·agreed by and between counsel that

   12· · · · · ·all objections, except as to the

   13· · · · · ·form of the question, and all

   14· · · · · ·motions to strike are reserved until

   15· · · · · ·the time of trial.

   16· · · · · · · · · · · · · · - - -

   17· · · · · · · · · ·THE VIDEOGRAPHER:· Good

   18· · · · · ·morning.· We are on the record.

   19· · · · · ·This is the videographer, Bob

   20· · · · · ·Giannini, with court reporter Judy

   21· · · · · ·Williams, with U.S. Legal Support.

   22· · · · · ·Today's date is May 31, 2018, and

   23· · · · · ·the time is 10:12 a.m.

   24· · · · · · · · · ·We are here at Ciampa

   25· · · · · ·Fray-Witzer located at 20 Park


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   ·1· · · · · ·Plaza, Boston, Massachusetts, to

   ·2· · · · · ·take the video deposition of Jeff

   ·3· · · · · ·Anderson in the matter of Alex

   ·4· · · · · ·Gubarev versus BuzzFeed, case

   ·5· · · · · ·number 17-CV-6042 UU.

   ·6· · · · · · · · · ·Will counsel please introduce

   ·7· · · · · ·themselves for the record?

   ·8· · · · · · · · · ·MR. SIEGEL:· Nathan Siegel

   ·9· · · · · ·from Davis, Wright, Tremaine for the

   10· · · · · ·defendants, and with me is my

   11· · · · · ·colleague Alison Schary.

   12· · · · · · · · · ·MR. FRAY-WITZER:· Evan

   13· · · · · ·Fray-Witzer for plaintiffs.

   14· · · · · · · · · ·MR. GURVITS:· Val Gurvits for

   15· · · · · ·plaintiffs.

   16· · · · · · · · · ·THE VIDEOGRAPHER:· Okay.

   17· · · · · ·Will the court reporter please swear

   18· · · · · ·in the witness?

   19· · · · · · · · · · · · · · - - -

   20· · · · · · · · · ·JEFFREY ANDERSON, first

   21· · · · · ·having been satisfactorily

   22· · · · · ·identified by the production of his

   23· · · · · ·California driver's license and duly

   24· · · · · ·sworn by the Notary Public,

   25· · · · · ·testified under oath as follows in


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   ·1· · · · · ·answer to examination.

   ·2· · · · · · · · · · · · · ·- - -

   ·3· · · · · · · · · ·MR. SIEGEL:· I will just say

   ·4· · · · · ·for the record the depositions by

   ·5· · · · · ·agreement of the parties have been

   ·6· · · · · ·conducted under the usual

   ·7· · · · · ·stipulations that all objections

   ·8· · · · · ·other than as to the form of the

   ·9· · · · · ·question are preserved.· Right?

   10· · · · · · · · · ·MR. FRAY-WITZER:· And motions

   11· · · · · ·to strike similarly preserved until

   12· · · · · ·time of trial.

   13· · · · · · · · · ·MR. SIEGEL:· Correct.

   14· · · · · · · · · ·E X A M I N A T I O N

   15· · · BY MR. SIEGEL:

   16· · · · · ·Q.· ·Good morning, Mr. Anderson.

   17· · · · · ·A.· ·Good morning.

   18· · · · · ·Q.· ·I know you have been deposed before,

   19· · · so we don't need to go through the --

   20· · · · · · · · Approximately how many times do you

   21· · · think you have been deposed?

   22· · · · · ·A.· ·7.· 7 to 10.· Somewhere in there.

   23· · · · · ·Q.· ·7 to 10?

   24· · · · · ·A.· ·Yes.

   25· · · · · ·Q.· ·And approximately how many times


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 ·1· · · have you testified in court?

 ·2· · · · · ·A.· ·4 times.

 ·3· · · · · ·Q.· ·4 times?

 ·4· · · · · ·A.· ·Yes.

 ·5· · · · · ·Q.· ·Tell us what you do.

 ·6· · · · · ·A.· ·So I value intellectual property,

 ·7· · · assess damages, help with the monetization of

 ·8· · · IP, all forms of IP, writer publicity,

 ·9· · · trademarks, copyrights, patents, trade

 10· · · secrets, know-how, proprietary technologies,

 11· · · and the list goes on, but we only focus on

 12· · · intellectual property, and then because we

 13· · · actually value IP for transactional purposes,

 14· · · whether it is sale side, buy side, joint

 15· · · ventures, and also help to determine what the

 16· · · licensing fees or rates should be for the

 17· · · licensing of those assets, and we also do

 18· · · expert testimony such as this.

 19· · · · · ·Q.· ·So as you see it, how do the claims

 20· · · in this case relate to the valuing of

 21· · · intellectual property?

 22· · · · · ·A.· ·Well, there is certainly

 23· · · intellectual property elements involved with

 24· · · the website, how the website did from it.

 25· · · Then really IP is a subset of a business.· And


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 ·1· · · so by doing intellectual property valuation,

 ·2· · · we always have to start with the value of a

 ·3· · · business, and so value of business is really a

 ·4· · · broader segment.· So by knowing how to value

 ·5· · · IP, we also value businesses.

 ·6· · · · · ·Q.· ·Would you agree that the plaintiffs

 ·7· · · here, right, are a commercial business?

 ·8· · · Correct?

 ·9· · · · · ·A.· ·Correct.

 10· · · · · ·Q.· ·Other than Mr. Gubarev.· XBT and

 11· · · Webzilla.

 12· · · · · · · · Just to clarify, as I read your

 13· · · report, my understanding is that you are being

 14· · · offered to testify as to two things, right:

 15· · · Damages to XBT and Webzilla?

 16· · · · · ·A.· ·That's correct.

 17· · · · · ·Q.· ·Correct.· We will call them the

 18· · · business plaintiffs.

 19· · · · · · · · What you call unjust enrichment as

 20· · · to BuzzFeed?· Correct?

 21· · · · · ·A.· ·The benefit BuzzFeed received, yes.

 22· · · · · ·Q.· ·And as I understand it, you are not

 23· · · offering any testimony about personal damages

 24· · · for Mr. Gubarev?· Is that correct?

 25· · · · · ·A.· ·I am not.


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 ·1· · · · · ·Q.· ·And that would include economic or

 ·2· · · noneconomic damages that are allegedly

 ·3· · · personal to Mr. Gubarev?

 ·4· · · · · ·A.· ·Unless somehow it ties to the

 ·5· · · damages that I have assessed, no.

 ·6· · · · · ·Q.· ·Okay.· Well, I understand that.· But

 ·7· · · you are not -- you are not here to make some

 ·8· · · causal link as to how much any theory of

 ·9· · · damages of the companies might have filtered

 10· · · down to Mr. Gubarev personally?· Is that

 11· · · correct?

 12· · · · · ·A.· ·I have not assigned a number of

 13· · · damages to Mr. Gubarev personally.

 14· · · · · ·Q.· ·Okay.· So would it be fair to say

 15· · · that valuing XBT, Webzilla, and any other

 16· · · subsidiaries of those companies doesn't

 17· · · actually involve valuing intellectual

 18· · · property?

 19· · · · · ·A.· ·Well, certainly valuing any business

 20· · · does involve valuing intellectual property.

 21· · · As IP, I think Greenspan said it 10 years ago,

 22· · · most businesses in the United States now are

 23· · · predominantly IP.

 24· · · · · · · · And so by valuing businesses, we are

 25· · · inherently valuing the IP elements to those


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 ·1· · · businesses.· If you look at just a balance

 ·2· · · sheet, for example, it is not going to have

 ·3· · · all of the value of the business.· The vast

 ·4· · · majority of that is going to be comprised of

 ·5· · · intellectual property.· So yes, IP is involved

 ·6· · · in the valuation of businesses.

 ·7· · · · · ·Q.· ·How is the vast majority of XBT's

 ·8· · · business intellectual property?

 ·9· · · · · ·A.· ·Well, if you look at their balance

 10· · · sheet, for example, it is a far lower asset

 11· · · delineation than the value of the business as

 12· · · a whole which is then comprised of

 13· · · intellectual property.

 14· · · · · ·Q.· ·Right.· But how much of Webzilla's

 15· · · business is comprised of intellectual

 16· · · property?

 17· · · · · ·A.· ·I don't know the exact number.

 18· · · · · ·Q.· ·Could you even estimate a

 19· · · percentage?

 20· · · · · ·A.· ·The vast majority.

 21· · · · · ·Q.· ·How?· How is the vast majority

 22· · · comprised of intellectual property?

 23· · · · · ·A.· ·Because their tangible assets,

 24· · · physical assets, are a fairly de minimus

 25· · · portion of the value of the business.


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 ·1· · · · · ·Q.· ·So what do you understand XBT's --

 ·2· · · what is their business?· How would you

 ·3· · · describe it?

 ·4· · · · · ·A.· ·They are a data center, Web hosting,

 ·5· · · they hold servers, co-locations.· So they are

 ·6· · · an integrated Web platform services company.

 ·7· · · · · ·Q.· ·Okay.· And would it be fair to say

 ·8· · · that their primary business is that they --

 ·9· · · people lease their servers in order to host

 10· · · their websites?

 11· · · · · ·A.· ·That is an element of their

 12· · · business, yes.

 13· · · · · ·Q.· ·Isn't that the primary element of

 14· · · their business?

 15· · · · · ·A.· ·I believe the majority of their

 16· · · business is comprised of that, yes.

 17· · · · · ·Q.· ·Okay.· So how does the business --

 18· · · how does leasing or otherwise offering

 19· · · physical servers to people primarily involve

 20· · · intellectual property?

 21· · · · · ·A.· ·Well, because you have customer

 22· · · relationships, vendor relationships, banking

 23· · · relationships.· So these relationships are all

 24· · · intellectual property.· They are more

 25· · · intangible assets, not protected -- and you


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 ·1· · · understand that, I don't need to lecture you

 ·2· · · on it, so intellectual properties are

 ·3· · · protected.· So these would be intangible

 ·4· · · assets which still fall under the umbrella of

 ·5· · · intangibles.

 ·6· · · · · ·Q.· ·How is a physical server an

 ·7· · · intangible asset?

 ·8· · · · · ·A.· ·I am not saying a physical server

 ·9· · · is.

 10· · · · · ·Q.· ·How much of Webzilla's value

 11· · · consists of intangible assets?

 12· · · · · ·A.· ·Again the majority of the value

 13· · · consists of intangible assets.

 14· · · · · ·Q.· ·And could you -- is intellectual

 15· · · property and intangible assets the same thing?

 16· · · · · ·A.· ·No.· As I just explained, intangible

 17· · · assets are the overarching umbrella, if you

 18· · · will.· Intellectual properties are a subset of

 19· · · that.

 20· · · · · · · · So intellectual properties, my

 21· · · definition at least, is those which can be

 22· · · legally protected.· There are some that are

 23· · · gray areas.· Things such as customer lists,

 24· · · vendor relationships, customer relationships,

 25· · · those are considered intangible assets.· So


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 ·1· · · there is a difference, but they are all

 ·2· · · intangible assets.

 ·3· · · · · ·Q.· ·Now you haven't been asked to

 ·4· · · specifically value either any intellectual

 ·5· · · property that Webzilla or XBT owns?· Right?

 ·6· · · In other words you haven't been asked to say,

 ·7· · · okay, what is it that XBT and Webzilla has

 ·8· · · that is intellectual property and this is how

 ·9· · · much it is worth?· Is that fair?

 10· · · · · ·A.· ·That's correct.· I have not done

 11· · · that.

 12· · · · · ·Q.· ·And you haven't been asked to

 13· · · identify specifically what intangible assets

 14· · · do they own and how much are they worth?

 15· · · · · ·A.· ·I have not specifically identified

 16· · · that.

 17· · · · · ·Q.· ·You are simply offering a value of

 18· · · the whole company, including all assets?

 19· · · Right?

 20· · · · · ·A.· ·Well, I have valued the business

 21· · · under certain premises.

 22· · · · · ·Q.· ·Have you ever offered any expert

 23· · · testimony as to valuing an entire business

 24· · · before?

 25· · · · · ·A.· ·Yes.


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 ·1· · · · · ·Q.· ·Give me some examples.

 ·2· · · · · ·A.· ·Well, I valued Gawker.

 ·3· · · · · ·Q.· ·Okay.· And Gawker was a website?

 ·4· · · Right?

 ·5· · · · · ·A.· ·It was a website.· A business,

 ·6· · · though.

 ·7· · · · · ·Q.· ·Yes.· Have you ever offered any

 ·8· · · expert testimony valuing a -- estimating the

 ·9· · · damages, right, for an entire business?

 10· · · · · ·A.· ·Yes.

 11· · · · · ·Q.· ·What are some examples of that?

 12· · · · · ·A.· ·So another case I am working on

 13· · · currently is an issue of defamation, and the

 14· · · entire business took a hit.· Their revenues,

 15· · · earnings declined, so I valued the business

 16· · · under two scenarios.

 17· · · · · ·Q.· ·What business?· What kind of

 18· · · business?

 19· · · · · ·A.· ·This was a health services business.

 20· · · · · ·Q.· ·Okay.· And have you testified --

 21· · · have you been qualified as an expert in that

 22· · · case yet?

 23· · · · · ·A.· ·I have not been deposed yet.

 24· · · · · ·Q.· ·Okay.· Could you give me an example

 25· · · of cases in which you have been qualified as


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 ·1· · · an expert where you valued an entire business?

 ·2· · · · · ·A.· ·I would have to look at my CV, but I

 ·3· · · believe most -- I mean most of the cases that

 ·4· · · we work on, we have to value the business and

 ·5· · · then parse out the IP --

 ·6· · · · · ·Q.· ·Okay.

 ·7· · · · · ·A.· ·-- or the intangible assets.· And so

 ·8· · · even in nonlitigation cases, we do values for

 ·9· · · joint ventures where we have to value the

 10· · · entire business and determine who is bringing

 11· · · what assets to the table and then divide up

 12· · · the pie, so to speak.

 13· · · · · ·Q.· ·Okay.· Have you ever been qualified

 14· · · as an expert in a defamation case before?

 15· · · · · ·A.· ·Yes.

 16· · · · · ·Q.· ·Which case?

 17· · · · · ·A.· ·Well, I believe the Hulk

 18· · · Hogan/Gawker case was a defamation case.

 19· · · · · ·Q.· ·I can tell you it wasn't a

 20· · · defamation case.· It is an invasion of privacy

 21· · · case.

 22· · · · · · · · Have you ever been qualified as an

 23· · · expert in a defamation case?

 24· · · · · ·A.· ·I would have to look at my CV.          I

 25· · · don't know.


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 ·1· · · · · ·Q.· ·In learning information that led up

 ·2· · · to your writing your report in this case, who

 ·3· · · did you talk to that you understood to be

 ·4· · · employed by the plaintiffs?

 ·5· · · · · ·A.· ·I spoke with the CFO, Raj Kumar.

 ·6· · · · · ·Q.· ·Tell me about that.· Where did that

 ·7· · · conversation take place?

 ·8· · · · · ·A.· ·That was in La Jolla.

 ·9· · · · · ·Q.· ·He came out to visit you in

 10· · · La Jolla?

 11· · · · · ·A.· ·He did.

 12· · · · · ·Q.· ·And La Jolla is where you live and

 13· · · work, I take it?

 14· · · · · ·A.· ·Correct.

 15· · · · · ·Q.· ·And did -- and what did he tell you?

 16· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 17· · · · · ·You can answer.

 18· · · · · ·A.· ·We discussed how the defamatory

 19· · · articles were detrimental to the business, how

 20· · · it impacted revenues, earnings, ability to get

 21· · · loans from banks.· I asked him about past

 22· · · valuations that had been done.· That was most

 23· · · of the extent of the conversation.

 24· · · BY MR. SIEGEL:

 25· · · · · ·Q.· ·What did he tell you about what past


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 ·1· · · valuations had been done?

 ·2· · · · · ·A.· ·What do you mean what did he tell

 ·3· · · me?

 ·4· · · · · ·Q.· ·Well, you said you asked him about

 ·5· · · past valuations of the company.· What did you

 ·6· · · learn?· What did he say?· What information did

 ·7· · · he give you?

 ·8· · · · · ·A.· ·He -- he said that KPMG had done a

 ·9· · · study in 2013, and that they used that study

 10· · · for internal purposes and to determine, you

 11· · · know, bank loans, items to present to

 12· · · financiers.

 13· · · · · ·Q.· ·Okay.· Were there any other

 14· · · valuations that he told you about?

 15· · · · · ·A.· ·That's the only one that I'm aware

 16· · · of.

 17· · · · · ·Q.· ·What did he tell you was the -- what

 18· · · did he assert to you was the impact of the

 19· · · publication of statements in the dossier that

 20· · · may relate to XBT Webzilla?

 21· · · · · ·A.· ·They lost significant revenues,

 22· · · earnings, growth.· They had a complete lack of

 23· · · ability to get financing.

 24· · · · · ·Q.· ·Okay.· Did -- how did Mr. Mishra

 25· · · tell you -- did Mr. Mishra identify any


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 ·1· · · customers for you that he contends

 ·2· · · XBT/Webzilla lost as a result of the

 ·3· · · publication of the dossier?

 ·4· · · · · ·A.· ·I know -- banks or?

 ·5· · · · · ·Q.· ·No, no, no.· Specific customers.           I

 ·6· · · mean people who provide revenue to Webzilla --

 ·7· · · · · ·A.· ·I don't know --

 ·8· · · · · ·Q.· ·-- and XBT?

 ·9· · · · · ·A.· ·I don't know that I got a specific

 10· · · example.

 11· · · · · ·Q.· ·Okay.· Did you ask?

 12· · · · · ·A.· ·Yes.

 13· · · · · ·Q.· ·And he wasn't able to give you any

 14· · · specific examples?

 15· · · · · ·A.· ·He did not know.

 16· · · · · ·Q.· ·And with -- did he identify any

 17· · · specific streams of revenue that he -- any

 18· · · specific revenue that he said, "Here, this is

 19· · · revenue that the company was earning in 2016.

 20· · · We lost it in 2017 as a result of the

 21· · · publication of the dossier"?

 22· · · · · ·A.· ·My understanding was that more or

 23· · · less across the board there was a decline in

 24· · · revenues from the various segments.

 25· · · · · ·Q.· ·And how did he contend that any


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 ·1· · · decline in revenue was attributable to the

 ·2· · · publication of the dossier?

 ·3· · · · · ·A.· ·Because it happened immediately

 ·4· · · after the dossier was released.

 ·5· · · · · ·Q.· ·And so that was -- and that's the

 ·6· · · only reason?

 ·7· · · · · ·A.· ·Well, no.· And there were issues

 ·8· · · with lenders.

 ·9· · · · · ·Q.· ·What were those issues with lenders?

 10· · · · · ·A.· ·They either wouldn't provide loans

 11· · · because of this or, you know, created great

 12· · · hurdles to getting those loans because of it.

 13· · · · · ·Q.· ·And how long -- did you have any

 14· · · understanding of how long those issues lasted?

 15· · · · · ·A.· ·I don't know specific time frame.

 16· · · · · ·Q.· ·Did you ask?

 17· · · · · ·A.· ·I believe we had a general

 18· · · discussion about it, but I don't know if I

 19· · · asked the specific question.

 20· · · · · ·Q.· ·Have you read Mr. Mishra's

 21· · · deposition?

 22· · · · · ·A.· ·I have.

 23· · · · · ·Q.· ·Do you see in his deposition he said

 24· · · that these various concerns with lenders were

 25· · · all taken care of within a month or so?


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 ·1· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·2· · · · · ·A.· ·I don't -- I don't recall reading

 ·3· · · that specifically.

 ·4· · · BY MR. SIEGEL:

 ·5· · · · · ·Q.· ·You don't recall reading that.

 ·6· · · Okay.

 ·7· · · · · · · · You don't recall reading anything

 ·8· · · like that?

 ·9· · · · · ·A.· ·I recall reading that eventually

 10· · · some lenders, not all, but some, were willing

 11· · · to come back to the table, but I don't know

 12· · · the exact time frame of that.

 13· · · · · ·Q.· ·Which lenders were not willing to

 14· · · come back to the table?

 15· · · · · ·A.· ·I know ABN AMRO, they had issues

 16· · · with them.· I don't recall the other specific

 17· · · banks.

 18· · · · · ·Q.· ·Okay.· Do you know whether ABN AMRO,

 19· · · whether those issues with ABN AMRO were ever

 20· · · resolved?

 21· · · · · ·A.· ·I don't know if or when they were.

 22· · · · · ·Q.· ·Okay.· Did Mr. Mishra ever provide

 23· · · you any documentation to substantiate which

 24· · · lenders he was talking about?

 25· · · · · ·A.· ·Yes.


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 ·1· · · · · ·Q.· ·Which ones?· What documentation did

 ·2· · · he provide you?

 ·3· · · · · ·A.· ·ABN AMRO I saw.

 ·4· · · · · ·Q.· ·There was a single email, right,

 ·5· · · which we will talk about.· Anything else?

 ·6· · · · · ·A.· ·That's all I recall at this point.

 ·7· · · · · ·Q.· ·And did you ever do anything

 ·8· · · yourself to try to verify whether what

 ·9· · · Mr. Mishra was telling you about problems that

 10· · · they had with -- he contends that they had

 11· · · with banks was true?

 12· · · · · ·A.· ·What do you mean?

 13· · · · · ·Q.· ·Well, that in fact that --

 14· · · Mr. Mishra told you that they had had some

 15· · · problems with obtaining financing?· Right?

 16· · · · · ·A.· ·He did.· Yes.

 17· · · · · ·Q.· ·Okay.· But he didn't tell you how

 18· · · long those problems lasted?

 19· · · · · ·A.· ·Again I don't remember the exact

 20· · · time frame of those issues.

 21· · · · · ·Q.· ·Okay.· And did you ever, other than

 22· · · the e-mail about ABN AMRO, did you ever do

 23· · · anything yourself to verify whether

 24· · · Mr. Mishra's assertions were true?

 25· · · · · ·A.· ·I asked for all information that was


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 ·1· · · available.· I mean we discussed it when we met

 ·2· · · in La Jolla.· But I don't know what else

 ·3· · · independently I could have done in that

 ·4· · · regard.

 ·5· · · · · ·Q.· ·Well, okay.· So and you said he

 ·6· · · provided you that single e-mail?· Right?· Did

 ·7· · · he provide you any other information about

 ·8· · · supposed problems with banks?

 ·9· · · · · ·A.· ·I know there was again discussions

 10· · · about issues with other banks.

 11· · · · · ·Q.· ·Okay.· So you just relied on what

 12· · · Mr. Mishra told you?

 13· · · · · ·A.· ·I relied in part, yes, on what he

 14· · · told me.

 15· · · · · ·Q.· ·Okay.· How many times did you talk

 16· · · to him?

 17· · · · · ·A.· ·Aside from the meeting, maybe one or

 18· · · two other times.

 19· · · · · ·Q.· ·And how long did that meeting last?

 20· · · · · ·A.· ·Two, three hours.

 21· · · · · ·Q.· ·And when did you speak to him

 22· · · subsequently?

 23· · · · · ·A.· ·I spoke with him yesterday.

 24· · · · · ·Q.· ·What did you talk about?

 25· · · · · ·A.· ·I talked about the various revenue


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 ·1· · · streams and which ones were hit the most.

 ·2· · · · · ·Q.· ·And what did he tell you?

 ·3· · · · · ·A.· ·It was the Web servers were one of

 ·4· · · the biggest hits.

 ·5· · · · · ·Q.· ·Okay.· And did he -- again did he

 ·6· · · give you any specific customers that

 ·7· · · supposedly stopped being customers as a result

 ·8· · · of the dossier?

 ·9· · · · · ·A.· ·Again I -- my understanding was this

 10· · · was across the board, and so he couldn't

 11· · · provide a specific it was this one customer,

 12· · · so I don't know that.

 13· · · · · ·Q.· ·Okay.· And did he give you any

 14· · · specific examples of any potential customers

 15· · · that he contends didn't become customers as a

 16· · · result of the dossier publication?

 17· · · · · ·A.· ·I asked that question.· I think his

 18· · · response was it's almost impossible to know

 19· · · which ones didn't come in as a result of this,

 20· · · because nobody was willing to specifically say

 21· · · or very few people specifically claimed it was

 22· · · because of X.· It was more of a broader there

 23· · · is issues; we need to stand back.

 24· · · · · ·Q.· ·And what else did you talk to

 25· · · Mr. Mishra about yesterday?


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 ·1· · · · · ·A.· ·I believe that --

 ·2· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·3· · · · · ·A.· ·-- was it.

 ·4· · · BY MR. SIEGEL:

 ·5· · · · · ·Q.· ·Did you talk to Mr. Mishra about

 ·6· · · anything else yesterday?

 ·7· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·8· · · · · · · · · ·MR. SIEGEL:· Why is that

 ·9· · · · · ·objectionable?

 10· · · · · · · · · ·MR. FRAY-WITZER:· Because he

 11· · · · · ·wasn't talking about conversations

 12· · · · · ·yesterday.

 13· · · · · · · · · ·MR. SIEGEL:· Oh, I thought he

 14· · · · · ·said he talked to him yesterday.

 15· · · BY MR. SIEGEL:

 16· · · · · ·Q.· ·Did I mishear you?

 17· · · · · ·A.· ·I did talk to him yesterday.

 18· · · · · · · · · ·MR. FRAY-WITZER:· Okay.

 19· · · · · ·That's all right.· Then I withdraw

 20· · · · · ·the objection.

 21· · · · · · · · · ·MR. SIEGEL:· Okay.

 22· · · BY MR. SIEGEL:

 23· · · · · ·Q.· ·I think you answered this, but just

 24· · · to keep the record clear, did you talk to him

 25· · · about any other subjects yesterday?


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 ·1· · · · · ·A.· ·I don't believe so.

 ·2· · · · · ·Q.· ·Okay.· So you had the meeting in

 ·3· · · La Jolla.· You had the conversation yesterday.

 ·4· · · Any other conversations with Mr. Mishra?

 ·5· · · · · ·A.· ·There may have been one other

 ·6· · · conversation two, three weeks ago.

 ·7· · · · · ·Q.· ·And what did you talk about?

 ·8· · · · · ·A.· ·I believe it involved the alleged

 ·9· · · Methbot client.

 10· · · · · ·Q.· ·Tell me as best you can what you

 11· · · recall about that conversation.

 12· · · · · ·A.· ·That there was no issue that stemmed

 13· · · from that other than that the 2017

 14· · · projections, certain revenue, should have been

 15· · · taken out from those projections because of

 16· · · the loss of a client.

 17· · · · · ·Q.· ·And what do you mean that there was

 18· · · no other issue stemming from that?

 19· · · · · ·A.· ·Well, there was no -- nothing that I

 20· · · have seen, nothing reported on any

 21· · · relationship between Webzilla and XBT or them

 22· · · hosting any servers for the alleged Methbot

 23· · · client.· And so there was nothing that stemmed

 24· · · from that, no other issues that came from

 25· · · that.


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 ·1· · · · · ·Q.· ·Did Mr. -- that's what Mr. Mishra

 ·2· · · said?· Right?

 ·3· · · · · ·A.· ·Yes.

 ·4· · · · · ·Q.· ·Okay.· Was this conversation before

 ·5· · · you issued your supplemental report?

 ·6· · · · · ·A.· ·Yes.

 ·7· · · · · ·Q.· ·And did you discuss with Mr. Mishra

 ·8· · · how to value the loss of that client for

 ·9· · · purposes of 2017 revenue?

 10· · · · · ·A.· ·Well, we discussed the revenues that

 11· · · were anticipated from that client.

 12· · · · · ·Q.· ·And what did he tell you?

 13· · · · · ·A.· ·That they thought it would be less

 14· · · than five or six months to be able to then

 15· · · sell those, you know, slots to other clients.

 16· · · · · ·Q.· ·Okay.· Did you -- did Mr. Mishra

 17· · · tell you in fact how long it took to do that

 18· · · or if that had even been completed?

 19· · · · · ·A.· ·I'm not sure what you mean.

 20· · · · · ·Q.· ·Well, let's back up a second.· Okay?

 21· · · · · ·A.· ·Sure.

 22· · · · · ·Q.· ·The publication of information about

 23· · · Methbot occurred in December of 2016.· Right?

 24· · · · · ·A.· ·That's my understanding.· Yes.

 25· · · · · ·Q.· ·Okay.· And so in or around I think


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 ·1· · · it was December 21 -- but the date for these

 ·2· · · purposes doesn't matter.· So in December of

 ·3· · · 2016, the company lost this customer that was

 ·4· · · associated with that report?· Right?

 ·5· · · · · ·A.· ·Yes.

 ·6· · · · · ·Q.· ·And if I understand what you are

 ·7· · · saying, Mr. Mishra said that they thought it

 ·8· · · would take five to six months from the time

 ·9· · · they lost the customer to find other

 10· · · customers, right, to lease those servers?· Is

 11· · · that fair?

 12· · · · · ·A.· ·No.· That's not what I said.· I said

 13· · · is he said he thought it would take less than

 14· · · the five to six months.

 15· · · · · ·Q.· ·Okay.· Fine.· So less than five to

 16· · · six months to find other customers, right, to

 17· · · lease the servers that that customer had been

 18· · · using?· Is that fair?· Is that a fair

 19· · · understanding?

 20· · · · · ·A.· ·That's the discussion that we had.

 21· · · · · ·Q.· ·So my question is:· So that

 22· · · according to Mr. Mishra they thought that by

 23· · · June 2017 or probably even earlier, right, any

 24· · · loss of revenue attributable to that customer

 25· · · would be stopped?· Is that fair?


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 ·1· · · · · ·A.· ·That -- yes.· Certainly less than

 ·2· · · five to six months --

 ·3· · · · · ·Q.· ·Okay.

 ·4· · · · · ·A.· ·-- they would be able to find

 ·5· · · another client.

 ·6· · · · · ·Q.· ·Less that five or six months in

 ·7· · · December of 2017 when that customer was lost?

 ·8· · · · · ·A.· ·2016 that they would be able to find

 ·9· · · someone.

 10· · · · · ·Q.· ·Sorry.· You are right.

 11· · · · · · · · So my question is what happened?

 12· · · · · ·A.· ·What do you mean?

 13· · · · · ·Q.· ·Well, you had this conversation with

 14· · · Mr. Mishra in May of 2018?· Right?

 15· · · · · ·A.· ·Yes.

 16· · · · · ·Q.· ·By May of 2018, either those servers

 17· · · were all leased by June of 2017 or they

 18· · · weren't?· Right?

 19· · · · · ·A.· ·Correct.

 20· · · · · ·Q.· ·So what actually happened to those

 21· · · servers?

 22· · · · · ·A.· ·I believe they were able to release

 23· · · those specific servers to other clients.

 24· · · · · ·Q.· ·And what is your belief based on?

 25· · · · · ·A.· ·Based on the discussions that I have


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 ·1· · · had with them.

 ·2· · · · · ·Q.· ·But you said that Mr. Mishra

 ·3· · · projected back when Methbot happened that they

 ·4· · · would be able to release the servers?

 ·5· · · · · ·A.· ·Um-hmm.

 ·6· · · · · ·Q.· ·Did he tell you anything about what

 ·7· · · actually happened to all of those servers?

 ·8· · · · · ·A.· ·I don't know.· I don't know if he

 ·9· · · gave me specifically those numbered servers,

 10· · · or however they identified them, I don't know

 11· · · that.

 12· · · · · ·Q.· ·So sitting here today, you don't

 13· · · actually know whether XBT/Webzilla was able to

 14· · · release all of those servers within five to

 15· · · six months of the Methbot or the alleged

 16· · · Methbot fraud being exposed?· Right?

 17· · · · · ·A.· ·Again according to my conversations,

 18· · · their understanding was it would take at most

 19· · · five to six, but Mr. Mishra believed it would

 20· · · be less than that to be able to release those

 21· · · servers.

 22· · · · · ·Q.· ·But my point is -- and I am going to

 23· · · ask you again.· I understand that that's what

 24· · · he said they believed; right?· But we're a

 25· · · year away from June of 2017.


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 ·1· · · · · ·A.· ·Um-hmm.

 ·2· · · · · ·Q.· ·So what actually happened to those

 ·3· · · servers?

 ·4· · · · · ·A.· ·My view on this was to look at it

 ·5· · · from that perspective.· I was trying to

 ·6· · · understand the projections that were done in

 ·7· · · November of 2016, how would those have been

 ·8· · · affected by the --

 ·9· · · · · ·Q.· ·Right.

 10· · · · · ·A.· ·-- alleged Methbot issue.· So my

 11· · · focus was what would it have taken to get

 12· · · those servers back online with other clients,

 13· · · and that was the discussion that I had.

 14· · · · · ·Q.· ·Right.· And if those projections

 15· · · were wrong, wouldn't that affect your

 16· · · valuation of the business?

 17· · · · · ·A.· ·If the November of 2016 projections

 18· · · were wrong?

 19· · · · · ·Q.· ·Well, yes.· I will ask you that to

 20· · · start with.

 21· · · · · ·A.· ·That's -- if there was an issue with

 22· · · those --

 23· · · · · ·Q.· ·Okay.

 24· · · · · ·A.· ·-- then we would address that as we

 25· · · did.


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 ·1· · · · · ·Q.· ·And one of the issues was Methbot?

 ·2· · · Right?· That was an issue?· Correct?

 ·3· · · · · ·A.· ·That was a potential issue which we

 ·4· · · addressed.

 ·5· · · · · ·Q.· ·So wouldn't the way to address it be

 ·6· · · to know how much revenue was actually lost

 ·7· · · from that customer in 2017?

 ·8· · · · · ·A.· ·And that's what we attempted to do

 ·9· · · with our analysis.

 10· · · · · ·Q.· ·But you are telling me you haven't

 11· · · done that?· That's an empirical question?

 12· · · Right?· There are a certain number of servers

 13· · · that were used by those customers.· What

 14· · · happened to those servers in 2017?

 15· · · · · ·A.· ·Again I don't know what happened to

 16· · · those servers.

 17· · · · · ·Q.· ·Right.

 18· · · · · ·A.· ·My understanding was that it would

 19· · · take five to six months at most.

 20· · · · · ·Q.· ·Right.

 21· · · · · ·A.· ·So I backed out --

 22· · · · · ·Q.· ·Okay.· But if it didn't take five to

 23· · · six months --

 24· · · · · ·A.· ·Um-hmm.

 25· · · · · ·Q.· ·-- wouldn't that have affected the


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 ·1· · · value of the business?

 ·2· · · · · ·A.· ·If something didn't --

 ·3· · · · · ·Q.· ·What if it took 12 months?· Would

 ·4· · · that affect the value of the business?

 ·5· · · · · ·A.· ·If it -- if it took less than six

 ·6· · · months, it could have an impact.

 ·7· · · · · ·Q.· ·No, no.

 ·8· · · · · ·A.· ·And if it took 12 months it could

 ·9· · · have an impact.

 10· · · · · ·Q.· ·What if even today some of those

 11· · · servers have not been released?· Some of those

 12· · · servers are still sitting unused, would that

 13· · · affect the value of the business?

 14· · · · · ·A.· ·If that was directly related to the

 15· · · Methbot issue, sure, but if it was related to

 16· · · the defamatory articles released by BuzzFeed,

 17· · · then you can't claim that it was a Methbot

 18· · · issue.

 19· · · · · ·Q.· ·Right.· But how would you know?

 20· · · · · ·A.· ·Because there was -- again there was

 21· · · no reporting or any indications that Webzilla

 22· · · and XBT were hosting this alleged Methbot

 23· · · client.· It was a nonissue.

 24· · · · · ·Q.· ·What was a nonissue?

 25· · · · · ·A.· ·Other than backing out six months of


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 ·1· · · projected revenue, which we did --

 ·2· · · · · ·Q.· ·Right.

 ·3· · · · · ·A.· ·-- there was no other issue with the

 ·4· · · Methbot -- alleged Methbot client.

 ·5· · · · · ·Q.· ·Well, but -- okay.· Let's just

 ·6· · · establish for the record.· Okay?

 ·7· · · · · · · · You don't know how much revenue XBT

 ·8· · · actually lost in 2017 as a result of the

 ·9· · · Methbot client?· Is that fair?

 10· · · · · ·A.· ·That's a good question.· The --

 11· · · there is -- doing projections for business,

 12· · · which business valuation and IP valuation is

 13· · · what we do, you have to come up with

 14· · · assumptions.

 15· · · · · ·Q.· ·Right.

 16· · · · · ·A.· ·And the best assumption for what

 17· · · revenue was potentially lost from the alleged

 18· · · Methbot client was what revenues had been

 19· · · earned in the prior six months.· And so we

 20· · · deducted that from the projections in 2017.

 21· · · · · ·Q.· ·Why would that be -- why would the

 22· · · prior six months -- why pick that time frame?

 23· · · · · ·A.· ·Because that was the most recent

 24· · · revenues earned from that client, and so it is

 25· · · most reasonable to project or assume that


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 ·1· · · those revenues, that same amount of revenue,

 ·2· · · would be removed once -- from those 2017

 ·3· · · projections done in November of 2016.

 ·4· · · · · ·Q.· ·What if the revenues that were

 ·5· · · earned from that client in November and

 ·6· · · December of 2016 were substantially higher

 ·7· · · than the revenues that were earned from the

 ·8· · · client in the four months prior to that?

 ·9· · · Wouldn't the most recent revenues earned by

 10· · · that client be the best indicator of how much

 11· · · revenue was going to be lost in 2017?

 12· · · · · ·A.· ·If you are asking if one month is a

 13· · · reasonable indication for projecting six

 14· · · months out, no.

 15· · · · · ·Q.· ·Two months?

 16· · · · · ·A.· ·I believe six months is a reasonable

 17· · · indication given that that was the time frame,

 18· · · at most, anticipated this would affect the

 19· · · business.

 20· · · · · ·Q.· ·But wouldn't that assume that the

 21· · · amount of revenue that that client was going

 22· · · to generate in the first six months of 2017

 23· · · was going to be the same as the amount of

 24· · · revenue that the client generated in the last

 25· · · six months of 2016?


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 ·1· · · · · ·A.· ·Yes.

 ·2· · · · · ·Q.· ·Okay.

 ·3· · · · · ·A.· ·The assumption was --

 ·4· · · · · ·Q.· ·But if the revenue stream was going

 ·5· · · way up throughout the last six months of 2016;

 ·6· · · right?

 ·7· · · · · ·A.· ·If it was?

 ·8· · · · · ·Q.· ·If it was.· Are you saying that it

 ·9· · · wasn't?

 10· · · · · ·A.· ·It was not a straight line.· No.· It

 11· · · was not.

 12· · · · · ·Q.· ·Okay.· It jumped enormously in

 13· · · November and December of 2016?· Right?

 14· · · · · ·A.· ·There were dips in it as well.

 15· · · · · ·Q.· ·There were dips?

 16· · · · · ·A.· ·Yes.

 17· · · · · ·Q.· ·Let's get document 10.

 18· · · · · · · · · ·MR. SIEGEL:· Mark this as

 19· · · · · ·Exhibit 1.

 20· · · · · (One-page chart marked

 21· · · · · Exhibit 1 for identification.)

 22· · · · · · · · · ·MR. FRAY-WITZER:· Do you have

 23· · · · · ·a copy for us?

 24· · · · · · · · · ·MR. SIEGEL:· Sure.· Sorry.

 25· · · BY MR. SIEGEL:


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 ·1· · · · · ·Q.· ·I am going to show you Exhibit 1,

 ·2· · · which I believe is document 10 in your report,

 ·3· · · your supplemental report.

 ·4· · · · · · · · · ·(Handing Exhibit 1 to the

 ·5· · · · · ·witness.)

 ·6· · · · · ·Q.· ·You understand Exhibit 1 to be the

 ·7· · · revenue from the Methbot customer, right, in

 ·8· · · 2016?· Right?

 ·9· · · · · ·A.· ·I do.

 10· · · · · ·Q.· ·So show me where the dip is in the

 11· · · last six months of 2016.

 12· · · · · · · · · ·(Pause.)

 13· · · · · · · · · ·(Witness viewing Exhibit 1.)

 14· · · · · ·A.· ·Well, there is an $87,000 drop from

 15· · · November to December.

 16· · · · · ·Q.· ·Do you have any idea why that is?

 17· · · · · ·A.· ·The client was lost --

 18· · · · · ·Q.· ·And --

 19· · · · · ·A.· ·-- around the 20th, 23rd.

 20· · · · · ·Q.· ·Right.· Or even a couple of days

 21· · · before that.· Doesn't that indicate that even

 22· · · the revenue the client was generating for

 23· · · December had it continued for the rest of the

 24· · · month was as high or higher than it was in

 25· · · November?· Right?


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 ·1· · · · · ·A.· ·Hey, I have no indication of what

 ·2· · · that number would have been.

 ·3· · · · · ·Q.· ·Really?· If the client generated

 ·4· · · $311,000 in revenue the first three weeks of

 ·5· · · December, you can't assume that the amount of

 ·6· · · revenue that would have been generated in the

 ·7· · · last 9 or 10 days of the month would be at

 ·8· · · least $100,000?

 ·9· · · · · ·A.· ·It's an assumption that I did not

 10· · · need to make for this.

 11· · · · · ·Q.· ·Well, okay.· But my question is

 12· · · there is no actual dip?· Right?· There is no

 13· · · discernible dip in the last six months of

 14· · · 2016?

 15· · · · · ·A.· ·It was essentially flat in the

 16· · · middle three months.

 17· · · · · ·Q.· ·Right.· And then it -- and then it

 18· · · jumped, more than doubled, right, in November?

 19· · · · · ·A.· ·Um-hmm.

 20· · · · · ·Q.· ·And that continued in December?

 21· · · Correct?· For the first three weeks at least?

 22· · · · · ·A.· ·Yes.· But it was also up to 190,000

 23· · · in April.

 24· · · · · ·Q.· ·Okay.

 25· · · · · ·A.· ·And then dropped down to 170.· There


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 ·1· · · is no linear --

 ·2· · · · · ·Q.· ·Do you know why it jumped in

 ·3· · · November and December?

 ·4· · · · · ·A.· ·I do not.

 ·5· · · · · ·Q.· ·Did you ever consider that?· You

 ·6· · · don't think that would be relevant to

 ·7· · · estimating what the likely loss of revenue

 ·8· · · from that customer would have been in 2017?

 ·9· · · · · ·A.· ·Why the decline from 190 to 170?

 10· · · · · ·Q.· ·No, no, no, no.· Why the jump from

 11· · · 170 to 398 and then to 311 in the first three

 12· · · weeks in December?

 13· · · · · ·A.· ·Again the best indication that I was

 14· · · able to see was the last six months.

 15· · · · · ·Q.· ·No, no, no.· That is not my

 16· · · question.

 17· · · · · · · · Did you ever ask why the revenue

 18· · · from that customer jumped in November?

 19· · · · · ·A.· ·I don't know if I asked that

 20· · · specific question.

 21· · · · · ·Q.· ·Did you ever think about it?

 22· · · · · ·A.· ·I thought about all of these

 23· · · numbers.

 24· · · · · ·Q.· ·Okay.

 25· · · · · ·A.· ·And I asked the client what the


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 ·1· · · impact would be, and from reading in the

 ·2· · · deposition, they estimated 200,000 a month --

 ·3· · · · · ·Q.· ·Right.

 ·4· · · · · ·A.· ·-- would have been lost.· And so I

 ·5· · · took the last six months, which ended up being

 ·6· · · higher than that.

 ·7· · · · · ·Q.· ·Right.

 ·8· · · · · ·A.· ·231,000, I believe.· And I felt that

 ·9· · · was a conservative estimate of the revenues

 10· · · that would be lost from this client.

 11· · · · · ·Q.· ·If the client had been generating

 12· · · $400,000 revenue a month in the preceding two

 13· · · months or seven weeks before it was dropped,

 14· · · you would assume that the client's revenue

 15· · · would have dropped significantly at some point

 16· · · in the first six months of 2017?· Right?

 17· · · · · ·A.· ·I am sorry.· Say that again?

 18· · · · · ·Q.· ·Well, your assumption -- if your

 19· · · assumption is that the client would have

 20· · · generated $230,000 of revenue in the first six

 21· · · months of the 2017 -- right?

 22· · · · · ·A.· ·On average.

 23· · · · · ·Q.· ·On average.· That would have

 24· · · required a significant dip in revenue from

 25· · · what the client had been paying in November


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 ·1· · · and December 2016?· Right?

 ·2· · · · · ·A.· ·In -- in January?

 ·3· · · · · ·Q.· ·At some point in the next -- in the

 ·4· · · ensuing six months, right, the revenue would

 ·5· · · have had to have dropped substantially?

 ·6· · · · · ·A.· ·At some point on average.

 ·7· · · · · ·Q.· ·Yes.· And what basis do you have to

 ·8· · · assume that that would have happened?

 ·9· · · · · ·A.· ·Again discussions with the client

 10· · · regarding this client.

 11· · · · · ·Q.· ·And what basis did those discussions

 12· · · provide that this client's revenue would have

 13· · · dropped substantially from roughly $400,000 a

 14· · · month in the first six months of 2017?

 15· · · · · ·A.· ·That was their estimate of -- again

 16· · · they estimated 200,000.

 17· · · · · ·Q.· ·Right.

 18· · · · · ·A.· ·So I --

 19· · · · · ·Q.· ·And is it possible that their

 20· · · estimate is wrong?

 21· · · · · ·A.· ·I have no indication that that

 22· · · estimate is wrong.

 23· · · · · ·Q.· ·Well, okay.· So I am asking

 24· · · empirically -- not because they estimated it

 25· · · -- what facts are you aware of that suggest to


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 ·1· · · you that revenue from that client would have

 ·2· · · dropped from about $400,000 a month to a

 ·3· · · number that would have produced an average of

 ·4· · · $230,000 a month in the first six months of

 ·5· · · 2017?

 ·6· · · · · ·A.· ·Again based on the discussions I

 ·7· · · have had and based on really standard

 ·8· · · practice, which is not to take a two-month

 ·9· · · indication and extrapolate that forward.

 10· · · · · ·Q.· ·So it is just standard practice?· It

 11· · · has nothing to do with the actual activity

 12· · · that this customer was actually conducting?

 13· · · Right?

 14· · · · · ·A.· ·I'm not understanding that question.

 15· · · · · ·Q.· ·Well, in other words, this is all

 16· · · just based on, for want of a better word,

 17· · · guesswork?· Right?

 18· · · · · ·A.· ·I prefer to say this is based on

 19· · · reasonable estimates using historical

 20· · · figures --

 21· · · · · ·Q.· ·Okay.

 22· · · · · ·A.· ·-- and discussions with the client,

 23· · · who knows this better than -- than anyone

 24· · · else.

 25· · · · · ·Q.· ·Okay.· And if a -- and you don't


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 ·1· · · think it is relevant that the customer's

 ·2· · · activity jumped for between March 16 and

 ·3· · · October 16 and then jumped again substantially

 ·4· · · in November and December?· You don't think

 ·5· · · that that November-December jump is relevant?

 ·6· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·7· · · · · ·You can answer.

 ·8· · · · · ·A.· ·Again looking at the historical

 ·9· · · revenues we may have here since October of

 10· · · '15 --

 11· · · BY MR. SIEGEL:

 12· · · · · ·Q.· ·Right.

 13· · · · · ·A.· ·-- this was not a linear

 14· · · relationship.· It did not go up X percent

 15· · · every single month.· There were -- it went up,

 16· · · it went down, it went up, it went down.· And

 17· · · so the best indication was taking an average

 18· · · of the monthly revenues.

 19· · · · · ·Q.· ·How long were the leases for the

 20· · · servers used by this customer?

 21· · · · · ·A.· ·I don't know.

 22· · · · · ·Q.· ·You don't know.· Do you think that

 23· · · would be relevant to estimating the impact?

 24· · · · · ·A.· ·My understanding is the server

 25· · · leases run anywhere from one to three years.


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 ·1· · · · · ·Q.· ·Okay.

 ·2· · · · · ·A.· ·Some clients were new.

 ·3· · · · · ·Q.· ·If XBT and Webzilla were releasing

 ·4· · · sufficient servers to produce $400,000 in

 ·5· · · revenue from November and December and those

 ·6· · · leases were for one to three years, that

 ·7· · · doesn't suggest to you that the impact of

 ·8· · · losing $400,000 of revenue would have been

 ·9· · · higher than an average of $230,000 for the

 10· · · first six months of 2016?

 11· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 12· · · · · ·You can answer.

 13· · · · · · · · · ·MR. SIEGEL:· I will back it

 14· · · · · ·up again.· All right.

 15· · · BY MR. SIEGEL:

 16· · · · · ·Q.· ·In order to generate $400,000 of

 17· · · revenue, right, XBT and Webzilla would have

 18· · · had to lease additional servers?· Right?

 19· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 20· · · BY MR. SIEGEL:

 21· · · · · ·Q.· ·Okay.· And those leases would have

 22· · · been for one to three years?· Right?

 23· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 24· · · · · ·A.· ·Potentially.

 25· · · BY MR. SIEGEL:


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 ·1· · · · · ·Q.· ·So as of the end of December, XBT

 ·2· · · had on its hands servers with one to three

 ·3· · · year leases, right --

 ·4· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·5· · · BY MR. SIEGEL:

 ·6· · · · · ·Q.· ·-- that were sufficient to host

 ·7· · · $400,000 a month worth of activity; isn't that

 ·8· · · right?· Not 200?· 400?

 ·9· · · · · ·A.· ·The 400,000 they had at the end of

 10· · · 2016, again it depends on the starting point

 11· · · of when the servers released, the financing

 12· · · elements that went into that --

 13· · · · · ·Q.· ·Right.

 14· · · · · ·A.· ·-- other clients that came or went

 15· · · during that time frame.· So I can't answer

 16· · · what servers were locked up under contract at

 17· · · that point in time.· I don't know.

 18· · · · · ·Q.· ·But the answer to that question

 19· · · would be relevant to determining the actual

 20· · · impact of losing a customer that had been

 21· · · generating $400,000 a month in revenue in the

 22· · · last two months of 2016, wouldn't it?

 23· · · · · ·A.· ·If there is additional information

 24· · · that shows that, I will take that into

 25· · · consideration --


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 ·1· · · · · ·Q.· ·Okay.

 ·2· · · · · ·A.· ·-- and adjust my analysis.

 ·3· · · · · ·Q.· ·Okay.· Did -- the last question on

 ·4· · · that.

 ·5· · · · · · · · With respect to releasing -- with

 ·6· · · respect to XBT's supposedly releasing these

 ·7· · · servers to other customers, right, your

 ·8· · · assumption is that they would have been able

 ·9· · · to release them at the same price?· Right?

 10· · · · · ·A.· ·To release them?

 11· · · · · ·Q.· ·At the same price that the Methbot

 12· · · customer was paying.

 13· · · · · ·A.· ·Well, no.· My assumption was that

 14· · · they for six months --

 15· · · · · ·Q.· ·Right.

 16· · · · · ·A.· ·-- they didn't lease 231 some

 17· · · thousand on average -- over that six-month

 18· · · period they didn't release that.

 19· · · · · · · · Now the client said that they likely

 20· · · could have released --

 21· · · · · ·Q.· ·Right.

 22· · · · · ·A.· ·-- those specific Methbot servers

 23· · · likely sooner than that.

 24· · · · · ·Q.· ·Have you read Mr. DeVoss'

 25· · · deposition?


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 ·1· · · · · ·A.· ·No.

 ·2· · · · · ·Q.· ·Are you aware Mr. DeVoss testified

 ·3· · · that as of the date of this deposition, which

 ·4· · · was last week, there were still servers that

 ·5· · · had been leased by the Methbot customer that

 ·6· · · had not been released?

 ·7· · · · · ·A.· ·I'm not aware of that.

 ·8· · · · · ·Q.· ·Do you think that might affect your

 ·9· · · analysis?

 10· · · · · ·A.· ·It depends on if there are other

 11· · · reasons why those servers couldn't be

 12· · · released.

 13· · · · · ·Q.· ·Okay.· And you read Mr. Mishra's

 14· · · deposition?· Right?

 15· · · · · ·A.· ·I did.

 16· · · · · ·Q.· ·And Mr. Mishra testified that he

 17· · · couldn't answer the question whether in fact

 18· · · the servers used by Methbot customers had been

 19· · · released within the first six months of 2017?

 20· · · Right?· That's what he said?

 21· · · · · ·A.· ·I don't remember the exact words he

 22· · · used.· I don't know.

 23· · · · · ·Q.· ·You don't think that is what he

 24· · · said?

 25· · · · · ·A.· ·I think what he had said was that it


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 ·1· · · would take five to six months, but it could be

 ·2· · · sooner.

 ·3· · · · · ·Q.· ·Then when asked if it did take five

 ·4· · · to six months he said, "I don't know"; is that

 ·5· · · fair?

 ·6· · · · · ·A.· ·If he said that, I'll believe you.

 ·7· · · · · ·Q.· ·Okay.· But that makes no -- that has

 ·8· · · no -- that makes no difference in your view to

 ·9· · · how you value the loss of the Methbot

 10· · · customer?

 11· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 12· · · · · ·You can answer.

 13· · · · · ·A.· ·Well, what do you mean makes no

 14· · · difference?

 15· · · BY MR. SIEGEL:

 16· · · · · ·Q.· ·The fact that neither -- the fact

 17· · · that Mr. Mishra can't say whether in fact his

 18· · · assumptions about five to six months were

 19· · · correct --

 20· · · · · ·A.· ·Yes.

 21· · · · · ·Q.· ·-- makes no difference to you?

 22· · · · · ·A.· ·Well, perhaps one of the reasons

 23· · · that he can't say is because BuzzFeed released

 24· · · the dossier, which mentioned

 25· · · XBT/Webzilla/Mr. Gubarev.


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 ·1· · · · · ·Q.· ·What basis do you have -- that is

 ·2· · · just your speculation?

 ·3· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·4· · · · · ·A.· ·It is not speculation they did

 ·5· · · release it.

 ·6· · · BY MR. SIEGEL:

 ·7· · · · · ·Q.· ·Yes.· But it is your speculation

 ·8· · · that that is a reason the company couldn't

 ·9· · · release Methbot servers?· Right?· That's your

 10· · · speculation?· Right?

 11· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 12· · · · · ·You can answer.

 13· · · · · ·A.· ·It is not speculation in the sense

 14· · · that again there was no indication that there

 15· · · were any reports of Webzilla or XBT hosting

 16· · · any servers --

 17· · · BY MR. SIEGEL:

 18· · · · · ·Q.· ·Right.

 19· · · · · ·A.· ·-- used by the alleged Methbot

 20· · · client.· There was no perpetuation of that,

 21· · · which is the exact opposite of the

 22· · · perpetuation of the salacious spectacular

 23· · · statements made in the dossier.· And so I

 24· · · think to say that they are --

 25· · · · · ·Q.· ·Which salacious spectacular


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 ·1· · · statements are you talking about?

 ·2· · · · · ·A.· ·In the dossier?

 ·3· · · · · ·Q.· ·Yes.

 ·4· · · · · ·A.· ·Well, I believe there are several of

 ·5· · · them.

 ·6· · · · · ·Q.· ·So tell me some.

 ·7· · · · · ·A.· ·Well, that XBT and Webzilla were --

 ·8· · · that the Russian FSB had coerced them to, you

 ·9· · · know, to benefit their purposes.

 10· · · · · ·Q.· ·And what else?· Are there any others

 11· · · that you are referring to?

 12· · · · · ·A.· ·I would have to look at the dossier.

 13· · · · · ·Q.· ·Okay.· Just sitting here now, are

 14· · · there any others that you can think of that

 15· · · when you said salacious spectacular statements

 16· · · that's what you are refusing to?

 17· · · · · ·A.· ·They used porn sites and porn

 18· · · traffic to infect, used bots to infect

 19· · · computers to hack the DNC.

 20· · · · · ·Q.· ·The statements you are talking about

 21· · · of all of those that you say relate to these

 22· · · plaintiffs?

 23· · · · · ·A.· ·What do you mean relate to these

 24· · · plaintiffs?

 25· · · · · ·Q.· ·In other words, are you talking


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 ·1· · · about other portions of the dossier, like the

 ·2· · · famous hotel tape with respect to Donald

 ·3· · · Trump?

 ·4· · · · · ·A.· ·I am talking about the statements

 ·5· · · made about Webzilla, XBT and Mr. Gubarev.

 ·6· · · · · ·Q.· ·Okay.· So sitting here today, is it

 ·7· · · fair to say that you don't know for a fact why

 ·8· · · it took XBT/Webzilla --

 ·9· · · · · · · · · ·MR. SIEGEL:· Well, strike

 10· · · · · ·that.· I will start again.

 11· · · BY MR. SIEGEL:

 12· · · · · ·Q.· ·You don't know for a fact why it may

 13· · · have taken XBT/Webzilla more than six months

 14· · · to release those servers, if at all, the

 15· · · Methbot servers?

 16· · · · · ·A.· ·There is a -- an ebb and flow of

 17· · · which servers may be utilized.

 18· · · · · ·Q.· ·Right.

 19· · · · · ·A.· ·If you are talking about specific

 20· · · serial-numbered servers, I don't have the

 21· · · answer to that.

 22· · · · · ·Q.· ·Okay.· Did you talk to anybody else

 23· · · who works for any of the plaintiffs --

 24· · · · · ·A.· ·Yes.

 25· · · · · ·Q.· ·-- other than Mr. Mishra?


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 ·1· · · · · ·A.· ·I spoke with Mr. Gubarev.

 ·2· · · · · ·Q.· ·And tell me about that conversation.

 ·3· · · · · ·A.· ·It was the same discussion revolving

 ·4· · · the alleged Methbot client.

 ·5· · · · · ·Q.· ·And what did he tell you?

 ·6· · · · · ·A.· ·That he had spoken with their PR

 ·7· · · agent, Mr. Charles Dolan.

 ·8· · · · · ·Q.· ·Um-hmm.

 ·9· · · · · ·A.· ·And he was prepared to send a

 10· · · release to clients discussing how this was,

 11· · · you know, nothing that they condone, and there

 12· · · was no again reporting, no indication that

 13· · · there was any pick up of this story, that

 14· · · anyone knew about it.· And so they decided not

 15· · · to send that out.· They decided not to send

 16· · · out any PR release about it because it was a

 17· · · nonissue.

 18· · · · · ·Q.· ·Okay.· All right.· Did he tell you

 19· · · that they actually did provide information to

 20· · · an investigative journalist who reports on

 21· · · cybersecurity matters?

 22· · · · · ·A.· ·I'm not sure what you are talking

 23· · · about.

 24· · · · · ·Q.· ·Do you know who Brian Krebs is?

 25· · · · · ·A.· ·I have heard of Krebs online.


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 ·1· · · · · ·Q.· ·Do you know that they provided

 ·2· · · information to Brian Krebs about their

 ·3· · · association with Methbot?

 ·4· · · · · ·A.· ·Who provided information?

 ·5· · · · · ·Q.· ·XBT.

 ·6· · · · · ·A.· ·What information?

 ·7· · · · · ·Q.· ·Mr. Dolan did.

 ·8· · · · · ·A.· ·I don't know what information.

 ·9· · · · · ·Q.· ·You just don't know?· That is not

 10· · · something that you discussed with Mr. Gubarev?

 11· · · · · ·A.· ·I did not discuss that.

 12· · · · · ·Q.· ·All right.· Other than how to

 13· · · respond to the Methbot issue, did you talk

 14· · · about anything else with Mr. Gubarev?

 15· · · · · ·A.· ·I believe that was it.

 16· · · · · ·Q.· ·When did this conversation with

 17· · · Mr. Gubarev take place?

 18· · · · · ·A.· ·Before I submitted my supplemental

 19· · · report.

 20· · · · · ·Q.· ·Okay.· Other than Mr. Gubarev and

 21· · · Mr. Mishra, have you talked to anybody else

 22· · · who you understand to be employed by XBT?

 23· · · · · ·A.· ·I don't think so.

 24· · · · · ·Q.· ·Was that conversation with

 25· · · Mr. Gubarev over the phone?


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 ·1· · · · · ·A.· ·Yes.

 ·2· · · · · ·Q.· ·I assume that you have communicated

 ·3· · · with counsel for the plaintiffs in this case?

 ·4· · · · · ·A.· ·I have talked to them?

 ·5· · · · · ·Q.· ·Yes.

 ·6· · · · · ·A.· ·Yes.

 ·7· · · · · ·Q.· ·Other than the documents that have

 ·8· · · been included in your expert report, and I

 ·9· · · think listed by math, is there any other

 10· · · information that they provided you?

 11· · · · · ·A.· ·I -- I don't know.

 12· · · · · ·Q.· ·Okay.· What do you understand to be

 13· · · XBT's -- let me ask it a simple way.· All

 14· · · right?

 15· · · · · · · · How does XBT make money as you

 16· · · understand it?

 17· · · · · ·A.· ·They lease servers.· They have

 18· · · clients.· They provide value-add services to

 19· · · them, security services.

 20· · · · · ·Q.· ·Okay.· And what are the -- so that's

 21· · · where they get their revenue from or how they

 22· · · generate revenue?· Right?

 23· · · · · ·A.· ·Correct.

 24· · · · · ·Q.· ·What are the primary sources of

 25· · · costs, right, that XBT has to spend in order


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 ·1· · · to generate that revenue?

 ·2· · · · · ·A.· ·My understanding is that, well, the

 ·3· · · primary is server space.

 ·4· · · · · ·Q.· ·Okay.

 ·5· · · · · ·A.· ·And employees.

 ·6· · · · · ·Q.· ·Okay.· Is it fair to say that as you

 ·7· · · understand it, right, the more hosting

 ·8· · · customers that XBT has, right, the more costs

 ·9· · · they will incur in order to lease servers to

 10· · · provide for those to those customers?· Is that

 11· · · fair?· In general.

 12· · · · · ·A.· ·In general, but not proportionately.

 13· · · · · ·Q.· ·Okay.· I'm not asking you

 14· · · proportionately.· I am not asking you about it

 15· · · to make it specific.

 16· · · · · · · · But in general to attract more

 17· · · customers, to release more servers, they will

 18· · · need to spend some more money, right, to

 19· · · provide those servers?· Is that fair in

 20· · · general?

 21· · · · · ·A.· ·Well, but I think that's backwards.

 22· · · · · ·Q.· ·Okay.

 23· · · · · ·A.· ·I think it is instead that they get

 24· · · loans lined up to lease the servers.

 25· · · · · ·Q.· ·Right.


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 ·1· · · · · ·A.· ·And then once they have those lined

 ·2· · · up, so they can release them to the clients,

 ·3· · · then they get the client on board.

 ·4· · · · · ·Q.· ·I get it.· So you are saying that

 ·5· · · sort of the cost comes first and the revenue

 ·6· · · follows?

 ·7· · · · · ·A.· ·Well, there is -- yes.· Getting the

 ·8· · · financing lined up --

 ·9· · · · · ·Q.· ·Okay.

 10· · · · · ·A.· ·-- comes first --

 11· · · · · ·Q.· ·Right.

 12· · · · · ·A.· ·-- before they spend the cost to

 13· · · sign up the client --

 14· · · · · ·Q.· ·Right.

 15· · · · · ·A.· ·-- which is --

 16· · · · · ·Q.· ·But the financing is -- the

 17· · · financing is an agreement to pay a certain

 18· · · number of costs?· Right?

 19· · · · · ·A.· ·That is typically what financing is.

 20· · · Yes.

 21· · · · · ·Q.· ·Fair enough.· Okay.

 22· · · · · · · · Now you -- the first part of your

 23· · · expert report provides an estimate of what you

 24· · · say is lost business value?· Right?

 25· · · · · ·A.· ·Yes.


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 ·1· · · · · ·Q.· ·Explain what that means.

 ·2· · · · · ·A.· ·It means that because of the

 ·3· · · defamatory articles, there was a decline in

 ·4· · · revenue and associated earnings, and as a

 ·5· · · result of those declines, the value of the

 ·6· · · business declined.

 ·7· · · · · ·Q.· ·Okay.· So I'm actually asking you a

 ·8· · · different question.· We will get into some of

 ·9· · · that, those assertions for now.

 10· · · · · · · · But what do you mean by the value of

 11· · · a business?· That's what I am asking.· Just in

 12· · · general, what does a business's value mean?

 13· · · · · ·A.· ·It is an enterprise value.

 14· · · · · ·Q.· ·Okay.· Explain what that means in

 15· · · layperson's terms as best you can.

 16· · · · · ·A.· ·It is what you could sell the

 17· · · business for.

 18· · · · · ·Q.· ·Okay.· So it is how much you could,

 19· · · if there was a hypothetical buyer, how much

 20· · · you could sell the business to that

 21· · · hypothetical buyer for?

 22· · · · · ·A.· ·At fair market value.

 23· · · · · ·Q.· ·And your estimate of lost business

 24· · · value, okay --

 25· · · · · · · · · ·MR. SIEGEL:· Well, strike


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 ·1· · · · · ·that.· I will ask you a different

 ·2· · · · · ·question.

 ·3· · · BY MR. SIEGEL:

 ·4· · · · · ·Q.· ·Does the value of the business

 ·5· · · change over time?

 ·6· · · · · ·A.· ·It can.

 ·7· · · · · ·Q.· ·It can; right?· So, in other words,

 ·8· · · it might be that a buyer on January of 2014

 ·9· · · were to pay one price for a business, but a

 10· · · buyer a year later might pay a different price

 11· · · based on something that happened in the

 12· · · interim, right, in general?

 13· · · · · ·A.· ·That could be a case, yes.

 14· · · · · ·Q.· ·So what is the point in time at

 15· · · which you are valuing XBT's business?

 16· · · · · ·A.· ·January 1, 2018.

 17· · · · · ·Q.· ·Okay.· And why that date?

 18· · · · · ·A.· ·Because that was approximately

 19· · · around the time that we were retained in this

 20· · · case.

 21· · · · · ·Q.· ·Okay.

 22· · · · · ·A.· ·And I would say a clean point to

 23· · · value the company at.

 24· · · · · ·Q.· ·Okay.· Is the value of the company

 25· · · in your opinion different today than it was on


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 ·1· · · January 1, 2018?

 ·2· · · · · ·A.· ·I don't know.

 ·3· · · · · ·Q.· ·So and do you intend to offer any

 ·4· · · different value between now --

 ·5· · · · · · · · · ·MR. SIEGEL:· Strike that.

 ·6· · · BY MR. SIEGEL:

 ·7· · · · · ·Q.· ·If you were to testify at trial,

 ·8· · · okay, do you intend to offer any different

 ·9· · · valuation at trial based on conditions as of

 10· · · the date of trial?

 11· · · · · ·A.· ·If there is additional information

 12· · · or I am asked to do so, then I am willing to.

 13· · · · · ·Q.· ·Okay.

 14· · · · · ·A.· ·But I don't know if I'm -- if that

 15· · · is going to happen or not.

 16· · · · · ·Q.· ·So but my question is why, if you

 17· · · are trying to claim that you are estimating

 18· · · damages caused by the dossier, why pick

 19· · · January 1, 2018?

 20· · · · · ·A.· ·Again it was around the time that we

 21· · · were retained.

 22· · · · · ·Q.· ·Okay.· But if you had been retained

 23· · · on June 30, 2018, the number could have been

 24· · · different?· Right?

 25· · · · · ·A.· ·It could have been.


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 ·1· · · · · ·Q.· ·Okay.· And why choose that measure

 ·2· · · of damages?

 ·3· · · · · ·A.· ·Lost business value?

 ·4· · · · · ·Q.· ·Yes.

 ·5· · · · · ·A.· ·That was the discussion that I had

 ·6· · · with counsel of what the measure of damages

 ·7· · · was going to be.

 ·8· · · · · ·Q.· ·So that's what counsel asked you to

 ·9· · · estimate?

 10· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 11· · · · · ·You can answer.

 12· · · · · · · · · ·MR. SIEGEL:· Fair enough.

 13· · · · · ·Okay.

 14· · · BY MR. SIEGEL:

 15· · · · · ·Q.· ·Okay.· Is that -- was that a

 16· · · decision that you made that that was the best

 17· · · way to measure damages in this case?

 18· · · · · ·A.· ·I don't know if -- I don't know if

 19· · · that was an organic decision as a group.          I

 20· · · don't know the answer to that.

 21· · · · · ·Q.· ·Okay.

 22· · · · · · · · · ·MR. FRAY-WITZER:· Nathan,

 23· · · · · ·just whenever you get a chance for a

 24· · · · · ·bathroom break.· It doesn't have to

 25· · · · · ·be immediately.· Just whenever you


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 ·1· · · · · ·get a chance.

 ·2· · · · · · · · · ·MR. SIEGEL:· Okay.· I have

 ·3· · · · · ·got a few more just on this.

 ·4· · · · · · · · · ·MR. FRAY-WITZER:· That's

 ·5· · · · · ·fine.

 ·6· · · · · · · · · ·MR. SIEGEL:· And then that

 ·7· · · · · ·will be a good breaking point.

 ·8· · · · · · · · · ·Could we have the

 ·9· · · · · ·supplemental report?

 10· · · · · · · · · ·Let's mark this as Exhibit 2.

 11· · · · · (Supplemental Expert Report marked

 12· · · · · Exhibit 2 for identification.)

 13· · · · · · · · · ·(Handing Exhibit 2 to the

 14· · · · · ·witness.)

 15· · · BY MR. SIEGEL:

 16· · · · · ·Q.· ·I ask you to turn to page 8,

 17· · · Mr. Anderson.

 18· · · · · · · · · ·(Witness complying.)

 19· · · · · ·Q.· ·I'm sorry.· I meant page 7.

 20· · · · · · · · · ·(Witness complying.)

 21· · · · · ·Q.· ·If you look under "Damages

 22· · · analysis," subpoint 5, the first sentence says

 23· · · you have asked counsel to analyze damages.

 24· · · The second sentence says:

 25· · · · · · · · "Damages stemming from these actions


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 ·1· · · include but are not limited to XBT's lost

 ·2· · · business value."

 ·3· · · · · · · · So but are you providing any measure

 ·4· · · or estimate of damages other than lost

 ·5· · · business value?

 ·6· · · · · ·A.· ·In this report?

 ·7· · · · · ·Q.· ·Yes.

 ·8· · · · · ·A.· ·That's the only measure of damages

 ·9· · · that I have presented.

 10· · · · · ·Q.· ·And so does that -- does that mean

 11· · · that you are -- and I'm not talking about the

 12· · · benefit to BuzzFeed for the moment -- I am

 13· · · talking about damages to the plaintiff,

 14· · · okay? --

 15· · · · · ·A.· ·Okay.

 16· · · · · ·Q.· ·-- for purposes of these questions.

 17· · · · · · · · So is there any -- is there any

 18· · · other damages theories that you are intending

 19· · · to testify about?

 20· · · · · ·A.· ·Again at this point in time other

 21· · · than what I've put in my report is what I

 22· · · intend to testify to.

 23· · · · · ·Q.· ·All right.· So the question is

 24· · · simply when you said "include but are not

 25· · · limited to," what did you mean by that?


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 ·1· · · · · ·A.· ·I mean that statement means that

 ·2· · · we're not making any claims there are not

 ·3· · · potentially other damage elements that we have

 ·4· · · not been asked to address.· It is just not to

 ·5· · · focus or limit it to XBT's lost business

 ·6· · · value.

 ·7· · · · · ·Q.· ·Okay.· Let me ask you, setting aside

 ·8· · · Mr. Gubarev personally, if you are valuing the

 ·9· · · entire business, right, the entire value of

 10· · · the business, what other damages could there

 11· · · be with respect to the business?

 12· · · · · ·A.· ·I don't know.

 13· · · · · ·Q.· ·Okay.· So you are not intending to

 14· · · offer any testimony on anything other than

 15· · · measuring the lost business value, setting

 16· · · aside the benefit to BuzzFeed?

 17· · · · · ·A.· ·And again unless new information

 18· · · comes up I'm asked to address something else,

 19· · · for right now this is all I'm -- this is all I

 20· · · have analyzed.

 21· · · · · ·Q.· ·Okay.· And in your estimate of

 22· · · business value, right, is an estimate for as

 23· · · an accountant would call it the consolidated

 24· · · company?· Is that fair?

 25· · · · · ·A.· ·It's a fair market value of XBT and


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 ·1· · · its subsidiaries.

 ·2· · · · · ·Q.· ·And all of its subsidiaries?· Right?

 ·3· · · · · ·A.· ·Correct.

 ·4· · · · · ·Q.· ·So you have not made any effort to

 ·5· · · apportion that market value by figuring out

 ·6· · · the market value of each subsidiary?· Is that

 ·7· · · fair?

 ·8· · · · · ·A.· ·I have not.

 ·9· · · · · ·Q.· ·Okay.· And you have not made any

 10· · · effort to calculate any business value for

 11· · · Webzilla, Inc. specifically?

 12· · · · · ·A.· ·I have not.

 13· · · · · ·Q.· ·Okay.· Is it -- would it also be

 14· · · accurate to say that you have not made any

 15· · · effort to determine how much of what you

 16· · · contend is lost business valuable should be

 17· · · attributed to BuzzFeed and how much should be

 18· · · attributed to Christopher Steele?

 19· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 20· · · · · ·A.· ·Business valuable?

 21· · · BY MR. SIEGEL:

 22· · · · · ·Q.· ·Back up.

 23· · · · · · · · Are you aware that XBT is also suing

 24· · · and· Mr. Gubarev and one of its European

 25· · · subsidiaries are suing Mr. Steele in London?


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 ·1· · · Are you aware of that?

 ·2· · · · · ·A.· ·I have heard that, but I don't know

 ·3· · · anything about it.

 ·4· · · · · ·Q.· ·And they are suing Mr. Steele over

 ·5· · · the same statements that they are suing

 ·6· · · BuzzFeed over?

 ·7· · · · · ·A.· ·Again I have not looked into that at

 ·8· · · all.

 ·9· · · · · ·Q.· ·Okay.· So you haven't looked at that

 10· · · at all.· So you haven't made any effort to

 11· · · say, you know what, BuzzFeed -- you gave a

 12· · · range of lost business value, right, from 32

 13· · · million to 137 I think is your estimate?· Your

 14· · · latest estimate?· Roughly?· Right?

 15· · · · · ·A.· ·Well, roughly.

 16· · · · · ·Q.· ·Okay.· So you haven't made any

 17· · · effort to say of that 32 million, X percentage

 18· · · was caused by BuzzFeed and Y percentage was

 19· · · caused by Christopher Steele?· Right?· That is

 20· · · not something that you have looked at?

 21· · · · · ·A.· ·I have not --

 22· · · · · ·Q.· ·Okay.

 23· · · · · ·A.· ·-- discussed, looked at that,

 24· · · anything.

 25· · · · · ·Q.· ·Okay.


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 ·1· · · · · · · · · ·MR. SIEGEL:· This is a good

 ·2· · · · · ·breaking point.

 ·3· · · · · · · · · ·MR. FRAY-WITZER:· Okay.

 ·4· · · · · · · · · ·THE VIDEOGRAPHER:· The time

 ·5· · · · · ·is 11:13.· We are off the record.

 ·6· · · · · · · · · ·(Recess taken at 11:13 a.m.)

 ·7· · · · · · · · · ·(Recess ended at 11:27 a.m.)

 ·8· · · · · · · · · ·THE VIDEOGRAPHER:· The time

 ·9· · · · · ·is 11:28.· We are back on the

 10· · · · · ·record.

 11· · · BY MR. SIEGEL:

 12· · · · · ·Q.· ·Okay.· Mr. Anderson, turning now to

 13· · · the actual methodology you used for your

 14· · · estimate of business value, it relies in part

 15· · · on something called EBITDA.· Right?

 16· · · · · ·A.· ·EBITDA.

 17· · · · · ·Q.· ·EBITDA.· So that is the way -- you

 18· · · like to pronounce it EBITDA.· Good.

 19· · · · · · · · What is EBITDA?

 20· · · · · ·A.· ·It is earnings before interest,

 21· · · taxes, depreciation and amortization.

 22· · · · · ·Q.· ·So in order to calculate EBITDA, you

 23· · · need to know the revenue a company generated?

 24· · · Right?· That's one component?

 25· · · · · ·A.· ·Sure.


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 ·1· · · · · ·Q.· ·And you also need to know their

 ·2· · · cost, their operating costs and expenses?

 ·3· · · Right?

 ·4· · · · · ·A.· ·Correct.

 ·5· · · · · ·Q.· ·And EBITDA is a function of both of

 ·6· · · those; right?· It is a function of how much

 ·7· · · revenue a company has and how much their costs

 ·8· · · were; right?

 ·9· · · · · ·A.· ·Yes.· It is a function of operating

 10· · · income essentially.

 11· · · · · ·Q.· ·And operating income is a function

 12· · · of how much do you make versus how much do you

 13· · · spend?

 14· · · · · ·A.· ·Exactly.

 15· · · · · ·Q.· ·Okay.· And then you also use a

 16· · · measure called EBITDA margin?· Right?

 17· · · · · ·A.· ·Correct.

 18· · · · · ·Q.· ·Explain what that is.

 19· · · · · ·A.· ·It is essentially EBITDA --

 20· · · · · ·Q.· ·Right.

 21· · · · · ·A.· ·-- as a percentage of revenue.

 22· · · · · ·Q.· ·Okay.

 23· · · · · ·A.· ·It is a percentage.

 24· · · · · ·Q.· ·Okay.· So the higher the EBITDA, the

 25· · · higher the margin will be?· Right?


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 ·1· · · · · ·A.· ·Well, in relation to --ceteris

 ·2· · · paribus, all things being the same, yes.

 ·3· · · · · ·Q.· ·Okay.· So I just want to summarize

 ·4· · · some elements of your methodology to make sure

 ·5· · · that we all are understanding them correctly.

 ·6· · · · · ·A.· ·Sure.

 ·7· · · · · ·Q.· ·Okay?· So -- and I will start with

 ·8· · · your first report, and then I understand the

 ·9· · · second one adjusted some of the numbers, so

 10· · · we'll cover that.· Okay?

 11· · · · · ·A.· ·(The witness nodding his head.)

 12· · · · · ·Q.· ·So you first took the projection

 13· · · that XBT made in November of 2016 of its 2017

 14· · · revenue, cost, and EBITDA?· Right?· That's

 15· · · what you started with?

 16· · · · · ·A.· ·Correct.

 17· · · · · ·Q.· ·Okay.· And then you also based on

 18· · · that calculated what their projected EBITDA

 19· · · margin would be for 2017?· Right?

 20· · · · · ·A.· ·Based on those projections, yes.

 21· · · · · ·Q.· ·And that was 51.9 percent?

 22· · · · · ·A.· ·Correct.

 23· · · · · ·Q.· ·Okay.· And then you looked at -- and

 24· · · I understand there were two different numbers

 25· · · at two different points in time, but you


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 ·1· · · looked at the best data that you had for their

 ·2· · · actual 2017 revenue numbers?· Right?

 ·3· · · · · ·A.· ·I did.

 ·4· · · · · ·Q.· ·Okay.· Now would it be correct to

 ·5· · · say that even in your supplemental report you

 ·6· · · do not have data about their actual 2017

 ·7· · · costs?

 ·8· · · · · ·A.· ·That's correct.

 ·9· · · · · ·Q.· ·Okay.· So even today, right, we

 10· · · don't know what their actual 2017 EBITDA was?

 11· · · · · ·A.· ·That's -- I have not seen it.

 12· · · · · ·Q.· ·Okay.· And similarly, so we don't

 13· · · know what their actual 2017 margin?· Right?

 14· · · · · ·A.· ·EBITDA margin?

 15· · · · · ·Q.· ·Right.

 16· · · · · ·A.· ·Correct.

 17· · · · · ·Q.· ·So in order to make your

 18· · · calculations, you estimated, right, what their

 19· · · 2017 EBITDA would be?

 20· · · · · ·A.· ·For one element, I did, yes.

 21· · · · · ·Q.· ·Okay.· Can you go to Exhibit 5 of

 22· · · your supplemental report?

 23· · · · · · · · · ·(Witness complying.)

 24· · · · · ·Q.· ·If you look at Exhibit 5, do you see

 25· · · where it says "as is scenario 2017"?


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 ·1· · · · · ·A.· ·I do.

 ·2· · · · · ·Q.· ·So revenue is 58.27 million.· That

 ·3· · · is based on the actual numbers that XBT

 ·4· · · provided, right, as of the time of this

 ·5· · · report?

 ·6· · · · · ·A.· ·Correct.

 ·7· · · · · ·Q.· ·Just based on your understanding,

 ·8· · · are those -- are those numbers still

 ·9· · · unaudited?

 10· · · · · ·A.· ·Yes.

 11· · · · · ·Q.· ·Okay.· So it is at least possible

 12· · · that that number could change in their final

 13· · · audited statements?

 14· · · · · ·A.· ·Sure.

 15· · · · · ·Q.· ·Okay.· Now operating profit, you

 16· · · have in italics, I believe, 9.8 million

 17· · · roughly.· How did you calculate that number?

 18· · · · · ·A.· ·So that is based on common size,

 19· · · which is essentially different elements of an

 20· · · income statement in relation to a percentage

 21· · · in relation to revenues.· And we used 2016's

 22· · · relational percentages for each of those

 23· · · measures, operating profit, et cetera, to get

 24· · · to the number, since we didn't have the

 25· · · expenses, as you said.


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 ·1· · · · · ·Q.· ·So in my -- I am going to ask you to

 ·2· · · in my more simpleton terms -- if I am

 ·3· · · understanding accurately what you are saying,

 ·4· · · okay, are you saying that -- I am just going

 ·5· · · to give you a hypothetical for purposes of if

 ·6· · · I am understanding it, right.· Are you saying

 ·7· · · that if hypothetically XBT had $50 million of

 ·8· · · revenue in 2016 and they had $30 million of

 ·9· · · cost, right, so the percentage was 60 percent

 10· · · in 2016, are you saying that you apply that

 11· · · same percentage to their 2017 revenue to

 12· · · estimate EBITDA, or is that not what you're

 13· · · saying?

 14· · · · · ·A.· ·I think you are on the right track.

 15· · · · · ·Q.· ·Okay.

 16· · · · · ·A.· ·We are just saying whatever the

 17· · · relationship to expenses and revenue and

 18· · · depreciation, amortization, which are elements

 19· · · you need to get to an EBITDA number --

 20· · · · · ·Q.· ·Okay.

 21· · · · · ·A.· ·-- what that relationship to revenue

 22· · · was in 2016 we assumed that relationship would

 23· · · be the same in 2017.

 24· · · · · ·Q.· ·Okay.· And if -- so would it be fair

 25· · · to say that if it turns out that the


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 ·1· · · proportion in 2017 changed, the relationship

 ·2· · · changed, then their actual EBITDA number would

 ·3· · · be different than what you have calculated

 ·4· · · here?· Right?

 ·5· · · · · ·A.· ·Sure.· If the numbers change, they

 ·6· · · would change.

 ·7· · · · · ·Q.· ·Okay.· Have you had any discussions

 ·8· · · with XBT about when they expect the actual

 ·9· · · 2017 numbers to be available?

 10· · · · · ·A.· ·I have asked for actual or audited.

 11· · · · · ·Q.· ·Um-hmm.

 12· · · · · ·A.· ·And my understanding is that they're

 13· · · in the works.· I haven't seen them yet.

 14· · · · · ·Q.· ·Okay.· And would it be your

 15· · · intention to revise these numbers once the

 16· · · actual audited 2017 financials are available?

 17· · · · · ·A.· ·Yes.· If that's -- if that is

 18· · · provided to me and asked of me, I will

 19· · · supplement this.

 20· · · · · ·Q.· ·Okay.· Okay.· Okay.

 21· · · · · · · · So after performing these

 22· · · calculations, what I understand you did next

 23· · · was you compared your estimate of what you

 24· · · call as is 2017 EBITDA, right, with two

 25· · · different calculations?· Right?· One was XBT's


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 ·1· · · actual projected 2017 EBITDA?· Right?

 ·2· · · · · ·A.· ·With some adjustments, but yes.

 ·3· · · · · ·Q.· ·Okay.· And that was your high-end

 ·4· · · calculation?· Right?

 ·5· · · · · ·A.· ·Correct.

 ·6· · · · · ·Q.· ·You used their projected EBITDA

 ·7· · · margin?· Right?

 ·8· · · · · ·A.· ·Correct.

 ·9· · · · · ·Q.· ·And you also for what you call a

 10· · · low-end calculation used their 2016 EBITDA

 11· · · margin and applied that to your estimate of

 12· · · 2017 as is EBITDA?· Right?

 13· · · · · ·A.· ·Yes.

 14· · · · · ·Q.· ·Okay.

 15· · · · · ·A.· ·I took the 42 percent EBITDA margin

 16· · · for 2016 and used that for 2017.

 17· · · · · ·Q.· ·Okay.· Then the next thing that you

 18· · · did to get your estimate of business value is

 19· · · taking that low-end figure and taking that

 20· · · high-end figure, you multiplied them by 17?

 21· · · · · ·A.· ·17 times EBITDA multiple, yes.

 22· · · · · ·Q.· ·And that 17 was a function of the

 23· · · average EBITDA multiple of five companies that

 24· · · had been identified in a 2013 valuation by

 25· · · KPMG as comparable?· Right?


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 ·1· · · · · ·A.· ·Yes.· I used the KPMG comparables.

 ·2· · · · · ·Q.· ·Okay.· And it looked to me like the

 ·3· · · information that you used for their EBITDA

 ·4· · · multiples, those were from S & P reports?

 ·5· · · · · ·A.· ·There is -- I just want to correct.

 ·6· · · There is actually six companies.

 ·7· · · · · ·Q.· ·Six companies?

 ·8· · · · · ·A.· ·Not five.

 ·9· · · · · ·Q.· ·Fair enough.

 10· · · · · · · · And the information that you

 11· · · provided about the what the EBITDA multiples

 12· · · of those companies are were from S & P

 13· · · reports?

 14· · · · · ·A.· ·It is from Capital IQ --

 15· · · · · ·Q.· ·Yes.

 16· · · · · ·A.· ·-- which is a subsidiary of S & P.

 17· · · · · ·Q.· ·Okay.· And the multiples that you

 18· · · used for those six companies were -- was it

 19· · · the most recent data you could find as of the

 20· · · time that you did the report?

 21· · · · · ·A.· ·Correct.

 22· · · · · ·Q.· ·Right.· So it is not what their

 23· · · multiples were in 2013?· It is what their

 24· · · multiples were, the best available information

 25· · · as of the time you wrote your report?


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 ·1· · · · · ·A.· ·As close as possible to the

 ·2· · · valuation date of January 1, 2018.

 ·3· · · · · ·Q.· ·Okay.· Now for your purposes -- and

 ·4· · · the adjustments you made when you wrote your

 ·5· · · second report, right, were, number one, you

 ·6· · · used their updated revenue number?· Right?

 ·7· · · · · ·A.· ·Correct.

 ·8· · · · · ·Q.· ·And secondly, you backed out your

 ·9· · · estimate of revenue from the Methbot customer?

 10· · · · · ·A.· ·From the projections.

 11· · · · · ·Q.· ·From their 2016 projections?

 12· · · · · ·A.· ·Well, their 2017 projection.

 13· · · · · ·Q.· ·Yes.

 14· · · · · ·A.· ·Done in November of 2016.

 15· · · · · ·Q.· ·Correct.· You are absolutely right.

 16· · · Okay.

 17· · · · · · · · So it seemed to me that there were a

 18· · · number of assumptions that you made in this

 19· · · analysis, but I want you to tell me if I am

 20· · · wrong.· Okay?

 21· · · · · · · · Assumption number one is that once

 22· · · you adjusted the November of 2016 projection

 23· · · for your estimate of the Methbot customer,

 24· · · right, which brought the number I think to

 25· · · 62.8, okay, you are asserting, right, that the


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 ·1· · · difference between what XBT says they have

 ·2· · · actually earned in 2018 -- at least as of the

 ·3· · · most recent information, right, which is 58.27

 ·4· · · million?

 ·5· · · · · ·A.· ·2017.

 ·6· · · · · ·Q.· ·Yes.· Okay.· Thank you.· I will try

 ·7· · · to make this even simpler.· Right?

 ·8· · · · · · · · You adjusted the projection for 2017

 ·9· · · to 62.8 million, right, to take into account

 10· · · the Methbot customer?· Right?

 11· · · · · ·A.· ·Yes.

 12· · · · · ·Q.· ·XBT at least as of the most recent

 13· · · information they have provided says that they

 14· · · have earned -- that their revenue in 2017,

 15· · · their actual revenue, was 58.27?· Right?

 16· · · · · ·A.· ·Correct.

 17· · · · · ·Q.· ·And your report asserts that the --

 18· · · that but for the publication of the dossier,

 19· · · right, they would have hit 62.8 instead of

 20· · · 58.27?· Right?

 21· · · · · ·A.· ·That's correct.

 22· · · · · ·Q.· ·Okay.· And you are also asserting,

 23· · · right, that but for the dossier they would

 24· · · also have hit their projections of operating

 25· · · costs and EBITDA?· Right?


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 ·1· · · · · ·A.· ·Correct -- well, in one scenario,

 ·2· · · yes.

 ·3· · · · · ·Q.· ·Okay.· Okay.

 ·4· · · · · · · · Second assumption, I think, but

 ·5· · · let's talk about this, is that as of

 ·6· · · January 1 -- you did a valuation as of

 ·7· · · January 1, 2018?· Okay?

 ·8· · · · · ·A.· ·Correct.

 ·9· · · · · ·Q.· ·And that valuation asserts that

 10· · · there was a -- there was a shortfall of

 11· · · roughly four and a half million dollars in

 12· · · revenue, which you say was caused by the

 13· · · publication of the dossier.· Right.

 14· · · · · · · · Doesn't your analysis assume that

 15· · · those, at least as of January 1, 2018, that

 16· · · those losses -- well, you call shortfall --

 17· · · would never be made up?· In other words, that

 18· · · that shortfall is there in perpetuity?

 19· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 20· · · · · ·You can answer.

 21· · · · · ·A.· ·It assumes that at this point in

 22· · · time those revenues have not been made, and in

 23· · · terms of what is going to happen going in the

 24· · · future, I don't know.

 25· · · BY MR. SIEGEL:


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 ·1· · · · · ·Q.· ·Okay.· The next assumption is that

 ·2· · · the companies that KPMG identified as what

 ·3· · · they thought were comparable companies in 2013

 ·4· · · are also comparable companies today?

 ·5· · · · · ·A.· ·Correct.

 ·6· · · · · ·Q.· ·And the fourth assumption you made

 ·7· · · is that the statements in the dossier about

 ·8· · · the plaintiffs are false?

 ·9· · · · · ·A.· ·Yes.· That's an assumption.

 10· · · · · ·Q.· ·And what assumption is that based

 11· · · on?· What is that based on?

 12· · · · · ·A.· ·I don't know if there is an

 13· · · assumption.· The assumption is that, yes, that

 14· · · there was damaging statements made that were

 15· · · false in the dossier.

 16· · · · · ·Q.· ·And on what basis do you have to

 17· · · assume that the statements in the dossier to

 18· · · the extent they relate to the plaintiffs were

 19· · · false?

 20· · · · · ·A.· ·I have heard, been told that they

 21· · · were false statements.· There has been no

 22· · · proof I have seen that they weren't false

 23· · · statements.

 24· · · · · ·Q.· ·Okay.· And that is based entirely on

 25· · · what your conversations are with the


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 ·1· · · plaintiffs?· Right?

 ·2· · · · · · · · Do you have any expertise, are you

 ·3· · · claiming any expertise, to make a judgment

 ·4· · · about whether the allegations in the dossier

 ·5· · · as they might pertain to the plaintiffs are

 ·6· · · false?

 ·7· · · · · ·A.· ·I am not making any assumption other

 ·8· · · than --

 ·9· · · · · ·Q.· ·Okay.

 10· · · · · ·A.· ·I am not giving any opinion whether

 11· · · they are or are not.

 12· · · · · ·Q.· ·Okay.· If we assume that they were

 13· · · true, would your valuation still hold?

 14· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 15· · · · · ·A.· ·I haven't considered that at all.

 16· · · BY MR. SIEGEL:

 17· · · · · ·Q.· ·So can you answer that question one

 18· · · way or the other?

 19· · · · · ·A.· ·I don't know.

 20· · · · · ·Q.· ·Do you think that all the statements

 21· · · in the dossier are false?

 22· · · · · ·A.· ·I don't know.

 23· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 24· · · BY MR. SIEGEL:

 25· · · · · ·Q.· ·Meaning when I say statements, I


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 ·1· · · don't just mean -- all the information that

 ·2· · · Christopher Steele provided in the dossier, do

 ·3· · · you think it is all false?

 ·4· · · · · ·A.· ·I have no opinion on that.

 ·5· · · · · ·Q.· ·Do you think any of it is true?

 ·6· · · · · ·A.· ·I have no opinion on that.

 ·7· · · · · ·Q.· ·None whatsoever?

 ·8· · · · · ·A.· ·None.

 ·9· · · · · ·Q.· ·Do you think that the Russians

 10· · · interfered in the 2016 American election?

 11· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 12· · · · · ·A.· ·I have no idea.

 13· · · BY MR. SIEGEL:

 14· · · · · ·Q.· ·You have no idea?

 15· · · · · ·A.· ·I don't know.

 16· · · · · ·Q.· ·You have no opinion about whether

 17· · · that's true or not?

 18· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 19· · · · · ·A.· ·I do not.

 20· · · BY MR. SIEGEL:

 21· · · · · ·Q.· ·Does it make a difference to you

 22· · · that the entire American intelligence

 23· · · community has opined that the Russians did

 24· · · interfere in the 2016 election?

 25· · · · · ·A.· ·I have seen a lot of statements


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 ·1· · · going both ways.· I have no opinion myself.

 ·2· · · · · ·Q.· ·Okay.· Now you used XBT's

 ·3· · · projections made in November of 2016, right,

 ·4· · · for 2017 revenue, costs, et cetera?· Right?

 ·5· · · · · ·A.· ·With adjustments to them, yes.

 ·6· · · · · ·Q.· ·With the adjustments.· Okay.

 ·7· · · · · · · · So would it be fair to say that you

 ·8· · · assumed that those projections that were made

 ·9· · · in November of 2016 with the single adjustment

 10· · · we have talked about were accurate?

 11· · · · · ·A.· ·Yes.· I have no indication they're

 12· · · not.

 13· · · · · ·Q.· ·Why did you make that assumption?

 14· · · · · ·A.· ·Because they have a fairly rigorous

 15· · · standard which they go through to produce

 16· · · those projections.

 17· · · · · ·Q.· ·What is that?

 18· · · · · ·A.· ·It is a long process with their

 19· · · analyst to identify what revenues are going to

 20· · · be captured in the future.

 21· · · · · ·Q.· ·Did you talk to Mr. Mishra about

 22· · · what the basis of his projection was?

 23· · · · · ·A.· ·I asked him about the activities

 24· · · they go through to --

 25· · · · · ·Q.· ·And what did he tell you?


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 ·1· · · · · ·A.· ·He said they go through a long

 ·2· · · process with their analyst of identifying what

 ·3· · · those future opportunities are going to be.

 ·4· · · · · ·Q.· ·Didn't Mr. Mishra testify that he

 ·5· · · has just simply assumed that the same growth

 ·6· · · rate that the company had enjoyed in 2016 was

 ·7· · · going to continue in 2017?

 ·8· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·9· · · · · ·You can answer.

 10· · · · · ·A.· ·It's -- I don't know if that's the

 11· · · case.

 12· · · BY MR. SIEGEL:

 13· · · · · ·Q.· ·You don't know if he testified to

 14· · · that?

 15· · · · · ·A.· ·I don't know.

 16· · · · · ·Q.· ·You read his deposition?· Right?

 17· · · · · ·A.· ·I did.

 18· · · · · ·Q.· ·Did you undertake any independent

 19· · · research of your own to try to assess whether

 20· · · those projections made in November of 2017 --

 21· · · 2016 were accurate?

 22· · · · · ·A.· ·Yes.

 23· · · · · ·Q.· ·What?

 24· · · · · ·A.· ·I looked at their projections they

 25· · · did in 2015 for 2016.


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 ·1· · · · · ·Q.· ·Okay.

 ·2· · · · · ·A.· ·And they actually exceeded their

 ·3· · · EBITDA and revenue figures that they had

 ·4· · · projected, so their actuals were higher than

 ·5· · · their projections.· For me it gave me comfort

 ·6· · · the 2017 projections, especially given the

 ·7· · · close nature of that, were accurate and

 ·8· · · reasonable.

 ·9· · · · · ·Q.· ·Did you look at any other

 10· · · projections that they had made other than

 11· · · their 2015 projections for 2016?

 12· · · · · ·A.· ·I don't recall if I have seen those

 13· · · or not.

 14· · · · · ·Q.· ·Okay.· Let's look at your -- at the

 15· · · supplemental report again and go to page 11.

 16· · · · · · · · · ·(Witness complying.)

 17· · · · · ·Q.· ·Okay.· In the second full paragraph

 18· · · where it says "to assess the reliability," do

 19· · · you see that?

 20· · · · · ·A.· ·I do.

 21· · · · · ·Q.· ·It says:

 22· · · · · · · · "We also compared projections made

 23· · · in prior years to their actual business

 24· · · performance.· In the past, XBT has

 25· · · outperformed projections contained in their


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 ·1· · · business plans."

 ·2· · · · · · · · Right?

 ·3· · · · · · · · And then you cite one document,

 ·4· · · document 60.

 ·5· · · · · · · · So would it be fair to say that

 ·6· · · actually you compared -- you simply looked at

 ·7· · · one projection for one year?

 ·8· · · · · ·A.· ·I may have seen others.· I don't

 ·9· · · recall.· But I know there is -- there is

 10· · · certainly the one that I looked at.

 11· · · · · ·Q.· ·Okay.· Well, other than the one, and

 12· · · we will get to the one in a second, but are

 13· · · you asserting that other than that one that

 14· · · XBT has outperformed projections contained in

 15· · · their business plans in the past?

 16· · · · · ·A.· ·Based on conversations I had with

 17· · · the CFO, he said they had in the past as well.

 18· · · They were fairly conservative.

 19· · · · · ·Q.· ·Did you ever test whether that was

 20· · · true?

 21· · · · · ·A.· ·I don't know if I have ever seen

 22· · · those.

 23· · · · · ·Q.· ·Did you ask?

 24· · · · · ·A.· ·I believe we did.

 25· · · · · ·Q.· ·Why didn't you get them?


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 ·1· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·2· · · · · ·A.· ·I don't know.

 ·3· · · BY MR. SIEGEL:

 ·4· · · · · ·Q.· ·So did the fact that you asked for

 ·5· · · information and they didn't provide it to you

 ·6· · · give you any pause as to whether the assertion

 ·7· · · about their track record of projecting was

 ·8· · · true?

 ·9· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 10· · · · · ·A.· ·I ask for a lot of things and don't

 11· · · necessarily get all of them.· So I don't know

 12· · · if it gave me a pause.

 13· · · BY MR. SIEGEL:

 14· · · · · ·Q.· ·Well, what else did you ask for that

 15· · · you didn't get?

 16· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 17· · · · · ·A.· ·I don't know.· I am saying I asked

 18· · · for a lot of things in most cases.

 19· · · BY MR. SIEGEL:

 20· · · · · ·Q.· ·Well, did you ever test to see

 21· · · whether what you contend is -- was their track

 22· · · record in 2015 was an anomaly?

 23· · · · · ·A.· ·I'm not sure what you're asking.

 24· · · · · ·Q.· ·Well, you are saying -- you make the

 25· · · assertion that they have in the past


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 ·1· · · outperformed projections contained in their

 ·2· · · business plans.· Right?

 ·3· · · · · ·A.· ·Right.

 ·4· · · · · ·Q.· ·What you are really talking about is

 ·5· · · one projection made in 2015?· Right?· How do

 ·6· · · you know that that wasn't an anomaly in terms

 ·7· · · of their record of making accurate

 ·8· · · projections?

 ·9· · · · · ·A.· ·Well, based on again discussions

 10· · · with the CFO, but also external research I

 11· · · conducted on the industry as a whole which

 12· · · showed pretty amazing growth, I think on

 13· · · average 45.9 percent over a five-year period.

 14· · · · · ·Q.· ·And over what five-year period?

 15· · · · · ·A.· ·2016 to 2020 I believe.· I believe

 16· · · it was actually higher.· 60 percent or so was

 17· · · anticipated in 2016.· 50 percent.· And it was

 18· · · kind of a slightly downward sloping curve, but

 19· · · on average compounded annual growth rate of I

 20· · · believe 45.9, but so they were projecting 28

 21· · · percent, which I actually cut down to 26

 22· · · percent, and so that falls well under

 23· · · projections for the industry as a whole.· So

 24· · · it seemed very reasonable.

 25· · · · · ·Q.· ·Where is there any information of


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 ·1· · · projections for the industry as a whole in

 ·2· · · your report?

 ·3· · · · · ·A.· ·I think I cite to a document in the

 ·4· · · back.

 ·5· · · · · ·Q.· ·Which one?

 ·6· · · · · ·A.· ·I think it is document fifty --

 ·7· · · let's see -- 56.

 ·8· · · · · ·Q.· ·Did you compare how XBT had

 ·9· · · performed in the previous five years compared

 10· · · to the industry as a whole?

 11· · · · · ·A.· ·They had slightly less growth than

 12· · · the industry as a whole, which again my

 13· · · 26 percent growth rate in 2017 was far below

 14· · · what the industry estimates were.

 15· · · · · ·Q.· ·Well, what -- how much did the

 16· · · industry as a whole grow in the previous five

 17· · · years and how much did XBT grow?

 18· · · · · ·A.· ·I don't have that number off the top

 19· · · of my head.

 20· · · · · ·Q.· ·So how do you know whether it was

 21· · · slight?

 22· · · · · ·A.· ·What do you mean slight?

 23· · · · · ·Q.· ·You said that they were slightly

 24· · · behind the industry as a whole in the prior

 25· · · five years.· If you don't know what the


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 ·1· · · numbers are, how do you know?

 ·2· · · · · ·A.· ·I looked at those numbers.· I don't

 ·3· · · -- they didn't have a bearing on the 2016 to

 ·4· · · 2017 projections that were done given the

 ·5· · · research that I looked at and the fact that

 ·6· · · their 2016 projections done in 2015 were

 ·7· · · exceeded, so.

 ·8· · · · · ·Q.· ·Tell me again what the five-year

 ·9· · · projection for the industry as a whole was.

 10· · · · · ·A.· ·I believe it was 45.9 percent

 11· · · compounded annual growth.· So that is on

 12· · · average over a five-year period it was I

 13· · · believe 60 percent in the first year,

 14· · · declining to 54.· I would have to look at the

 15· · · document, but on average, 45.9.

 16· · · · · ·Q.· ·Does that mean on average of 45.9

 17· · · each year?

 18· · · · · ·A.· ·Each year.

 19· · · · · ·Q.· ·So not over the five-year period?

 20· · · · · ·A.· ·No, no.· 45.9 percent compound

 21· · · annual.· So that's an annual growth right each

 22· · · year.· So 45 percent this year, next year.

 23· · · · · ·Q.· ·Next year?

 24· · · · · ·A.· ·Yes.

 25· · · · · ·Q.· ·That's what I am trying to clarify.


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 ·1· · · · · · · · Did you ever -- in order to assess

 ·2· · · whether XBT's November of 2016 forecasts were

 ·3· · · accurate, did you look at the forecast that

 ·4· · · they made in the 2013 KPMG valuation?

 ·5· · · · · ·A.· ·I looked at the KPMG valuation.          I

 ·6· · · focused predominantly on their comparables

 ·7· · · that they used, as that was really the sole

 ·8· · · focus of it, but I did look at the

 ·9· · · projections.· Yes.

 10· · · · · ·Q.· ·What did you think of the accuracy

 11· · · of those projections?

 12· · · · · ·A.· ·I don't recall.

 13· · · · · ·Q.· ·You don't recall?

 14· · · · · ·A.· ·I don't.

 15· · · · · ·Q.· ·That made no difference to you?

 16· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 17· · · · · ·A.· ·In 2013?

 18· · · BY MR. SIEGEL:

 19· · · · · ·Q.· ·Yes.

 20· · · · · ·A.· ·It was far enough in the past.

 21· · · · · ·Q.· ·So that made no difference to you

 22· · · with respect to the statement that in the past

 23· · · XBT has outperformed projections contained in

 24· · · their business plans?· That made no

 25· · · difference?


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 ·1· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·2· · · · · ·You can answer.

 ·3· · · · · ·A.· ·If there was one year they missed

 ·4· · · their projections but other years that they --

 ·5· · · BY MR. SIEGEL:

 ·6· · · · · ·Q.· ·But you don't know if there is

 ·7· · · anything other than one year in which they hit

 ·8· · · their projections?· Right?

 ·9· · · · · ·A.· ·Other than discussions that I have

 10· · · had.

 11· · · · · ·Q.· ·Okay.· In order to verify the

 12· · · reliability of their November of 2016

 13· · · forecast, did you look at any information

 14· · · about specifically what customers they thought

 15· · · they were going to be able to attract?

 16· · · · · ·A.· ·No.

 17· · · · · ·Q.· ·What prices were they charging

 18· · · compared to the rest of the industry?

 19· · · · · ·A.· ·No.

 20· · · · · ·Q.· ·What actions their competitors might

 21· · · be taking that could affect their business?

 22· · · · · ·A.· ·What do you mean by that?

 23· · · · · ·Q.· ·Well, anything that their

 24· · · competitors were doing that might have

 25· · · affected whether XBT could continue to grow at


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 ·1· · · that rate?

 ·2· · · · · ·A.· ·The industry as a whole was growing

 ·3· · · fairly rapidly.· So I mean I considered that.

 ·4· · · · · ·Q.· ·Okay.· And did you consider whether

 ·5· · · XBT had the capacity to continue that growth?

 ·6· · · · · ·A.· ·Yes.

 ·7· · · · · ·Q.· ·How did you consider that?

 ·8· · · · · ·A.· ·Well, because they had -- the

 ·9· · · discussion we were having before about they

 10· · · get the financing lined up, then once they

 11· · · have the financing lined up they sign the

 12· · · client, buy the servers, and move forward, and

 13· · · they had the capacity, they had the financial

 14· · · ability to do that, the relationships with the

 15· · · banks --

 16· · · · · ·Q.· ·Right.

 17· · · · · ·A.· ·-- until the dossier was produced,

 18· · · and then that caused issues.

 19· · · · · ·Q.· ·Well, we will talk about that.

 20· · · · · · · · I mean how do you know that they had

 21· · · the ability to actually get the financing for

 22· · · all of the increase in capacity they were

 23· · · projecting?

 24· · · · · ·A.· ·Based on discussions I have had with

 25· · · the company.


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 ·1· · · · · ·Q.· ·Okay.· Let's get document 60 and

 ·2· · · document 9.

 ·3· · · · · · · · · ·MR. SIEGEL:· Exhibit 3.

 ·4· · · · · (XBT Holding Consolidated 2016 marked

 ·5· · · · · Exhibit 3 for identification.)

 ·6· · · · · · · · · ·(Handing Exhibit 3 to the

 ·7· · · · · ·witness.)

 ·8· · · · · · · · · ·THE WITNESS:· Thank you for

 ·9· · · · · ·printing this large.

 10· · · · · · · · · ·MR. SIEGEL:· Yes.· I figured

 11· · · · · ·that out.

 12· · · · · · · · · ·And we will also mark this as

 13· · · · · ·Exhibit 4.

 14· · · · · (XBT Holding SA, Report and

 15· · · · · Consolidated Financial Statements for

 16· · · · · the year ended 31 December 2016

 17· · · · · marked Exhibit 4 for identification.)

 18· · · · · · · · · ·MR. FRAY-WITZER:· I guess

 19· · · · · ·this is a good time to mention that

 20· · · · · ·we will mark the deposition as

 21· · · · · ·confidential.

 22· · · · · · · · · ·MR. SIEGEL:· Indeed.

 23· · · BY MR. SIEGEL:

 24· · · · · ·Q.· ·And for ease of discussion, can you

 25· · · turn to page 9 of Exhibit 4, page 9 of the


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 ·1· · · audited statement?

 ·2· · · · · ·A.· ·Yes.· Not this one.· This one.

 ·3· · · · · · · · · ·(Pause.)

 ·4· · · · · · · · · ·(Witness viewing Exhibit 4.)

 ·5· · · · · ·Q.· ·Okay.· So looking at document 3 now,

 ·6· · · so XBT projected roughly $48.1 million in 2016

 ·7· · · revenue?

 ·8· · · · · ·A.· ·Um-hmm.

 ·9· · · · · ·Q.· ·Right.· And they realized 49.7?

 10· · · Right?

 11· · · · · ·A.· ·That's correct.

 12· · · · · ·Q.· ·Okay.· Now go down to their

 13· · · projection of net profit on Exhibit 3.

 14· · · · · · · · · ·(Witness complying.)

 15· · · · · ·Q.· ·Their projection of net profit was

 16· · · 11.6 million?· Right?

 17· · · · · ·A.· ·Correct.

 18· · · · · ·Q.· ·And if you go to Exhibit 4, page 9,

 19· · · their actual net profit was 6.2 million?

 20· · · Right?

 21· · · · · ·A.· ·Yes.

 22· · · · · ·Q.· ·So their profit was a little more

 23· · · than half of what they projected?

 24· · · · · ·A.· ·From an accounting perspective, yes.

 25· · · · · ·Q.· ·What do you mean by that?


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 ·1· · · · · ·A.· ·Well, that's why we use EBITDA.

 ·2· · · · · ·Q.· ·Um-hmm.

 ·3· · · · · ·A.· ·Because it is a measure of cash

 ·4· · · flow.· So it isolates financing, investments,

 ·5· · · how the company is financially structured.

 ·6· · · · · ·Q.· ·Okay.

 ·7· · · · · ·A.· ·So that you can compare on an even

 ·8· · · playing field with other companies, and so

 ·9· · · while their reported net income from

 10· · · accounting purposes was lower, their EBITDA,

 11· · · which is a much more important figure from the

 12· · · valuation perspective, was actually higher.

 13· · · · · ·Q.· ·Okay.· Did you ask for any -- other

 14· · · than your discussion about the impact of the

 15· · · Methbot customer, did you ever ask for whether

 16· · · XBT had updated this projection at any point?

 17· · · · · ·A.· ·I asked for their latest

 18· · · projections.· So I believe I did.

 19· · · · · ·Q.· ·Okay.· And did they give you

 20· · · anything other than this?· Did they say that

 21· · · they had a more updated version of their 2016

 22· · · projections than document 60?

 23· · · · · ·A.· ·This is what was provided to me.

 24· · · · · ·Q.· ·Okay.· Let's get document 54.

 25· · · · · · · · · ·MR. SIEGEL:· Let's mark this


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 ·1· · · · · ·as Exhibit 5.

 ·2· · · · · (XBT Holding Limited Equity

 ·3· · · · · Valuation, 2 August 2013, bearing

 ·4· · · · · production numbers P-G 000645 through

 ·5· · · · · P-G 000703 marked Exhibit 5 for

 ·6· · · · · identification.)

 ·7· · · · · · · · · ·(Handing Exhibit to the

 ·8· · · · · ·witness.)

 ·9· · · · · · · · · ·THE WITNESS:· Thank you.

 10· · · BY MR. SIEGEL:

 11· · · · · ·Q.· ·And I will also ask you to look at

 12· · · your report, your latest report, and turn to

 13· · · figure 2, which is on page 8.

 14· · · · · · · · · ·(Witness complying.)

 15· · · · · ·Q.· ·Okay?· And take Exhibit 5, and turn

 16· · · to page 20, which is also Bates numbered 665.

 17· · · · · · · · · ·(Witness complying.)

 18· · · · · ·Q.· ·Okay.· So Exhibit 5, right, on page

 19· · · 20 are projections that XBT made for purposes

 20· · · of this 2013 evaluation, right, valuation?

 21· · · · · ·A.· ·Right.

 22· · · · · ·Q.· ·And at that point they projected

 23· · · 2013 revenue to be 43.7 million?· Right?

 24· · · · · ·A.· ·Correct.

 25· · · · · ·Q.· ·And if you look at their actual


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 ·1· · · revenue in figure 26 your report, it was 32.8?

 ·2· · · Right?

 ·3· · · · · ·A.· ·Correct.

 ·4· · · · · ·Q.· ·And they projected EBITDA to be

 ·5· · · 18.77?· Right?

 ·6· · · · · ·A.· ·(The witness nodding his head.)

 ·7· · · · · ·Q.· ·And the actual was 12?

 ·8· · · · · ·A.· ·Correct.

 ·9· · · · · ·Q.· ·So in looking at 2014, right, they

 10· · · projected their revenue as 53.1, and their

 11· · · annual was 36.2?· Right?

 12· · · · · ·A.· ·Correct.

 13· · · · · ·Q.· ·And their projected EBITDA was 25.6,

 14· · · and their actual was 12.6?· Right?

 15· · · · · ·A.· ·For which year?

 16· · · · · ·Q.· ·2014.

 17· · · · · ·A.· ·Correct.

 18· · · · · ·Q.· ·So why did you not use -- would you

 19· · · agree with me that those projections were way

 20· · · off --

 21· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 22· · · · · ·You can answer.

 23· · · BY MR. SIEGEL:

 24· · · · · ·Q.· ·-- what they actually -- their

 25· · · actual performance?


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 ·1· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 ·2· · · · · ·You can answer.

 ·3· · · · · ·A.· ·The projections are higher than what

 ·4· · · they actually received.

 ·5· · · BY MR. SIEGEL:

 ·6· · · · · ·Q.· ·Okay.· Why did you not take into

 ·7· · · account those, their track record with those

 ·8· · · projections for purposes of determining

 ·9· · · whether you could rely on their November of

 10· · · 2016 projection?

 11· · · · · ·A.· ·Well, presumably these projections

 12· · · were done in 2012 or early 2013.

 13· · · · · ·Q.· ·Um-hmm.

 14· · · · · ·A.· ·So four or five years prior to the

 15· · · projections done for 2017, and my

 16· · · understanding is that their projections were

 17· · · constantly evolving, improving, getting better

 18· · · at predicting, estimating what is going to

 19· · · happen in the future.· So something done four

 20· · · or five years ago, it absolutely does not seem

 21· · · relevant to what was happening in late 2016

 22· · · when the 2017 projections were done.

 23· · · · · ·Q.· ·Okay.· Actually it wasn't four or

 24· · · five years ago; right?· It was about three or

 25· · · three and a half years before the 2016


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  ·1· · · projection?· Right?

  ·2· · · · · ·A.· ·Three or four years.· Yes.

  ·3· · · · · ·Q.· ·Okay.· And other than that -- we

  ·4· · · have gone over this before, right -- but other

  ·5· · · than the one projection made in November of

  ·6· · · 2015, you don't know what the track record

  ·7· · · between 2013 and 2015 actually was?

  ·8· · · · · ·A.· ·I don't know.· Was it -- I don't

  ·9· · · know if it was done in November of 2015.

  10· · · · · ·Q.· ·I am sorry.· Okay.· The one that was

  11· · · done in 2015 for 2016?· Right?

  12· · · · · ·A.· ·Right.

  13· · · · · ·Q.· ·You don't know what their track

  14· · · record was subsequently to 2013 or in 2014?

  15· · · Right?

  16· · · · · ·A.· ·That's correct.

  17· · · · · ·Q.· ·Okay.· XBT's 2016 projection for

  18· · · 2017, right, if you look at figure 2, right,

  19· · · their EBITDA in 2016 was --

  20· · · · · ·A.· ·Which one is figure 2?· I am sorry.

  21· · · · · ·Q.· ·I am sorry.· Figure 2 of your

  22· · · report.

  23· · · · · ·A.· ·Okay.

  24· · · · · ·Q.· ·Their 2016 EBITDA was roughly 21

  25· · · million, right, 20.9 million?


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  ·1· · · · · ·A.· ·Their actual?

  ·2· · · · · ·Q.· ·Their actual.· Right?

  ·3· · · · · ·A.· ·Yes.

  ·4· · · · · ·Q.· ·And they projected EBITDA for 2017

  ·5· · · was a little over 33 million?

  ·6· · · · · ·A.· ·Yes.

  ·7· · · · · ·Q.· ·Right?

  ·8· · · · · ·A.· ·Yes.

  ·9· · · · · ·Q.· ·So that is an increase of over

  10· · · 50 percent?· Right?· It is actually

  11· · · 60 percent?· Right?

  12· · · · · ·A.· ·Roughly.

  13· · · · · ·Q.· ·Why do you think that was

  14· · · reasonable?

  15· · · · · ·A.· ·Well, because they were moving

  16· · · towards a new model of owning servers,

  17· · · physically own servers as opposed to lease

  18· · · servers, so the margin, the earnings or

  19· · · operating margin collected by the entities

  20· · · leasing the servers would be able to be earned

  21· · · by XBT.

  22· · · · · ·Q.· ·And how did you know they were

  23· · · moving towards that?

  24· · · · · ·A.· ·That was the discussion we had with

  25· · · the client.


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  ·1· · · · · ·Q.· ·Did you ever see any information to

  ·2· · · actually verify whether that was true?

  ·3· · · · · ·A.· ·I believe there were discussions

  ·4· · · with banks regarding this change in model.         I

  ·5· · · don't remember where I saw some documentation

  ·6· · · on it.· But I believe I was shown something to

  ·7· · · indicate that.

  ·8· · · · · ·Q.· ·Well, what were you shown?

  ·9· · · · · ·A.· ·I believe there was discussions

  10· · · about the new model in their projections or

  11· · · annual report provided to financiers.

  12· · · · · ·Q.· ·Okay.· I haven't seen any of that.

  13· · · Did you provide any of that information or

  14· · · cite any of that information in your report?

  15· · · · · ·A.· ·It would either be cited in my

  16· · · documents or it was a discussion.· Again I

  17· · · don't know for sure if I saw a document.

  18· · · · · ·Q.· ·Okay.

  19· · · · · ·A.· ·But I believe I did, but I may not.

  20· · · · · ·Q.· ·The assumption --

  21· · · · · · · · · ·MR. SIEGEL:· Well, strike

  22· · · · · ·that.

  23· · · BY MR. SIEGEL:

  24· · · · · ·Q.· ·XBT's projection, right, was that --

  25· · · their unadjusted projection, not taking into


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  ·1· · · account Methbot, was that their revenue was

  ·2· · · going to grow to 64.2 million, right, in 2017?

  ·3· · · · · ·A.· ·Correct.

  ·4· · · · · ·Q.· ·Okay.· So that would have been an

  ·5· · · increase of ballpark $15 million, right, from

  ·6· · · 2016?

  ·7· · · · · ·A.· ·28 percent.

  ·8· · · · · ·Q.· ·Okay.· But they projected that their

  ·9· · · EBITDA was going to grow by 60 percent?

  10· · · · · ·A.· ·Right.

  11· · · · · ·Q.· ·That is a phenomenal difference in

  12· · · margins?· Right?

  13· · · · · · · · MR. FRAY-WITZER:· Objection.· You

  14· · · can answer.

  15· · · · · ·A.· ·Well, the increase again in margin

  16· · · was due to the change in business model of

  17· · · owning the servers --

  18· · · BY MR. SIEGEL:

  19· · · · · ·Q.· ·Right.

  20· · · · · ·A.· ·-- as opposed to leasing them.

  21· · · · · ·Q.· ·That projects that over

  22· · · three-quarters of their increased revenue will

  23· · · be recognized as actual earnings; right?· For

  24· · · want of a better word, as income?· Right?· As

  25· · · annual income?


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  ·1· · · · · ·A.· ·Well, their EBITDA would be

  ·2· · · 51.9 percent.

  ·3· · · · · ·Q.· ·But my point is that in order to

  ·4· · · achieve that, right, they are going to have

  ·5· · · $15 million more in revenue roughly?

  ·6· · · · · ·A.· ·Um-hmm.

  ·7· · · · · ·Q.· ·And $12 million more in EBITDA?

  ·8· · · Right?

  ·9· · · · · ·A.· ·Correct.

  10· · · · · ·Q.· ·That means that over three-quarters,

  11· · · they are projecting that over three-quarters

  12· · · of their increased revenue will be profit, for

  13· · · want of a better word?· Right?

  14· · · · · ·A.· ·Correct.

  15· · · · · ·Q.· ·Why was that reasonable?

  16· · · · · ·A.· ·Again because of the new model of

  17· · · going to owned servers.· There is economies --

  18· · · there is economies to scale in increasing

  19· · · revenue, having more purchasing power, better

  20· · · access to capital goes.· All of these factor

  21· · · in to increasing your bottom-line margin.

  22· · · · · ·Q.· ·Sure.· But do you have any basis to

  23· · · -- I mean what specific information do you

  24· · · have that leads you to conclude that it would

  25· · · be reasonable for XBT to assume that


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  ·1· · · twelve-fifteenths of their increased revenue

  ·2· · · in 2017 would be profit?

  ·3· · · · · ·A.· ·Based on discussions that I have

  ·4· · · had.

  ·5· · · · · ·Q.· ·And nothing more than that?

  ·6· · · · · ·A.· ·That's, you know, at this point

  ·7· · · that's all I can recall.

  ·8· · · · · ·Q.· ·Okay.· Let's do -- can I have Mishra

  ·9· · · 32?

  10· · · · · · · · · ·MR. SIEGEL:· So we can mark

  11· · · · · ·this as 6.· This was also Mishra

  12· · · · · ·Exhibit 32.

  13· · · · · (Charts marked Exhibit 6 for

  14· · · · · identification.)

  15· · · · · · · · · ·(Handing Exhibit 6 to the

  16· · · · · ·witness.)

  17· · · · · · · · · ·THE WITNESS:· Thank you.

  18· · · BY MR. SIEGEL:

  19· · · · · ·Q.· ·And I will also ask you to take out

  20· · · the big spreadsheet, document 60.

  21· · · · · ·A.· ·Okay.

  22· · · · · · · · · ·(Witness complying.)

  23· · · · · ·Q.· ·And turn to page 4 of -- I am sorry

  24· · · -- page 3 of document Exhibit 6.

  25· · · · · · · · · ·(Witness complying.)


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  ·1· · · · · ·Q.· ·This is at least Mr. Mishra

  ·2· · · testified were their actual 2016 numbers.

  ·3· · · Okay?

  ·4· · · · · ·A.· ·Okay.

  ·5· · · · · ·Q.· ·So if you look at what XBT projected

  ·6· · · for 2016 in document 60, right, and compare it

  ·7· · · to the 2016 monthly actuals, right, it would

  ·8· · · be fair to say, wouldn't it, that for the

  ·9· · · first six months of 2016 the company

  10· · · underperformed their projections?· Right?

  11· · · · · ·A.· ·They were close, but, yes, they were

  12· · · lower.

  13· · · · · ·Q.· ·Well, in January and February they

  14· · · weren't close, were they?· They were a million

  15· · · dollars off?

  16· · · · · ·A.· ·In June they were higher.

  17· · · · · ·Q.· ·Right.· But I am saying -- okay.

  18· · · · · ·A.· ·May they were close.

  19· · · · · ·Q.· ·Well, June they were actually lower?

  20· · · Right?· June was -- their projection was 3.97

  21· · · and the actual is 3.784?

  22· · · · · ·A.· ·Lower.· Yes.

  23· · · · · ·Q.· ·A couple of hundred thousand dollars

  24· · · in June -- I mean in May, right.· Okay.

  25· · · · · · · · But they ended up the year a little


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  ·1· · · bit ahead of their projection?· Right?

  ·2· · · · · ·A.· ·Correct.

  ·3· · · · · ·Q.· ·So what actually happened in 2016

  ·4· · · was they underperformed their projection in

  ·5· · · the first half of the year and overperformed

  ·6· · · it in the second half of the year?· Right?

  ·7· · · · · ·A.· ·They were slightly lower in the

  ·8· · · beginning of the year and higher in the end.

  ·9· · · Yes.

  10· · · · · ·Q.· ·Okay.· Now look at August 2016 and

  11· · · then look at September of 2016.· Do you see

  12· · · that there is roughly a million dollar jump in

  13· · · revenue between August and September of '16?

  14· · · · · ·A.· ·I do.

  15· · · · · ·Q.· ·And then so they moved from roughly

  16· · · 4.2 in August of '16 to 5.1 in September?

  17· · · Right?· And then for the rest of the year,

  18· · · they continued to go a little bit higher into

  19· · · the fives?· Right?

  20· · · · · ·A.· ·Correct.

  21· · · · · ·Q.· ·Okay.· Do you know why their revenue

  22· · · jumped a million dollars between August and

  23· · · September of '16?

  24· · · · · ·A.· ·They brought in new clients?        I

  25· · · don't know the specific reason.


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  ·1· · · · · ·Q.· ·Do you know why?

  ·2· · · · · ·A.· ·I -- like I just said, they brought

  ·3· · · on new clients.

  ·4· · · · · ·Q.· ·Do you know for a fact that they

  ·5· · · did?

  ·6· · · · · ·A.· ·Well, I don't know who they brought

  ·7· · · on.

  ·8· · · · · ·Q.· ·But do you know for a fact that that

  ·9· · · revenue jump occurred because they brought on

  10· · · new clients or are you just assuming that?

  11· · · · · ·A.· ·That's -- that's an assumption.

  12· · · · · ·Q.· ·Okay.· Did you ever ask why their

  13· · · revenue jumped a million dollars in one month

  14· · · and then continued at a higher level or even

  15· · · slightly higher level for the rest of the

  16· · · year?

  17· · · · · ·A.· ·I don't know if I had that specific

  18· · · discussion.

  19· · · · · ·Q.· ·So how -- is it possible that that

  20· · · was simply an anomaly of some kind since you

  21· · · don't know the reason that happened?

  22· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  23· · · · · ·You can answer.

  24· · · · · ·A.· ·Well, an anomaly that it happened in

  25· · · the last four months of the year?


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  ·1· · · BY MR. SIEGEL:

  ·2· · · · · ·Q.· ·Yes.· In other words, what

  ·3· · · information, if any -- in order to assume that

  ·4· · · the company was going to grow another

  ·5· · · 28 percent or 29 percent in 2017, right, the

  ·6· · · assumption is that that growth that had been

  ·7· · · achieved in the last five months or so of 2016

  ·8· · · was going to continue?· Right?· In other

  ·9· · · words, that they would at least sustain and

  10· · · maybe even go slightly higher the levels of

  11· · · revenue that they were realizing in the last

  12· · · few months of 2016?· Right?

  13· · · · · ·A.· ·Right.· I think the plan of the

  14· · · business was to continue to grow.· Yes.

  15· · · · · ·Q.· ·Right.· And how do you know -- what

  16· · · information do you have that that bump was

  17· · · sustainable?

  18· · · · · ·A.· ·There is nothing to indicate it

  19· · · wasn't.· I mean they went from less than three

  20· · · million in the beginning of the year to almost

  21· · · four by the middle of the year --

  22· · · · · ·Q.· ·Right.

  23· · · · · ·A.· ·-- and then five by the end of the

  24· · · year.· It seems like a fairly natural

  25· · · progression.


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  ·1· · · · · ·Q.· ·Well, they went from three to four

  ·2· · · over seven months, right, but they went from

  ·3· · · four to five in one month?· Right?

  ·4· · · · · ·A.· ·Right.

  ·5· · · · · ·Q.· ·You don't think it is relevant at

  ·6· · · all how they achieved 20 percent growth in

  ·7· · · revenue in a single month?

  ·8· · · · · ·A.· ·They were on -- their plan was

  ·9· · · growth.· So, no, I don't think -- I'm not

  10· · · understanding your question.

  11· · · · · ·Q.· ·Well, their plan wasn't necessarily

  12· · · to grow 20 percent in a month; right?· That is

  13· · · a substantial bump, wouldn't you --

  14· · · · · ·A.· ·Their plan was to grow 28 percent

  15· · · over the year.

  16· · · · · ·Q.· ·Right.

  17· · · · · ·A.· ·And they did that.· Or their plan

  18· · · was to grow slightly below 28 percent and they

  19· · · exceeded that.

  20· · · · · ·Q.· ·The plan that happened was there was

  21· · · an increase of 20 percent in one month.· In

  22· · · your view it doesn't matter?· That is

  23· · · completely irrelevant to understand why that

  24· · · happened?

  25· · · · · · · · · ·MR. FRAY-WITZER:· Objection.


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  ·1· · · · · ·You can answer.

  ·2· · · · · ·A.· ·I think we're looking at -- you

  ·3· · · can't see the forest through the trees type of

  ·4· · · things.· There are flows on how clients come

  ·5· · · into any business.· So you may have some

  ·6· · · months where you get a jump --

  ·7· · · · · ·Q.· ·Right.

  ·8· · · · · ·A.· ·-- and then it levels off.· You may

  ·9· · · have some that slightly decline.· But the

  10· · · general plan and trajectory was growth.· They

  11· · · anticipated growth --

  12· · · · · ·Q.· ·Right.

  13· · · · · ·A.· ·-- and they achieved the growth.

  14· · · · · ·Q.· ·You don't know the reason that they

  15· · · achieved $1 million of growth in a single

  16· · · month is because they got more clients?· You

  17· · · just don't know that; right?

  18· · · · · ·A.· ·I would have to assume it is more

  19· · · clients.· I don't know specifically.

  20· · · · · ·Q.· ·If you wanted to figure out what the

  21· · · answer was, how would you go about doing that?

  22· · · If you wanted to empirically determine why

  23· · · their revenue grew by a million dollars in a

  24· · · month, how would you go about doing that?

  25· · · · · ·A.· ·I would have to ask for invoices or


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  ·1· · · ledgers.

  ·2· · · · · ·Q.· ·Right.· So you would have to ask for

  ·3· · · information that would let you know what the,

  ·4· · · you know, who were their customers and what

  ·5· · · was the monthly revenue they got from each

  ·6· · · customer?· Right?

  ·7· · · · · ·A.· ·I would have to get down to a very

  ·8· · · granular -- granular level, yes.

  ·9· · · · · ·Q.· ·Okay.· Fair enough.

  10· · · · · · · · Sitting here today, is it possible

  11· · · that the reason their revenue grew by a

  12· · · million dollars in between August and

  13· · · September of '16 and continued at that level

  14· · · and even higher for the rest of the year was

  15· · · because the statements in the dossier were

  16· · · true?

  17· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  18· · · · · ·A.· ·I'm not understanding.

  19· · · BY MR. SIEGEL:

  20· · · · · ·Q.· ·Well, what did the dossier actually

  21· · · allege about the plaintiffs as you understand

  22· · · it?

  23· · · · · ·A.· ·That they were coerced by the FSB to

  24· · · perpetuate porn sites and bots that would hack

  25· · · into the DNC.


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  ·1· · · · · ·Q.· ·Okay.· And what else did it allege

  ·2· · · that might pertain to the plaintiffs?

  ·3· · · · · ·A.· ·I'm not sure.

  ·4· · · · · ·Q.· ·Okay.· Did you read the portions of

  ·5· · · the dossier that dealt with Michael Cohen?

  ·6· · · · · ·A.· ·I read the whole dossier.

  ·7· · · · · ·Q.· ·You read the whole dossier.· And

  ·8· · · what did it say about Michael Cohen?

  ·9· · · · · ·A.· ·I don't remember.

  10· · · · · ·Q.· ·Really?· You don't remember at all?

  11· · · Right?

  12· · · · · ·A.· ·No.

  13· · · · · ·Q.· ·Didn't it say that Michael Cohen had

  14· · · a meeting in August or September of 2016,

  15· · · right, to discuss how to make payments to

  16· · · people who were involved in these hacking

  17· · · operations?

  18· · · · · ·A.· ·I don't know.

  19· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  20· · · · · ·You can answer.

  21· · · BY MR. SIEGEL:

  22· · · · · ·Q.· ·You don't know?

  23· · · · · ·A.· ·(The witness shaking his head.)

  24· · · · · ·Q.· ·Okay.· Well, if that statement were

  25· · · true, right, if it were true, if the


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  ·1· · · statements in the dossier that Michael Cohen

  ·2· · · arranged for payments to be made to people

  ·3· · · involved in this election interference, if

  ·4· · · that's true, and if it is also true that the

  ·5· · · plaintiffs in this case were in fact involved

  ·6· · · in election interference, isn't it at least

  ·7· · · possible that the reason their revenue jumped

  ·8· · · between August of 2016 -- between August of

  ·9· · · 2016 and September of 2016 is because they got

  10· · · revenue from that?

  11· · · · · · · · · ·MR. FRAY-WITZER:· Objection,

  12· · · · · ·objection.

  13· · · · · ·A.· ·I -- I mean I -- I have no idea.

  14· · · BY MR. SIEGEL:

  15· · · · · ·Q.· ·Okay.· When you wrote your report,

  16· · · your first report in February, did you know

  17· · · anything about Methbot?

  18· · · · · ·A.· ·No.

  19· · · · · ·Q.· ·So how did you come to learn about

  20· · · it?

  21· · · · · ·A.· ·Mr. Raj's deposition and then

  22· · · subsequent conversations.

  23· · · · · ·Q.· ·So did it trouble you?· I take it

  24· · · when you met with Mr. Mishra before you wrote

  25· · · your first report he never said anything about


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  ·1· · · a Methbot customer?

  ·2· · · · · ·A.· ·If he did, I did not hear it.· I --

  ·3· · · yes.· No.

  ·4· · · · · ·Q.· ·Did that trouble you --

  ·5· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·6· · · BY MR. SIEGEL:

  ·7· · · · · ·Q.· ·-- that you hadn't been provided

  ·8· · · with that information?

  ·9· · · · · ·A.· ·Did it trouble me?· I -- no.

  10· · · · · ·Q.· ·It didn't?

  11· · · · · ·A.· ·They didn't believe it was a -- they

  12· · · thought it was a nonissue, Methbot, and so I

  13· · · didn't know about it, and once I found out

  14· · · about it, I supplemented my report.

  15· · · · · ·Q.· ·Well, when you say they believed it

  16· · · was a nonissue, what do you mean?

  17· · · · · ·A.· ·Well, again they had Mr. Charles

  18· · · Dolan, who was their PR firm, who went to look

  19· · · out to see what, if there was any story here,

  20· · · if there was any pickup, any reporting --

  21· · · · · ·Q.· ·Right.

  22· · · · · ·A.· ·-- of Webzilla.

  23· · · · · ·Q.· ·Even with that they estimated they

  24· · · were going to lose about $200,000 a month for

  25· · · up to five to six months?· Right?


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  ·1· · · · · ·A.· ·That was Mr. Mishra's estimate.

  ·2· · · Yes.

  ·3· · · · · ·Q.· ·So it doesn't trouble you that he

  ·4· · · didn't tell you that in February?

  ·5· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·6· · · · · ·You can answer.

  ·7· · · · · ·A.· ·Trouble me?· No.· Once I found out

  ·8· · · the information, I supplemented my report.

  ·9· · · There is a lot of moving pieces.

  10· · · BY MR. SIEGEL:

  11· · · · · ·Q.· ·Okay.· Now you -- we talked about

  12· · · this before -- but you came up with your

  13· · · adjustment, right, by taking the six months

  14· · · that the customer had -- the last six months

  15· · · of 2016, right, what the customer paid?

  16· · · Right?

  17· · · · · ·A.· ·And removing that from the 2017

  18· · · projections.

  19· · · · · ·Q.· ·Correct.· But weren't the 2017

  20· · · projections assuming that 2016 revenue would

  21· · · grow by 30 percent?

  22· · · · · ·A.· ·I believe it was 28 percent.

  23· · · · · ·Q.· ·28 percent.· That's fine.

  24· · · · · · · · So why wouldn't it have been six

  25· · · months plus 28 percent?


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  ·1· · · · · ·A.· ·I'm sorry?· I am not understanding.

  ·2· · · · · ·Q.· ·Well, if you are assuming -- if --

  ·3· · · if Methbot's -- I am sorry -- if XBT's

  ·4· · · projection, right, is based on the assumption

  ·5· · · that they are taking their 2016 revenue?

  ·6· · · · · ·A.· ·Um-hmm.

  ·7· · · · · ·Q.· ·Okay?· And they are going to grow it

  ·8· · · by 28 percent?· Right?

  ·9· · · · · ·A.· ·Um-hmm.

  10· · · · · ·Q.· ·If they are losing 1.3 whatever of

  11· · · their 2016 revenue, wouldn't you need to add

  12· · · 28 percent to that to back that out of the

  13· · · 2017 estimate?

  14· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  15· · · · · ·You can answer.

  16· · · BY MR. SIEGEL:

  17· · · · · ·Q.· ·Do you understand what I am saying?

  18· · · · · ·A.· ·I think I understand what you are

  19· · · saying, but I -- the logic behind it, I'm not

  20· · · following.

  21· · · · · ·Q.· ·Well, okay.· XBT estimated that they

  22· · · were going to grow 28 percent in November of

  23· · · 2016?· Right?

  24· · · · · ·A.· ·(The witness nodding his head.)

  25· · · · · ·Q.· ·But the 28 percent base -- the base


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  ·1· · · from which they were going to grow 28 percent

  ·2· · · included the Methbot customer?· Right?

  ·3· · · · · ·A.· ·Correct.

  ·4· · · · · ·Q.· ·Okay.· So if you back out the

  ·5· · · Methbot customer, it is not 28 percent

  ·6· · · anymore?· It is more than 28 percent?· Right?

  ·7· · · It is more like 30 percent that they are going

  ·8· · · to have to grow once they lose the Methbot

  ·9· · · customer in order to achieve their targets?

  10· · · · · ·A.· ·So they -- but this is why I backed

  11· · · out the six months --

  12· · · · · ·Q.· ·Right.

  13· · · · · ·A.· ·-- which was the time frame that

  14· · · they anticipated based on the past.

  15· · · · · ·Q.· ·Well, wouldn't it be -- if you

  16· · · backed out six months of 2016 revenue, right,

  17· · · and you applied the 2016 revenue to 2017, but

  18· · · if the 2017 --

  19· · · · · ·A.· ·I am sorry.· I didn't follow that.

  20· · · · · ·Q.· ·Okay.· You determined that the

  21· · · Methbot customer had paid 1.3 million and

  22· · · change in the last six months of 2016.· Right?

  23· · · · · ·A.· ·Correct.

  24· · · · · ·Q.· ·And you deducted that from their

  25· · · 2017 -- their projection for 2017?


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  ·1· · · · · ·A.· ·Correct.

  ·2· · · · · ·Q.· ·But their projection for 2017,

  ·3· · · right, assumed that their revenue stream in

  ·4· · · 2016 would grow by 28 percent?· Right?

  ·5· · · · · ·A.· ·Correct.

  ·6· · · · · ·Q.· ·So if you are going to try to assess

  ·7· · · the impact of losing a customer worth 1.3

  ·8· · · million in 2016 dollars, right, wouldn't you

  ·9· · · need to add --

  10· · · · · ·A.· ·What do you need to --

  11· · · · · · · · · ·MR. FRAY-WITZER:· Wait.

  12· · · BY MR. SIEGEL:

  13· · · · · ·Q.· ·Well, if you are going to back

  14· · · out --

  15· · · · · ·A.· ·Yes.

  16· · · · · ·Q.· ·-- from a projection --

  17· · · · · ·A.· ·Um-hum.

  18· · · · · ·Q.· ·-- for 2017, okay, the loss of a

  19· · · customer that had paid 1.3 million in 2016 --

  20· · · · · ·A.· ·Um-hmm.

  21· · · · · ·Q.· ·-- wouldn't you need to add

  22· · · 28 percent to that figure?· Because the

  23· · · assumption for 2017 is all of the revenue that

  24· · · they have collected in 2016 is going to grow

  25· · · by 28 percent?


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  ·1· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·2· · · · · ·A.· ·No.· Because we backed out those

  ·3· · · revenues.· It was anticipated that those would

  ·4· · · be filled within a six-month period.· They

  ·5· · · would refill those server places, release

  ·6· · · them, and then the growth would continue.

  ·7· · · BY MR. SIEGEL:

  ·8· · · · · ·Q.· ·But there is no anticipation that --

  ·9· · · but wouldn't the assumption be that they would

  10· · · get more revenue from doing that?· In other

  11· · · words, if they are assuming that they are

  12· · · going to get 28 percent more revenue in 2017

  13· · · than 2016, if all of a sudden it turns out

  14· · · that some of their 2016 revenue has

  15· · · disappeared, you don't think that you need to

  16· · · add 28 percent to back it out from 2017?

  17· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  18· · · · · ·You can answer.

  19· · · · · ·A.· ·I -- again I'm not -- I'm not

  20· · · following the logic.· And no.· We -- they

  21· · · assumed they were going to get 28 percent

  22· · · revenue growth in 2017.· We said no, it is

  23· · · going to be 26 percent, because we are going

  24· · · to back out the 1.3 and change million.

  25· · · · · · · · And so those places would be filled


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  ·1· · · by the time that six-month period that we

  ·2· · · backed those numbers out, maybe sooner, would

  ·3· · · have been refilled, and then they would have

  ·4· · · continued on to their projections.

  ·5· · · · · · · · So adding 28 percent on top of that,

  ·6· · · I am sorry, but I do not follow the logic on

  ·7· · · that.

  ·8· · · · · ·Q.· ·Okay.· I will ask it to you another

  ·9· · · way.

  10· · · · · · · · The total amount that they collected

  11· · · in 2016 from the Methbot customer was around

  12· · · 2.2 million.· Right?

  13· · · · · ·A.· ·Well, less than that -- well, yes,

  14· · · roughly.

  15· · · · · ·Q.· ·Okay.· So if you backed out the --

  16· · · if you didn't -- if you backed out the Methbot

  17· · · customer from 2016, their revenue would have

  18· · · been 47.5?· Right?· Not 49.7?

  19· · · · · ·A.· ·But there would be no reason to back

  20· · · out the alleged Methbot customer in 2016,

  21· · · because if they hadn't signed --

  22· · · · · ·Q.· ·Right.

  23· · · · · ·A.· ·-- the alleged Methbot customer,

  24· · · then they would have signed someone else to

  25· · · take that place.


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  ·1· · · · · ·Q.· ·How do you know that?

  ·2· · · · · ·A.· ·That's the business model.· Again

  ·3· · · they get -- line up the financing, find the

  ·4· · · client, put them in on the server, so.

  ·5· · · · · ·Q.· ·But couldn't they have -- wouldn't

  ·6· · · they have found -- it wasn't like they got a

  ·7· · · Methbot customer so they said, okay, we're not

  ·8· · · getting any more customers; right?· In 2016 or

  ·9· · · in any year they are trying to get as many

  10· · · customers as they can?· Right?

  11· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  12· · · · · ·You can answer.

  13· · · · · ·A.· ·My understanding is that they are,

  14· · · you know, one of the -- the what slows down

  15· · · the process, the bottleneck, if you will, is

  16· · · the ability to have -- it is a financing

  17· · · issue.· It is having the financing to then get

  18· · · the equipment to then have the clients come to

  19· · · you.

  20· · · · · · · · So it is not necessarily -- just

  21· · · because -- there is a limit to that financing

  22· · · that they can achieve based on historical

  23· · · operations and projections.

  24· · · · · · · · And so I don't agree with the

  25· · · assertion that they could have had the


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  ·1· · · replacement for Methbot in 2016 and Methbot.

  ·2· · · I don't necessarily agree with that assertion.

  ·3· · · · · ·Q.· ·So are you saying that they were at

  ·4· · · 100 percent capacity when they had the Methbot

  ·5· · · customer?

  ·6· · · · · ·A.· ·I don't know what capacity they were

  ·7· · · at.

  ·8· · · · · ·Q.· ·You don't know.· Okay.· Okay.

  ·9· · · · · · · · Now in November of 2016, right, the

  10· · · company had $5.3 million in revenue?· Right?

  11· · · · · ·A.· ·Roughly, yes.

  12· · · · · ·Q.· ·And in November of '16, November of

  13· · · 2016, $400,000 of that came from the Methbot

  14· · · customer?· Right?

  15· · · · · ·A.· ·Just under 400,000, yes.

  16· · · · · ·Q.· ·Okay.· That is over 7 percent of the

  17· · · company's total revenue for that month was

  18· · · coming from the Methbot customer?

  19· · · · · ·A.· ·Approximately.

  20· · · · · ·Q.· ·That's a lot, isn't it?

  21· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  22· · · · · ·A.· ·I don't know.

  23· · · BY MR. SIEGEL:

  24· · · · · ·Q.· ·How do you know that that customer

  25· · · was the only customer that may have been


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  ·1· · · involved in Methbot?

  ·2· · · · · ·A.· ·I -- I don't -- I don't know.

  ·3· · · · · ·Q.· ·So is it possible that there were

  ·4· · · other customers that left as a result of the

  ·5· · · exposure of Methbot?

  ·6· · · · · ·A.· ·I have --

  ·7· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·8· · · · · ·You can answer.

  ·9· · · · · ·A.· ·I have no idea.

  10· · · BY MR. SIEGEL:

  11· · · · · ·Q.· ·You have no idea?

  12· · · · · ·A.· ·I don't know.

  13· · · · · ·Q.· ·Okay.· You didn't try to find out,

  14· · · did you?

  15· · · · · ·A.· ·I do not know if there is a

  16· · · possibility.· I suppose anything is possible.

  17· · · · · ·Q.· ·Right.

  18· · · · · ·A.· ·But I don't know.

  19· · · · · ·Q.· ·So you don't actually know whether

  20· · · the only losses that the company experienced

  21· · · in 2017 as a result of the exposure of

  22· · · Methbot, right, was the loss of that single

  23· · · customer?

  24· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  25· · · · · ·You can answer.


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  ·1· · · · · ·A.· ·I was provided with the customer

  ·2· · · involved in the allegations, and so I have no

  ·3· · · reason to believe this information is not

  ·4· · · accurate.

  ·5· · · BY MR. SIEGEL:

  ·6· · · · · ·Q.· ·Well, but wouldn't it be -- you

  ·7· · · don't know that XBT knows?· Right?· In other

  ·8· · · words, there was -- they -- White OPS exposed

  ·9· · · some Methbot activity?· Right?

  10· · · · · ·A.· ·Correct.

  11· · · · · ·Q.· ·Alleged Methbot activity?

  12· · · · · ·A.· ·Correct.

  13· · · · · ·Q.· ·But there may have been other

  14· · · Methbot activity White OPS didn't discover;

  15· · · right?

  16· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  17· · · BY MR. SIEGEL:

  18· · · · · ·Q.· ·White OPS didn't purport to say this

  19· · · is 100 percent of all activity involved in

  20· · · this alleged fraud?

  21· · · · · ·A.· ·I have no idea if there was anything

  22· · · else.

  23· · · · · ·Q.· ·Okay.· Let's go to page 11 of your

  24· · · report.

  25· · · · · · · · · ·(Witness complying.)


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  ·1· · · · · ·Q.· ·"In order to account for the loss of

  ·2· · · the Methbot customer" you said at the top of

  ·3· · · page 11:· "We backed out this amount from

  ·4· · · XBT's revenue projections" -- meaning the

  ·5· · · amount of the six months of revenue?

  ·6· · · · · ·A.· ·Correct.

  ·7· · · · · ·Q.· ·-- "and reduced their projected

  ·8· · · EBITDA by the same proportion as the reduction

  ·9· · · in revenue."

  10· · · · · · · · Why would you reduce their EBITDA by

  11· · · that -- by the same proportion?

  12· · · · · ·A.· ·To address any direct costs

  13· · · associated with it.

  14· · · · · ·Q.· ·But wasn't the point of the loss of

  15· · · the Methbot customer that the company was

  16· · · going to continue to incur those costs, at

  17· · · least for a while?

  18· · · · · ·A.· ·Until they could replace them with

  19· · · someone else.

  20· · · · · ·Q.· ·Right.· So the loss of the revenue

  21· · · would not have been offset by an immediate

  22· · · proportional reduction in cost?· Right?

  23· · · · · ·A.· ·There could have been other costs

  24· · · associated with it, though, that were not

  25· · · incurred.


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  ·1· · · · · ·Q.· ·You don't know that?· Right?

  ·2· · · · · ·A.· ·It is an assumption that --

  ·3· · · · · ·Q.· ·Right.

  ·4· · · · · ·A.· ·-- the EBITDA would have declined at

  ·5· · · the same rate as the revenue.

  ·6· · · · · ·Q.· ·But knowing the actual circumstances

  ·7· · · of this situation, right, the company had a

  ·8· · · certain amount of fixed costs, right, that

  ·9· · · were -- that it had incurred as a result of

  10· · · having this customer.· When the customer left,

  11· · · the revenue disappeared.· But those server

  12· · · costs didn't disappear?· Right?

  13· · · · · ·A.· ·Yes, I don't know if any or all did

  14· · · or did not disappear.

  15· · · · · ·Q.· ·Well, you just said that it would

  16· · · take at least five to six months to release

  17· · · all of those servers, right, so there was at

  18· · · least some time when the server costs did not

  19· · · appear -- when they were continuing to incur

  20· · · all of the costs or almost all of the costs

  21· · · that were associated with the Methbot customer

  22· · · even though they weren't realizing any

  23· · · revenue?

  24· · · · · ·A.· ·But I don't know how the financing

  25· · · on that works, if it -- I don't know how that


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  ·1· · · carries over.

  ·2· · · · · ·Q.· ·So if you don't know, what basis do

  ·3· · · you have to assume that the cost reduction

  ·4· · · would have been proportional to the revenue

  ·5· · · loss?

  ·6· · · · · ·A.· ·Well, again it was a straight line.

  ·7· · · I assumed that the reduction in revenue would

  ·8· · · be the same as the reduction in EBITDA.

  ·9· · · · · ·Q.· ·Okay.

  10· · · · · · · · · ·MR. FRAY-WITZER:· Nathan,

  11· · · · · ·just so you know, lunch is ready

  12· · · · · ·whenever you would like to break.

  13· · · · · · · · · ·MR. SIEGEL:· Okay.· Let me

  14· · · · · ·just ask a couple more questions,

  15· · · · · ·and then we are at a good break.

  16· · · BY MR. SIEGEL:

  17· · · · · ·Q.· ·When you learned about the Methbot

  18· · · customer, right, did you consider whether

  19· · · there might be other things that might have

  20· · · affected the accuracy of XBT's projections

  21· · · other than the dossier that you didn't know

  22· · · about?

  23· · · · · ·A.· ·I'm not sure what you mean.

  24· · · · · ·Q.· ·Well, okay.· Fair enough.· That was

  25· · · a convoluted question.


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  ·1· · · · · · · · And so after reading Mishra's

  ·2· · · deposition, you learned that there was a

  ·3· · · Methbot customer issue?· Right?

  ·4· · · · · ·A.· ·Correct.

  ·5· · · · · ·Q.· ·And that that issue was something

  ·6· · · that should be taken into account in

  ·7· · · recalculating the 2017 projections?· Right?

  ·8· · · · · ·A.· ·Correct.

  ·9· · · · · ·Q.· ·Did you consider, okay, I didn't

  10· · · know about the Methbot customer; are there any

  11· · · other issues that I didn't know about that

  12· · · might affect the accuracy of those

  13· · · projections?

  14· · · · · ·A.· ·Sure.· I asked if there was anything

  15· · · else, and they said no.

  16· · · · · ·Q.· ·Okay.· So tell me what you asked.

  17· · · · · ·A.· ·I said, "What was the impact of

  18· · · Methbot?" and "Is there anything else?"

  19· · · · · ·Q.· ·Anything else?· I'm not sure what

  20· · · you mean by anything else.

  21· · · · · ·A.· ·Anything else that would impact the

  22· · · accuracy of the projections.

  23· · · · · ·Q.· ·Okay.· And they said no?

  24· · · · · ·A.· ·They said there was the Methbot

  25· · · client.


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  ·1· · · · · ·Q.· ·And you just took that on faith?

  ·2· · · · · ·A.· ·I accepted that.

  ·3· · · · · ·Q.· ·Okay.· Okay.· And I take it in the

  ·4· · · course of your preparing this expert report

  ·5· · · other than the, you know, the information they

  ·6· · · provided you, you didn't actually conduct an

  ·7· · · inspection of their ledgers or other books and

  ·8· · · records?

  ·9· · · · · ·A.· ·No, I did not.

  10· · · · · ·Q.· ·Okay.

  11· · · · · · · · · ·MR. SIEGEL:· This is a good

  12· · · · · ·break point.

  13· · · · · · · · · ·MR. FRAY-WITZER:· Okay.

  14· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  15· · · · · ·is 12:39.· We are off the record.

  16· · · · · · · · · ·(Luncheon recess taken at

  17· · · · · ·12:39 p.m.)

  18

  19

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  ·1· · · · · · ·A F T E R N O O N· ·S E S S I O N

  ·2· · · · · · · · · · · 1 : 2 6· ·P. M.

  ·3· · · · · · · · · · · · · ·- - -

  ·4· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  ·5· · · · · ·is 1:26.· We are back on the record.

  ·6· · · BY MR. SIEGEL:

  ·7· · · · · ·Q.· ·Do you know whether XBT or any of

  ·8· · · its subsidiaries made any changes in their

  ·9· · · procedures for screening clients as a result

  10· · · of Methbot?

  11· · · · · ·A.· ·I don't know.

  12· · · · · ·Q.· ·Well, are you aware that they at

  13· · · least have asserted that, for example, they

  14· · · would have a new policy not to announce

  15· · · external or internal customer IP blocs within

  16· · · their networks without deep KYC of their

  17· · · clients?· Is that something you have ever

  18· · · heard before?

  19· · · · · ·A.· ·No.

  20· · · · · ·Q.· ·So if the company was tightening up

  21· · · its procedures on screening new clients, is it

  22· · · possible that that could have affected their

  23· · · ability to grow more customers?

  24· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  25· · · · · ·A.· ·Without further information, I


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  ·1· · · wouldn't know the answer to that.

  ·2· · · BY MR. SIEGEL:

  ·3· · · · · ·Q.· ·Okay.· I take it you don't know for

  ·4· · · a fact whether it did or it didn't, in other

  ·5· · · words, whether the fact that they say that

  ·6· · · they increased their know-your-client scrutiny

  ·7· · · meant that they may have lost some clients as

  ·8· · · a result?

  ·9· · · · · ·A.· ·I don't know.

  10· · · · · ·Q.· ·Okay.· What is your basis for

  11· · · assuming that setting aside the loss of the

  12· · · Methbot customer the sole reason that XBT did

  13· · · not hit its adjusted projections for 2017 was

  14· · · the publication of the dossier by BuzzFeed?

  15· · · · · ·A.· ·The timing of the decline in

  16· · · revenues and earnings.

  17· · · · · ·Q.· ·Okay.· What qualifications do you

  18· · · have to make the judgment that that

  19· · · publication caused what you say is decline in

  20· · · revenue and earnings?

  21· · · · · ·A.· ·It's an assumption made in my

  22· · · analysis that the dossier is the reason for

  23· · · the decline in earnings.

  24· · · · · ·Q.· ·Okay.· And what is the basis for

  25· · · that assumption?


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  ·1· · · · · ·A.· ·Discussions with counsel, again the

  ·2· · · timing of the event, time of the release of

  ·3· · · the dossier and the subsequent decline in

  ·4· · · revenue and earnings.

  ·5· · · · · ·Q.· ·Nothing other than that?

  ·6· · · · · ·A.· ·Off the top of my head, I don't

  ·7· · · know.

  ·8· · · · · ·Q.· ·Let's look at your supplemental

  ·9· · · report.

  10· · · · · · · · · ·(Witness complying.)

  11· · · · · ·Q.· ·On page 6, looking at the

  12· · · second-to-last paragraph.· The second sentence

  13· · · says:

  14· · · · · · · · "As a result of the BuzzFeed

  15· · · publication, Mr. Gubarev has, quote, 'found

  16· · · his personal and professional reputation in

  17· · · tatters.'"

  18· · · · · · · · I understand from what we were

  19· · · saying before is you are not actually

  20· · · providing expert testimony about Mr. Gubarev's

  21· · · personal reputation?· Is that right?

  22· · · · · ·A.· ·That's correct.

  23· · · · · ·Q.· ·The basis for that statement that

  24· · · you cite is the complaint in this case?

  25· · · Right?


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  ·1· · · · · ·A.· ·That's correct.

  ·2· · · · · ·Q.· ·So did you just assume that

  ·3· · · everything that is alleged in the complaint is

  ·4· · · true?

  ·5· · · · · ·A.· ·I assumed this statement from the

  ·6· · · complaint was true.

  ·7· · · · · ·Q.· ·And why did you assume that was

  ·8· · · true?

  ·9· · · · · ·A.· ·No reason to believe it wasn't true.

  10· · · · · ·Q.· ·Are there other statements in the

  11· · · complaint that you have reason to believe are

  12· · · not true?

  13· · · · · ·A.· ·Not that I can think of right now.

  14· · · · · ·Q.· ·The next sentence says:

  15· · · · · · · · "Bot XBT and Webzilla have suffered

  16· · · and continue to suffer economic losses due to

  17· · · their now tarnished reputations."

  18· · · · · · · · And again you cite the complaint.

  19· · · · · · · · Is there anything else other than

  20· · · what you have testified so far that leads you

  21· · · to conclude that XBT and Webzilla have

  22· · · suffered and continue to suffer major economic

  23· · · losses due to BuzzFeed's publication?

  24· · · · · ·A.· ·Other than what is in my report and

  25· · · what we have discussed, I don't believe so.


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  ·1· · · · · ·Q.· ·Okay.· The next sentence says that:

  ·2· · · · · · · · "XBT suffered increased bank

  ·3· · · scrutiny following the publication of the

  ·4· · · dossier.· Their bank accounts in multiple

  ·5· · · countries were frozen and banks threatened to

  ·6· · · close their accounts altogether."

  ·7· · · · · · · · And you cite a conversation with

  ·8· · · Mr. Mishra.· Right?

  ·9· · · · · ·A.· ·That's correct.

  10· · · · · ·Q.· ·Do you have any other evidence that

  11· · · their banks in multiple countries were frozen

  12· · · and banks threatened to close their accounts

  13· · · altogether?

  14· · · · · ·A.· ·Other than what is described in my

  15· · · report, cited to in my report, no.

  16· · · · · ·Q.· ·Do you know whether any of those

  17· · · accounts were actually ever closed?

  18· · · · · ·A.· ·Again all I know is what I was told,

  19· · · what we discussed, based on the information I

  20· · · reviewed, that's what I know.

  21· · · · · ·Q.· ·So the answer to my question is no,

  22· · · you don't know whether any of the company's

  23· · · bank accounts were ever actually closed?

  24· · · · · ·A.· ·Well, frozen was the word that I

  25· · · used.· I don't know about closed.


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  ·1· · · · · ·Q.· ·Well, you said that they threatened

  ·2· · · to close.· But do you know whether they -- put

  ·3· · · it this way.· Do you know whether those bank

  ·4· · · accounts were unfrozen?

  ·5· · · · · ·A.· ·I don't know.

  ·6· · · · · ·Q.· ·And I take it you didn't ask

  ·7· · · Mr. Mishra?

  ·8· · · · · ·A.· ·I believe we had a general

  ·9· · · discussion about that.· I don't remember if

  10· · · that specific topic came up.

  11· · · · · ·Q.· ·And the next sentence says:

  12· · · · · · · · "Banks threatened to close their

  13· · · accounts altogether."

  14· · · · · · · · But you don't know whether any of

  15· · · those accounts were actually closed

  16· · · altogether?

  17· · · · · ·A.· ·I do not.

  18· · · · · ·Q.· ·Okay.· You then say:

  19· · · · · · · · "The banks dramatically increased

  20· · · their scrutiny on potential new clients.· They

  21· · · needed much more in-depth information about

  22· · · the company and how it gets money."

  23· · · · · · · · Just leaving that right there, what

  24· · · is your basis for that statement?

  25· · · · · ·A.· ·The email from ABN AMRO.


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  ·1· · · · · ·Q.· ·Okay.· Which just asked for more

  ·2· · · information?· Right?

  ·3· · · · · ·A.· ·A lot of information, yes.

  ·4· · · · · ·Q.· ·And how does asking for more

  ·5· · · information correlate to a loss in revenue?

  ·6· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·7· · · · · ·You can answer.

  ·8· · · · · ·A.· ·The -- it is an extra hurdle put in

  ·9· · · place.· If, you know, hypothetically, if you

  10· · · have a situation where you have a line of

  11· · · credit, a relationship with a bank --

  12· · · BY MR. SIEGEL:

  13· · · · · ·Q.· ·Right.

  14· · · · · ·A.· ·-- you say I am bringing on a new

  15· · · client, I need X amount of loan to get

  16· · · equipment.· The, you know, the past history

  17· · · with them has been okay, or show me the

  18· · · projections, whatever the case may be, a

  19· · · fairly simple process streamlined.

  20· · · · · · · · Then having that streamlined process

  21· · · disrupted and now having to find detailed

  22· · · information to numerous questions, I mean it

  23· · · is only going to slow down that process, which

  24· · · slowing down the ability to get financing

  25· · · would have a negative impact on the business.


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  ·1· · · · · ·Q.· ·Okay.· Do you have any idea how long

  ·2· · · -- let's go to document 67.

  ·3· · · · · · · · · ·MR. SIEGEL:· Let's show him

  ·4· · · · · ·this.· Or I will just show him the

  ·5· · · · · ·report.· Wait a sec.· Apparently

  ·6· · · · · ·this is one we forgot to run off.

  ·7· · · · · · · · · ·MR. FRAY-WITZER:· Nathan, do

  ·8· · · · · ·you need me to make copies of

  ·9· · · · · ·something?

  10· · · · · · · · · ·MR. SIEGEL:· Yes.· That would

  11· · · · · ·be appreciated.

  12· · · · · · · · · ·MR. FRAY-WITZER:· Why don't

  13· · · · · ·we go off the record for a moment.

  14· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  15· · · · · ·is 1:35.· We are off the record.

  16· · · · · · · · · ·(Recess taken at 1:35 p.m.)

  17· · · · · · · · · ·(Recess ended at 1:39 p.m.)

  18· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  19· · · · · ·is 1:39.· We are back on the record.

  20· · · BY MR. SIEGEL:

  21· · · · · ·Q.· ·Okay.· I am showing you Exhibit 7.

  22· · · · · (Three-page e-mail, bearing

  23· · · · · production numbers P-A 000734 through

  24· · · · · P-A 000736 marked Exhibit 7 for

  25· · · · · identification.)


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  ·1· · · · · · · · · ·(Handing Exhibit 7 to the

  ·2· · · · · ·witness.)

  ·3· · · BY MR. SIEGEL:

  ·4· · · · · ·Q.· ·Which you cite as document 67 in

  ·5· · · your report.

  ·6· · · · · ·A.· ·Yes.

  ·7· · · · · ·Q.· ·So is this your sole source of

  ·8· · · information that banks increased their

  ·9· · · scrutiny on these companies?

  10· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  11· · · · · ·A.· ·Aside from conversations I had with

  12· · · the company.

  13· · · BY MR. SIEGEL:

  14· · · · · ·Q.· ·So this is the only documentation

  15· · · that you have seen to substantiate that

  16· · · assertion?

  17· · · · · ·A.· ·I believe so.

  18· · · · · ·Q.· ·Do you know whether Webzilla

  19· · · continued to receive financing or whatever

  20· · · other services they got from ABN AMRO?

  21· · · · · ·A.· ·I don't know.

  22· · · · · ·Q.· ·You don't know?

  23· · · · · ·A.· ·(The witness shaking his head.)

  24· · · · · ·Q.· ·All you have here is an email from

  25· · · January 31, 2018?· Right?· Do you know if


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  ·1· · · Webzilla provided the information that ABN

  ·2· · · AMRO was asking for?

  ·3· · · · · ·A.· ·I don't know.

  ·4· · · · · ·Q.· ·So I take it you also don't know if

  ·5· · · they did provide it how quickly they provided

  ·6· · · it?

  ·7· · · · · ·A.· ·I don't know.

  ·8· · · · · ·Q.· ·Okay.· You make the assertion that:

  ·9· · · · · · · · "The banks dramatically increased

  10· · · their scrutiny driving away many clients in

  11· · · the process."

  12· · · · · · · · Right?· And by clients, you mean XBT

  13· · · clients?· Is that what you mean?

  14· · · · · ·A.· ·Clients of the entire company, yes.

  15· · · · · ·Q.· ·Okay.· Not of the banks?· Of the --

  16· · · · · ·A.· ·Plaintiffs here.

  17· · · · · ·Q.· ·Plaintiff companies.· Okay.

  18· · · · · · · · What evidence do you have that

  19· · · clients were driven away by any additional

  20· · · scrutiny that banks imposed on the companies,

  21· · · the plaintiff companies?

  22· · · · · ·A.· ·Well, again it was the discussions

  23· · · with the company.· It goes back to the whole

  24· · · need to have the financing to then get the

  25· · · servers to have the clients.· So that is my


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  ·1· · · understanding of the issue that occurred when

  ·2· · · it came to financiers such as ABN AMRO.

  ·3· · · · · ·Q.· ·So how were clients driven away, as

  ·4· · · you understand it?

  ·5· · · · · ·A.· ·Well, if you don't have the product

  ·6· · · or service to provide, then presumably a

  ·7· · · client can go elsewhere then.

  ·8· · · · · ·Q.· ·Okay.· And you don't know whether --

  ·9· · · how quickly Webzilla may have gotten financing

  10· · · from ABN AMRO?· Right?

  11· · · · · ·A.· ·I don't know.

  12· · · · · ·Q.· ·Okay.· Did you ever ask?

  13· · · · · ·A.· ·It may have been part of a general

  14· · · discussion.· I don't remember.

  15· · · · · ·Q.· ·And you don't think that that is

  16· · · information that would be relevant to know?

  17· · · · · ·A.· ·I mean I asked what were the issues

  18· · · with banks, financiers.

  19· · · · · ·Q.· ·Right.

  20· · · · · ·A.· ·And what can you show me that shows

  21· · · there was that issue, and this was a document

  22· · · that I was provided with.

  23· · · · · ·Q.· ·And do you have any information as

  24· · · to over what time period this scrutiny that

  25· · · you are discussing occurred?


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  ·1· · · · · ·A.· ·I don't know the exact dates.

  ·2· · · · · ·Q.· ·Do you know whether it stopped, in

  ·3· · · other words, whether this increased scrutiny

  ·4· · · stopped at some point?

  ·5· · · · · ·A.· ·I think with some financiers, it

  ·6· · · stopped at some point, months later.· With

  ·7· · · others, it may not -- they may never have, you

  ·8· · · know, regained that relationship.

  ·9· · · · · ·Q.· ·But you don't know?· You don't know

  10· · · the answer to either of those questions, do

  11· · · you?

  12· · · · · ·A.· ·Again this is based on conversations

  13· · · I have had, so I don't have a document that

  14· · · says it, but that's my understanding.

  15· · · · · ·Q.· ·Okay.· Do you have any understanding

  16· · · as to whether it may have been as quickly as a

  17· · · month that their relationships with these

  18· · · banks resumed?

  19· · · · · ·A.· ·It could have been, but I don't know

  20· · · the exact timing.

  21· · · · · ·Q.· ·It is kind of like applying for a

  22· · · mortgage?· Right?· You apply for a mortgage,

  23· · · and the bank comes back and says, "Look, we

  24· · · want some more information"?· Right?

  25· · · · · · · · · ·MR. FRAY-WITZER:· Objection.


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  ·1· · · BY MR. SIEGEL:

  ·2· · · · · ·Q.· ·So it may take you a little longer

  ·3· · · to get your house as a result, right, than

  ·4· · · what you expected?

  ·5· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·6· · · BY MR. SIEGEL:

  ·7· · · · · ·Q.· ·If you provide the bank the

  ·8· · · information, the bank ultimately approves it?

  ·9· · · Right?

  10· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  11· · · · · ·A.· ·What was the question?

  12· · · BY MR. SIEGEL:

  13· · · · · ·Q.· ·Well, you know, I apply for a

  14· · · mortgage.· Right?

  15· · · · · ·A.· ·Okay.

  16· · · · · ·Q.· ·And the bank comes back and says,

  17· · · "You know what?· We need some more

  18· · · information."

  19· · · · · ·A.· ·Okay.

  20· · · · · ·Q.· ·So I get them that information and

  21· · · they ultimately approve the loan.· Right?

  22· · · · · ·A.· ·Um-hmm.

  23· · · · · ·Q.· ·So I moved into my house maybe a

  24· · · week or two later but I ultimately have the

  25· · · house.· Right?


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  ·1· · · · · ·A.· ·Okay.

  ·2· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·3· · · BY MR. SIEGEL:

  ·4· · · · · ·Q.· ·And then I move on.

  ·5· · · · · · · · So how does whatever scrutiny you

  ·6· · · understand the company might have experienced

  ·7· · · in January and/or February of 2018 -- 2017,

  ·8· · · sorry, how does that translate into permanent

  ·9· · · revenue loss?

  10· · · · · ·A.· ·I mean this email is from more than

  11· · · a year later.

  12· · · · · ·Q.· ·What is that?

  13· · · · · ·A.· ·This email is from more than a year

  14· · · later.· So more than a year later they still

  15· · · have the increased hurdles to meet.

  16· · · · · ·Q.· ·Okay.· Do you have any idea whether

  17· · · this email is typical of what they were

  18· · · experiencing more than a year later?

  19· · · · · ·A.· ·My understanding is that this is not

  20· · · typical.· This is as a result of the

  21· · · difficulties --

  22· · · · · ·Q.· ·I don't mean that.· Whether this is

  23· · · typical of all of their relationships with

  24· · · sources of finance --

  25· · · · · ·A.· ·I --


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  ·1· · · · · ·Q.· ·-- as of January of 2018?

  ·2· · · · · ·A.· ·My understanding was that this was

  ·3· · · -- this was not the case prior to the release

  ·4· · · of the dossier.

  ·5· · · · · ·Q.· ·No, no, no.· I'm not saying that.         I

  ·6· · · am saying do you have any understanding

  ·7· · · whether as of January 2018 --

  ·8· · · · · ·A.· ·Um-hmm.

  ·9· · · · · ·Q.· ·-- right, the kinds of questions

  10· · · that are being asked in this email are typical

  11· · · of the same scrutiny being applied by

  12· · · Webzilla's other sources of finance.

  13· · · · · ·A.· ·Yeah, I don't know.

  14· · · · · ·Q.· ·You don't know.· Okay.

  15· · · · · · · · Let me -- right.· These -- this

  16· · · particular email, right, relates to financing

  17· · · for Webzilla BV?· Right?

  18· · · · · · · · · ·(Pause.)

  19· · · · · · · · · ·(Witness viewing Exhibit 7.)

  20· · · · · ·A.· ·Correct.

  21· · · · · ·Q.· ·And Webzilla Limited?· Right?

  22· · · · · ·A.· ·Correct.

  23· · · · · ·Q.· ·Not Webzilla, Inc.?

  24· · · · · ·A.· ·Correct.

  25· · · · · ·Q.· ·Okay.· Does this email indicate to


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  ·1· · · you that in fact there is a continuing

  ·2· · · relationship that Webzilla has with ABN AMRO

  ·3· · · as of January of 2018?

  ·4· · · · · ·A.· ·You know, they -- they are

  ·5· · · communicating, so if that is a relationship.

  ·6· · · · · ·Q.· ·Right.· In other words, doesn't this

  ·7· · · email indicate to you that Webzilla, the

  ·8· · · particular Webzilla companies, have an ongoing

  ·9· · · relationship with ABN AMRO, and ABN AMRO was

  10· · · just asking them to periodically provide more

  11· · · information?

  12· · · · · ·A.· ·You could -- there is many different

  13· · · ways you could look at this.· I -- you know --

  14· · · · · ·Q.· ·Well, this asks for a periodic

  15· · · review of Webzilla accounts.· Right?

  16· · · · · ·A.· ·Um-hmm.

  17· · · · · ·Q.· ·Right?

  18· · · · · ·A.· ·Yes.

  19· · · · · ·Q.· ·It doesn't say we're going to hold

  20· · · up any financing for you until you give us

  21· · · this information?· Right?

  22· · · · · ·A.· ·I would have to read it again.· But

  23· · · I -- look.· I will believe you if it doesn't

  24· · · say those exact words.

  25· · · · · ·Q.· ·Okay.· Do you have any information


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  ·1· · · that this request for a, quote, periodic

  ·2· · · review for all Webzilla accounts, right, had

  ·3· · · any effect on either the amount of financing

  ·4· · · Webzilla may have received from ABN AMRO or

  ·5· · · the speed in which they received it?

  ·6· · · · · ·A.· ·Well, I think it certainly affected

  ·7· · · the speed based on the discussion we

  ·8· · · previously had about this.

  ·9· · · · · ·Q.· ·Well, no.· How do you know -- this

  10· · · email --

  11· · · · · ·A.· ·Um-hmm.

  12· · · · · ·Q.· ·How did this email affect the speed

  13· · · with which Webzilla may have received

  14· · · financing from ABN AMRO?

  15· · · · · ·A.· ·Well, like we discussed, it is

  16· · · additional, you know, hoops to jump through,

  17· · · so to speak.

  18· · · · · ·Q.· ·But it doesn't say that?· Right?· It

  19· · · doesn't say you have applied for financing but

  20· · · we're not going to give it to you until you

  21· · · provide us this information?· Right?· It just

  22· · · says we have to perform periodic reviews.· Can

  23· · · you give us this information so we can perform

  24· · · our periodic review.· Right?

  25· · · · · ·A.· ·Right.


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  ·1· · · · · ·Q.· ·There is nothing in the email that

  ·2· · · indicates that any money at all is being held

  ·3· · · up as a result of their request for this

  ·4· · · information?

  ·5· · · · · ·A.· ·Well, I think it is implied that

  ·6· · · until this is -- these requests are met that

  ·7· · · money will be held up.

  ·8· · · · · ·Q.· ·You think it is implied?

  ·9· · · · · ·A.· ·Yes.

  10· · · · · ·Q.· ·Based on what?

  11· · · · · ·A.· ·Well, based on the fact that they

  12· · · are saying we need to review all of this.· So

  13· · · presumably -- and this is an assumption -- but

  14· · · if they didn't provide all of this information

  15· · · or couldn't or it took too long to get it,

  16· · · then they may decline the financing.

  17· · · · · ·Q.· ·You have no idea whether any of that

  18· · · occurred?· Right?

  19· · · · · ·A.· ·Like I said, I don't know.

  20· · · · · ·Q.· ·Okay.· And again you don't have any

  21· · · information that this request for a, quote,

  22· · · "periodic review" actually drove away a single

  23· · · client?

  24· · · · · ·A.· ·I mean this goes back to the

  25· · · conversation we had before.· I mean they make


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  ·1· · · the statement in here "As you probably know

  ·2· · · due to the bad press regarding Webzilla" now

  ·3· · · we are obligated -- obliged to perform a

  ·4· · · periodic review.· Again it goes back to the

  ·5· · · statements I made earlier.

  ·6· · · · · ·Q.· ·Of course.· But again the fact that

  ·7· · · the bank may have wanted to ask for a periodic

  ·8· · · review --

  ·9· · · · · ·A.· ·Um-hmm.

  10· · · · · ·Q.· ·-- you don't have any information

  11· · · that this request for a, quote, "periodic

  12· · · review" caused -- drove away a single customer

  13· · · of Webzilla?

  14· · · · · ·A.· ·Again I don't know that.· Yes.         I

  15· · · don't know.

  16· · · · · ·Q.· ·Let's look at page 11.

  17· · · · · ·A.· ·Of my report?

  18· · · · · ·Q.· ·Yes.

  19· · · · · · · · · ·(Witness complying.)

  20· · · · · ·Q.· ·The first full paragraph says:

  21· · · · · · · · "The projected increase in EBITDA

  22· · · margin from 2016's actual margin of 42 percent

  23· · · was attributed to the planned evolution of the

  24· · · company's business model to one based on

  25· · · physical storage.· If not for the setbacks


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  ·1· · · following the defamatory articles, this

  ·2· · · transition would have continued to increase

  ·3· · · XBT's profitability."

  ·4· · · · · · · · And you cite a conversation with

  ·5· · · XBT's CFO.

  ·6· · · · · · · · So other than a conversation with

  ·7· · · XBT's CFO, is there any other basis you have

  ·8· · · to make that statement?

  ·9· · · · · ·A.· ·No.

  10· · · · · ·Q.· ·Okay.· And again just to reiterate,

  11· · · you have not actually drilled down to look at

  12· · · a single example of an individual customer who

  13· · · allegedly cancelled or didn't become a

  14· · · customer as a result of the publication?

  15· · · Right?

  16· · · · · ·A.· ·I have not seen that.

  17· · · · · ·Q.· ·Okay.· Did you consider whether the

  18· · · -- well, you in conducting your what you claim

  19· · · is your benefit analysis, you looked at Google

  20· · · trends, right, regarding BuzzFeed page feeds,

  21· · · right, around the time of the dossier?

  22· · · · · ·A.· ·I looked at Google trends regarding

  23· · · Google searches --

  24· · · · · ·Q.· ·Yes.

  25· · · · · ·A.· ·-- for the term BuzzFeed.


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  ·1· · · · · ·Q.· ·Fair enough.· Did you ever look at

  ·2· · · Google trends for searches for XBT, Webzilla,

  ·3· · · or Gubarev?

  ·4· · · · · ·A.· ·I did not.

  ·5· · · · · ·Q.· ·Is it possible that one of the

  ·6· · · causes of any downturn in business, if the

  ·7· · · companies actually experienced that, was the

  ·8· · · publicity from filing this lawsuit?

  ·9· · · · · ·A.· ·I -- I -- I don't know.

  10· · · · · ·Q.· ·You don't know?

  11· · · · · ·A.· ·(The witness shaking his head.)

  12· · · · · ·Q.· ·And you haven't looked at whether,

  13· · · for example, according to Google trends more

  14· · · people looked for XBT, Webzilla or Gubarev

  15· · · around the time this lawsuit was filed than

  16· · · when the dossier was published?

  17· · · · · ·A.· ·I don't know that.

  18· · · · · ·Q.· ·And would you consider that

  19· · · relevant?· Is it possible that the publicity

  20· · · from filing the lawsuit caused a loss of

  21· · · customers for Webzilla and XBT?

  22· · · · · ·A.· ·I don't think that would have any

  23· · · bearing on my analysis.

  24· · · · · ·Q.· ·Why?

  25· · · · · ·A.· ·Well, because the causation of the


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  ·1· · · lawsuit was the release of the dossier, and so

  ·2· · · it seems a little convoluted to me to say that

  ·3· · · because someone sued someone because somebody

  ·4· · · did something wrong to them that then -- I

  ·5· · · just don't understand that logic.

  ·6· · · · · ·Q.· ·So that's just your personal

  ·7· · · opinion?· Right?

  ·8· · · · · ·A.· ·Yes.

  ·9· · · · · ·Q.· ·Okay.· But setting aside the

  10· · · question of whether your personal opinion,

  11· · · okay, is whether it is fair or not, as an

  12· · · empirical matter, right, isn't it possible

  13· · · that publicity generated by the filing of this

  14· · · lawsuit contributed to a loss of customers for

  15· · · XBT and Webzilla?

  16· · · · · ·A.· ·Again I don't know.· I haven't seen

  17· · · any indication that that's the case.· I don't

  18· · · know.

  19· · · · · ·Q.· ·Well, what do you mean you haven't

  20· · · seen any indication that that's the case?· How

  21· · · have you seen any indication related to the

  22· · · dossier?

  23· · · · · ·A.· ·The subsequent decline in revenues

  24· · · and earnings.

  25· · · · · ·Q.· ·And wasn't there a subsequent


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  ·1· · · decline in revenue after the lawsuit was

  ·2· · · filed?

  ·3· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·4· · · · · ·A.· ·I -- I -- I don't recall.

  ·5· · · BY MR. SIEGEL:

  ·6· · · · · ·Q.· ·Really?· So when was the lawsuit

  ·7· · · filed?· Do you know?

  ·8· · · · · ·A.· ·I don't know the exact date.

  ·9· · · · · ·Q.· ·I will represent to you it was filed

  10· · · in or around February 3, 2017.

  11· · · · · ·A.· ·Okay.

  12· · · · · ·Q.· ·Okay.· Is it your contention that

  13· · · you have no idea whether the company

  14· · · experienced a decline in revenue after

  15· · · February 3, 2017, relative to what it had in

  16· · · 2016, at least as you contend?

  17· · · · · ·A.· ·Yes, I don't know if that is

  18· · · directly related to the filing of the lawsuit.

  19· · · · · ·Q.· ·Well, you don't know whether it is

  20· · · directly related to the dossier either, do

  21· · · you?

  22· · · · · ·A.· ·Again that was an assumption that I

  23· · · made in my analysis.

  24· · · · · ·Q.· ·Why are you making that assumption

  25· · · but you are not willing to make the assumption


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  ·1· · · that the filing of the lawsuit -- that the

  ·2· · · publicity about what was in the dossier

  ·3· · · resulting from the filing of the lawsuit

  ·4· · · caused a subsequent decline in income?

  ·5· · · · · ·A.· ·My argument would be that if

  ·6· · · anything perhaps the filing of the lawsuit

  ·7· · · helped to mitigate some of the losses because

  ·8· · · the losses in revenues bottomed in February

  ·9· · · and then started to improve, and so on face

  10· · · value at least it appears that the filing of

  11· · · the lawsuit may have helped to dig them out of

  12· · · the hole created by the publication of the

  13· · · dossier.

  14· · · · · ·Q.· ·That's your guess?· Right?

  15· · · · · ·A.· ·Well, no.· It's an educated

  16· · · assumption based on the numbers, the chart,

  17· · · the timing of these events.

  18· · · · · ·Q.· ·Actually, their revenue fell more

  19· · · after the lawsuit was filed than after the

  20· · · dossier was published?· Right?· The revenue

  21· · · fell more in February than it did in January;

  22· · · isn't that right?

  23· · · · · ·A.· ·And the assumption is that that is

  24· · · still the effects of the dossier being filed,

  25· · · and then there is a lag between when they're


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  ·1· · · going to bottom and recover or begin to

  ·2· · · recover -- they never fully recovered from it.

  ·3· · · · · ·Q.· ·So you just want to make the

  ·4· · · assumption that the lawsuit doesn't matter,

  ·5· · · right, because that would be uncomfortable for

  ·6· · · your client?

  ·7· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·8· · · · · ·A.· ·Well, I -- it -- there is nothing to

  ·9· · · do with comfort for anyone.· This is just my

  10· · · opinion based on the facts that I have seen.

  11· · · BY MR. SIEGEL:

  12· · · · · ·Q.· ·You have no particular expertise to

  13· · · offer that opinion, right, as to what -- as to

  14· · · whether the original publication itself or the

  15· · · filing of the lawsuit had more of an impact on

  16· · · potential customers?

  17· · · · · ·A.· ·Again as I said, it was an

  18· · · assumption I made --

  19· · · · · ·Q.· ·Right.

  20· · · · · ·A.· ·-- that the dossier caused the

  21· · · decline in revenue and earnings.· You asked me

  22· · · a question about the filing of the lawsuit.

  23· · · · · ·Q.· ·Right.

  24· · · · · ·A.· ·And my opinion now is that it

  25· · · bottomed shortly after the -- the declining


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  ·1· · · revenues bottomed shortly after the filing of

  ·2· · · the lawsuit and then started to recover.· And

  ·3· · · so -- I don't see -- what's the question

  ·4· · · again?

  ·5· · · · · ·Q.· ·Okay.· And so your assumption is

  ·6· · · that the filing of the lawsuit helped revenues

  ·7· · · to grow?

  ·8· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·9· · · · · ·You can answer.

  10· · · · · ·A.· ·It helped to mitigate --

  11· · · BY MR. SIEGEL:

  12· · · · · ·Q.· ·Are you an expert in public

  13· · · relations?

  14· · · · · ·A.· ·No.

  15· · · · · ·Q.· ·So what expertise as a valuer of

  16· · · intellectual property do you claim to have to

  17· · · assert -- to even opine -- at least to provide

  18· · · an expert opinion --

  19· · · · · ·A.· ·Um-hmm.

  20· · · · · ·Q.· ·-- on whether publishing the dossier

  21· · · or filing a lawsuit over the same allegations

  22· · · has more of an impact on revenue?

  23· · · · · ·A.· ·Well, you asked me in a hypothetical

  24· · · situation that the filing of a lawsuit caused

  25· · · more harm, and I'm saying in that hypothetical


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  ·1· · · that my opinion is that the filing of the

  ·2· · · lawsuit perhaps helped to mitigate the

  ·3· · · losses --

  ·4· · · · · ·Q.· ·Right.

  ·5· · · · · ·A.· ·-- by showing the truth that it --

  ·6· · · that the dossier was false with regards to the

  ·7· · · allegations.

  ·8· · · · · ·Q.· ·Or it could have drawn -- driven

  ·9· · · even more customers away, right, by

  10· · · republishing what those allegations were?

  11· · · Right?

  12· · · · · ·A.· ·I don't know that that's true.

  13· · · · · ·Q.· ·But you don't know that it is false

  14· · · either?

  15· · · · · ·A.· ·I have stated I don't know.· You

  16· · · asked me for my opinion on it.

  17· · · · · ·Q.· ·Okay.· Do you know anything about

  18· · · how much revenue the companies have been

  19· · · earning in 2018 so far?

  20· · · · · ·A.· ·I do not.

  21· · · · · ·Q.· ·Have you asked for that information?

  22· · · · · ·A.· ·I have asked for the most current

  23· · · available financials.

  24· · · · · ·Q.· ·Okay.· So far as you know, they are

  25· · · just not available?


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  ·1· · · · · ·A.· ·I have not seen them.

  ·2· · · · · ·Q.· ·Okay.· Let's go back to the KPMG

  ·3· · · evaluation.· I forget what exhibit number that

  ·4· · · was.

  ·5· · · · · ·A.· ·5.

  ·6· · · · · ·Q.· ·Now there are a number of companies

  ·7· · · in this valuation that KPMG for purposes of

  ·8· · · this analysis that they conducted in 2013 said

  ·9· · · were comparable, right, or at least opined

  10· · · were comparable.· Right?

  11· · · · · ·A.· ·That's correct.

  12· · · · · ·Q.· ·And turn to page 17 or Bates number

  13· · · 662.

  14· · · · · · · · · ·(Witness complying.)

  15· · · · · ·Q.· ·And those six companies are listed

  16· · · there?· Right?

  17· · · · · ·A.· ·Yes.

  18· · · · · ·Q.· ·Why did you assume that -- why did

  19· · · you use these 2013 -- this 2013 report for

  20· · · purposes of determining what companies were

  21· · · comparable to XBT today?

  22· · · · · ·A.· ·Because I have worked with KPMG in

  23· · · the past.· Another reputable source and --

  24· · · · · ·Q.· ·But KPMG isn't asserting those would

  25· · · be a list of comparable companies today, is


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  ·1· · · it?

  ·2· · · · · ·A.· ·Well, they haven't asserted that

  ·3· · · they are not.

  ·4· · · · · ·Q.· ·You didn't ask them?· Right?

  ·5· · · · · ·A.· ·I haven't seen any assertion that

  ·6· · · they are not.· But we're talking three, four

  ·7· · · years later, and there is not a major shift in

  ·8· · · the landscape that would dictate that these

  ·9· · · are not any more comparable today as they were

  10· · · in 2013.

  11· · · · · ·Q.· ·Did you undertake any analysis

  12· · · yourself to determine whether these companies

  13· · · are comparable to XBT today?

  14· · · · · ·A.· ·I looked at their description of

  15· · · what they do.

  16· · · · · ·Q.· ·Um-hmm.

  17· · · · · ·A.· ·I looked at their financials

  18· · · obviously to get to their EBITDA multiples.

  19· · · So I did look at the companies.· Yes.

  20· · · · · ·Q.· ·What does -- well, and what leads

  21· · · you -- what, if anything, leads you to

  22· · · conclude that they are all comparable

  23· · · companies today?

  24· · · · · ·A.· ·Well, they are all within the data

  25· · · center industry.


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  ·1· · · · · ·Q.· ·Isn't DuPont Fabros primarily a real

  ·2· · · estate company?· It is a REIT, right, or it

  ·3· · · was a REIT?

  ·4· · · · · ·A.· ·I believe that's REITs involving

  ·5· · · servers, though.

  ·6· · · · · ·Q.· ·Okay.· So do you think that a

  ·7· · · company that is a REIT is comparable to XBT?

  ·8· · · · · ·A.· ·I mean that is really a structure

  ·9· · · for a -- again I don't know, legal tax

  10· · · purposes that was used.

  11· · · · · ·Q.· ·Right.

  12· · · · · ·A.· ·But the core business of owning and

  13· · · leasing server space did not change.

  14· · · · · ·Q.· ·Did you read Mr. Mishra's deposition

  15· · · where he opined that he didn't think that was

  16· · · a comparable company?

  17· · · · · ·A.· ·I did see that.

  18· · · · · ·Q.· ·And do you think he is wrong?

  19· · · · · ·A.· ·I still believe that DuPont Fabros

  20· · · is a reasonable comparable.

  21· · · · · ·Q.· ·Okay.· So you won't take

  22· · · Mr. Mishra's views or assertions for this

  23· · · purpose?· Right?

  24· · · · · ·A.· ·When it comes to the valuation

  25· · · elements that I have worked on, no.


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  ·1· · · · · ·Q.· ·Let's go to page Bates 654 of the

  ·2· · · KPMG valuation.

  ·3· · · · · · · · · ·(Witness complying.)

  ·4· · · · · ·Q.· ·And do you see where it says, there

  ·5· · · is a little line that says "comparable

  ·6· · · companies"?

  ·7· · · · · ·A.· ·I do.

  ·8· · · · · ·Q.· ·And the second bullet point under

  ·9· · · that:

  10· · · · · · · · "Marketability discount in the range

  11· · · 20 to 30 percent was used to reflect the fact

  12· · · that the company being valued" -- meaning XBT

  13· · · -- "is private and does not have shares traded

  14· · · in a public exchange."

  15· · · · · · · · Right?

  16· · · · · ·A.· ·I see that.

  17· · · · · ·Q.· ·So did you apply a 20 to 30 percent

  18· · · discount to the EBITDA to multiples that you

  19· · · used?

  20· · · · · ·A.· ·No.

  21· · · · · ·Q.· ·Why not?

  22· · · · · ·A.· ·Because I don't think it is

  23· · · appropriate.

  24· · · · · ·Q.· ·Why?

  25· · · · · ·A.· ·Because other companies that


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  ·1· · · exchanged hands at that time, one of the

  ·2· · · comparables that Mr. Mishra identified that he

  ·3· · · thought was more comparable, Softlayer, was

  ·4· · · purchased by IBM in 2013, and they were

  ·5· · · acquired on a forward EBITDA.· So forward

  ·6· · · projections of a year --

  ·7· · · · · ·Q.· ·Okay.

  ·8· · · · · ·A.· ·-- at 11.1 times.

  ·9· · · · · · · · These comparables had a 10.99

  10· · · forward EBITDA multiple.

  11· · · · · · · · So 10.99, 11.1, are very close.

  12· · · Softlayer was higher.· A private company.· No

  13· · · market discount was applied for lack of

  14· · · marketability.· I did not find it necessary.

  15· · · · · ·Q.· ·But the EBITDA margin that you came

  16· · · up was 17, not 11?

  17· · · · · ·A.· ·It is a different time.

  18· · · · · ·Q.· ·Right?

  19· · · · · ·A.· ·It is a different time.

  20· · · · · ·Q.· ·And Softlayer was purchased at what

  21· · · margin?

  22· · · · · ·A.· ·11.1 forward EBITDA in 2013.

  23· · · · · ·Q.· ·Okay.· So you think that -- well,

  24· · · but you didn't use Softlayer as a comparable

  25· · · company?· Right?


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  ·1· · · · · ·A.· ·Right.· I didn't have public

  ·2· · · information about Softlayer at the date of my

  ·3· · · valuation.· They were rolled into IBM, and

  ·4· · · they were public prior to that.

  ·5· · · · · ·Q.· ·Right.

  ·6· · · · · ·A.· ·So during the acquisition,

  ·7· · · information came out about the multiples that

  ·8· · · were applied --

  ·9· · · · · ·Q.· ·Right.

  10· · · · · ·A.· ·-- and the fact that at the same

  11· · · time period --

  12· · · · · ·Q.· ·Um-hmm.

  13· · · · · ·A.· ·-- that the KPMG study was done, the

  14· · · KPMG comparables had a 10.99 forward multiple

  15· · · on the EBITDA.· Softlayer was purchased at an

  16· · · 11.1 forward multiple on the EBITDA.

  17· · · · · ·Q.· ·Okay.

  18· · · · · ·A.· ·Therefore --

  19· · · · · ·Q.· ·You think KPMG was wrong?

  20· · · · · ·A.· ·What?

  21· · · · · ·Q.· ·You think KPMG was wrong?

  22· · · · · ·A.· ·About what?

  23· · · · · ·Q.· ·They shouldn't have applied a 20 to

  24· · · 30 percent discount?

  25· · · · · ·A.· ·Again I said I don't -- I don't


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  ·1· · · believe it was necessary to apply that

  ·2· · · discount.

  ·3· · · · · ·Q.· ·Okay.

  ·4· · · · · ·A.· ·But it doesn't mean I don't agree

  ·5· · · with their choice of comparables.

  ·6· · · · · ·Q.· ·But you don't agree with how they

  ·7· · · valued XBT relative to those comparables?· You

  ·8· · · value it higher?

  ·9· · · · · ·A.· ·They actually value it on -- they

  10· · · take several approaches to value.· One is on

  11· · · an income approach.· They say the value on the

  12· · · income approach actually yields a higher

  13· · · multiple of EDITDA -- I think it was 14 or 15,

  14· · · something like that -- as opposed to the

  15· · · 10.99.

  16· · · · · ·Q.· ·If you think the Softlayer sale is

  17· · · more relevant, why not apply a margin of 11,

  18· · · not 17 -- a multiple of 11, not 17, to your

  19· · · damages analysis?

  20· · · · · ·A.· ·Well, as I said, it's a different

  21· · · time.· It is a totally different market.         I

  22· · · mean if you have seen the markets they are up

  23· · · 200, 300 percent from the bottoms.· You have

  24· · · got companies such as AWS, Oracle, Microsoft,

  25· · · Google, that have, you know, increased even


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  ·1· · · greater than that.· So the multiples on the

  ·2· · · entire market, you look at PE multiples, the

  ·3· · · EBITDA multiples, any multiples over a three-

  ·4· · · or four-year period have gone up

  ·5· · · significantly.· It would not be appropriate to

  ·6· · · use a 11.1 multiple in 2018.

  ·7· · · · · ·Q.· ·Let's look at document 63.

  ·8· · · · · · · · · ·MR. SIEGEL:· I think this is

  ·9· · · · · ·number 8.· Is that right?

  10· · · · · · · · · ·THE REPORTER:· Yes.

  11· · · · · (XBT Holding SA Consolidated Business

  12· · · · · Plan prepared November 2016, bearing

  13· · · · · production numbers P-G 001035 through

  14· · · · · P-G 001087 marked Exhibit 8 for

  15· · · · · identification.)

  16· · · · · · · · · ·(Handing Exhibit 8 to the

  17· · · · · ·witness.)

  18· · · · · · · · · ·THE WITNESS:· Thank you.

  19· · · BY MR. SIEGEL:

  20· · · · · ·Q.· ·And let's go to page 13 of this

  21· · · document, which is Bates number 1050.

  22· · · · · · · · · ·(Witness complying.)

  23· · · · · ·Q.· ·Now in this November of 2016

  24· · · business plan, it identifies four direct

  25· · · competitors, right:· Softlayer.com,


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  ·1· · · Leaseweb.com, OVH.com and Rackspace.com?

  ·2· · · Right?

  ·3· · · · · ·A.· ·Correct.

  ·4· · · · · ·Q.· ·Why didn't you use those companies

  ·5· · · for your, as comparables, for your EBITDA

  ·6· · · margin analysis -- I am sorry -- your EBITDA

  ·7· · · multiple analysis?

  ·8· · · · · ·A.· ·Well, I did use Rackspace.

  ·9· · · · · ·Q.· ·Okay.· And the Rackspace multiple

  10· · · was seven?· Right?

  11· · · · · ·A.· ·It was low.

  12· · · · · ·Q.· ·It was by far the lowest of any of

  13· · · those six companies that you used?· Right?

  14· · · · · ·A.· ·Right.· But I kept it in my

  15· · · analysis.

  16· · · · · ·Q.· ·Did you check the multiples for the

  17· · · other three companies?

  18· · · · · ·A.· ·Again the only one that I could find

  19· · · information on was Softlayer due to the

  20· · · acquisition by IBM.· The other two are

  21· · · private.· I couldn't find information.

  22· · · · · ·Q.· ·Okay.· So you couldn't find any.

  23· · · Did you try to find information about them?

  24· · · · · ·A.· ·Yes.

  25· · · · · ·Q.· ·So you looked and you say you


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  ·1· · · couldn't find it?

  ·2· · · · · ·A.· ·Yes.

  ·3· · · · · ·Q.· ·Why would these companies -- why

  ·4· · · wouldn't these companies which XBT itself has

  ·5· · · identified as their direct competitors in late

  ·6· · · 2016 be a better group of comparables to use

  ·7· · · than the ones KPMG identified three years

  ·8· · · earlier, three and a half years earlier?

  ·9· · · · · ·A.· ·Really two answers to that question.

  10· · · · · ·Q.· ·Okay.

  11· · · · · ·A.· ·The first is private companies do

  12· · · not disclose this information.· It is not

  13· · · readily available.· And so if you don't have

  14· · · the information, you can't use that.

  15· · · · · · · · And number two, well, I did use

  16· · · Rackspace.· So one of the four I used -- two

  17· · · of the four.· Softlayer as we had discussed

  18· · · had actually a higher EBITDA multiple than the

  19· · · comps that I used from the KPMG study which

  20· · · indicates that these -- these comparables, at

  21· · · least as far as XBT displays them, are in fact

  22· · · in line with the comparables used in the KPMG

  23· · · analysis.

  24· · · · · ·Q.· ·Okay.· And that is an assumption you

  25· · · are making based on the multiple that was used


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  ·1· · · in the Softlayer sale in 2013?

  ·2· · · · · ·A.· ·What is an assumption I was making?

  ·3· · · · · ·Q.· ·Let me ask you this.· If it turns

  ·4· · · out you are wrong, if the Rackspace 7 percent

  ·5· · · multiple, for example, is actually much more

  ·6· · · representative of the multiple for those

  ·7· · · direct competitors, would that cause you to

  ·8· · · change your damages estimate?

  ·9· · · · · ·A.· ·If the Rackspace 7 percent multiple?

  10· · · · · ·Q.· ·Yes.

  11· · · · · ·A.· ·I'm not sure what that means.

  12· · · · · ·Q.· ·Okay.· I will take it again.

  13· · · · · · · · Let's assume that for these four

  14· · · companies, all right, identified in the

  15· · · November of 2016 report, okay, that their

  16· · · average EBITDA margin is the same as

  17· · · Rackspace.· It is 7 percent.· Just make that

  18· · · assumption.· Okay?· I understand that may not

  19· · · be what the fact is, but let's assume that it

  20· · · is.

  21· · · · · · · · If that were the case, would that

  22· · · cause you to revise your business valuation

  23· · · estimate in your report?

  24· · · · · ·A.· ·So you are -- I think what you are

  25· · · asking me is if all four of these companies


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  ·1· · · had a -- not a 7 percent -- but a 7 times, 7X

  ·2· · · multiple.

  ·3· · · · · ·Q.· ·7 times.· That is right.· I am

  ·4· · · sorry.

  ·5· · · · · ·A.· ·You are confusing me.

  ·6· · · · · ·Q.· ·I have got it.· If their average

  ·7· · · multiple was 7 times, not 17 --

  ·8· · · · · ·A.· ·Okay.

  ·9· · · · · ·Q.· ·-- if their average multiple was 7

  10· · · times, would that cause you to revise your

  11· · · estimate of lost business value?

  12· · · · · ·A.· ·It would depend on the information

  13· · · that I have that supports that, the timing of

  14· · · the data available to show those multiples,

  15· · · how that -- I would then likely if it was

  16· · · verifiable reasonable data incorporate it into

  17· · · the other multiples that I have used from the

  18· · · six identified in the KPMG analysis.· If it

  19· · · was higher.· It could be lower.· If that data

  20· · · was available and I had it, sure, I could

  21· · · incorporate that into my analysis.

  22· · · · · ·Q.· ·Okay.· Now as of the end of 2016 --

  23· · · I'm sorry -- '17; right?· XBT's actual revenue

  24· · · in 2017 went up about $9 million as compared

  25· · · to 2016?· Right?


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  ·1· · · · · ·A.· ·Can I look?

  ·2· · · · · ·Q.· ·Sure.

  ·3· · · · · · · · · ·(Pause.)

  ·4· · · · · ·Q.· ·I think it is 49.7, 58.27.

  ·5· · · · · ·A.· ·Yes.· Yes.· 49.7 to 58.27.

  ·6· · · · · ·Q.· ·So eight and a half?· Fair?· Eight

  ·7· · · and a half.

  ·8· · · · · · · · And that's an increase of eight and

  ·9· · · a half million dollars even with the loss of

  10· · · the Methbot customer?· Right?· In other words,

  11· · · they lost the Methbot customer at the end of

  12· · · 2016, but their total revenue still went up by

  13· · · eight and a half million?· Right?

  14· · · · · ·A.· ·Correct.

  15· · · · · ·Q.· ·Why do you think it went up by eight

  16· · · and a half million?

  17· · · · · ·A.· ·Why did revenue go up by eight and a

  18· · · half million dollars?

  19· · · · · ·Q.· ·Yes.

  20· · · · · ·A.· ·Because they continued their

  21· · · business.· They tried to get through the

  22· · · issues created by the dossier.· They didn't

  23· · · shut the doors down.

  24· · · · · ·Q.· ·Okay.

  25· · · · · · · · · ·MR. SIEGEL:· Let's just mark


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  ·1· · · · · ·for purposes of the record his first

  ·2· · · · · ·report, 9.

  ·3· · · · · (Expert report of Jeff Anderson,

  ·4· · · · · bearing production numbers P-S 000005

  ·5· · · · · through P-S 0000044 marked Exhibit 9

  ·6· · · · · for identification.)

  ·7· · · · · · · · · ·(Handing Exhibit 9 to the

  ·8· · · · · ·witness.)

  ·9· · · · · · · · · ·THE WITNESS:· Thank you.

  10· · · BY MR. SIEGEL:

  11· · · · · ·Q.· ·Okay.· So just for the record, can

  12· · · you confirm that this is your first report

  13· · · that you did on February 23, 2018, and it was

  14· · · supplemented subsequently?· Right?

  15· · · · · ·A.· ·Without flipping through and reading

  16· · · it all, yes, I believe you.

  17· · · · · ·Q.· ·Now go back to your supplemental

  18· · · report.

  19· · · · · ·A.· ·Which page?

  20· · · · · ·Q.· ·12.

  21· · · · · · · · · ·(Witness complying.)

  22· · · · · ·Q.· ·And I am looking at figure 8.

  23· · · · · ·A.· ·Okay.

  24· · · · · ·Q.· ·And this is -- I think you have

  25· · · already testified to this effect, but just to


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  ·1· · · make sure, to make it clear -- that so what

  ·2· · · you call the as-is scenario, right, that is

  ·3· · · the -- your estimate of the as-is scenario,

  ·4· · · the actual value of the business, right, as of

  ·5· · · January 1, 2018?· Right?

  ·6· · · · · ·A.· ·This is.· Yes.· The as-is business

  ·7· · · value.

  ·8· · · · · ·Q.· ·Right?

  ·9· · · · · ·A.· ·Yes.

  10· · · · · ·Q.· ·So what that means is that if,

  11· · · hypothetically, XBT were to have sold the

  12· · · company on January 1, 2018, the price would

  13· · · have been an estimate of $415,377,000?· Right?

  14· · · That's what that means?

  15· · · · · ·A.· ·The fair market value.· Yes.

  16· · · · · ·Q.· ·And your contention is that but for

  17· · · the publication of the dossier the selling

  18· · · price, the fair market value as you put it, as

  19· · · of January 1, 2018, would have been somewhere

  20· · · in between 447 million and 553 million?

  21· · · Right?

  22· · · · · ·A.· ·But for.· Correct.· Yes.

  23· · · · · ·Q.· ·Okay.

  24· · · · · · · · · ·MR. SIEGEL:· Want to take a

  25· · · · · ·break here?


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  ·1· · · · · · · · · ·MR. FRAY-WITZER:· Yes.

  ·2· · · · · · · · · ·MR. SIEGEL:· Because we will

  ·3· · · · · ·move on to a new topic.

  ·4· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  ·5· · · · · ·is 2:17 p.m.· We are off the record.

  ·6· · · · · · · · · ·(Recess taken at 2:17 p.m.)

  ·7· · · · · · · · · ·(Recess ended at 2:29 p.m.)

  ·8· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  ·9· · · · · ·is 2:30.· We are back on the record.

  10· · · BY MR. SIEGEL:

  11· · · · · ·Q.· ·Sir, now I am going to turn to the

  12· · · second part of your report, which is your

  13· · · estimate of what you call the benefit to

  14· · · BuzzFeed.

  15· · · · · · · · Why did you estimate that?

  16· · · · · ·A.· ·I was asked by counsel to look at

  17· · · the benefit BuzzFeed received from posting the

  18· · · defamatory articles.

  19· · · · · ·Q.· ·Okay.· And do you have any

  20· · · understanding for what purpose that opinion

  21· · · will be offered?

  22· · · · · ·A.· ·I do not.

  23· · · · · ·Q.· ·Okay.· What is your understanding of

  24· · · how BuzzFeed makes money?

  25· · · · · ·A.· ·Well, they sell those hot plates.


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  ·1· · · That's one thing.· But they get traffic.

  ·2· · · · · ·Q.· ·Products?

  ·3· · · · · ·A.· ·Products.· They sell some products.

  ·4· · · · · ·Q.· ·All right.

  ·5· · · · · ·A.· ·But they have traffic to their

  ·6· · · website, advertising.

  ·7· · · · · ·Q.· ·So let's break that down.· How does

  ·8· · · BuzzFeed as you understand it, convert --

  ·9· · · well, how does BuzzFeed make money off traffic

  10· · · to their website?

  11· · · · · ·A.· ·Typically from advertising.

  12· · · · · ·Q.· ·What kind of advertising?

  13· · · · · ·A.· ·What do you mean what kind of

  14· · · advertising?

  15· · · · · ·Q.· ·I am asking you.· When you say

  16· · · advertising, what do you mean?

  17· · · · · ·A.· ·Corporations' products, services

  18· · · will advertise.

  19· · · · · ·Q.· ·Okay.· And what is your

  20· · · understanding of how BuzzFeed has monetized

  21· · · advertising over time?

  22· · · · · ·A.· ·Well, the more traffic they get, the

  23· · · more advertising dollars they can receive.

  24· · · · · ·Q.· ·What you're talking about -- is what

  25· · · you are talking about what are often called


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  ·1· · · banner or programatic ads?

  ·2· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·3· · · · · ·A.· ·They can be.· Yes.

  ·4· · · BY MR. SIEGEL:

  ·5· · · · · ·Q.· ·So just to make sure that we're

  ·6· · · talking about the same thing, all right, let's

  ·7· · · set aside BuzzFeed for a moment.· All right?

  ·8· · · · · · · · Let's say hypothetically a person

  ·9· · · clicks on the website for Ford.com, all right,

  10· · · because they are looking at cars.· All right.

  11· · · They click on the website.· When they click on

  12· · · Ford.com a little, you know, a little ad pops

  13· · · up for lawn mothers.· Is that what you're

  14· · · talking about?

  15· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  16· · · · · ·A.· ·I don't think Ford does that.

  17· · · BY MR. SIEGEL:

  18· · · · · ·Q.· ·I am not saying that Ford does.· All

  19· · · right.· Let's use BuzzFeed.

  20· · · · · ·A.· ·All right.

  21· · · · · ·Q.· ·You they click on BuzzFeed.com,

  22· · · anywhere on BuzzFeed.com, and to flip it,

  23· · · right --

  24· · · · · ·A.· ·Um-hmm.

  25· · · · · ·Q.· ·-- an ad for Ford pops up.· Is that


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  ·1· · · what we're talking about?

  ·2· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·3· · · · · ·You can answer.

  ·4· · · · · ·A.· ·Is that what you are asking me?

  ·5· · · BY MR. SIEGEL:

  ·6· · · · · ·Q.· ·Yes.· Is that the kind of

  ·7· · · advertising you are talking about?

  ·8· · · · · ·A.· ·Yes.· An ad will pop up.

  ·9· · · · · ·Q.· ·Okay.· Do you have any information

  10· · · as to how long BuzzFeed has been running

  11· · · banner ads?

  12· · · · · ·A.· ·I don't know the length of time.

  13· · · · · ·Q.· ·You have no idea?

  14· · · · · ·A.· ·I don't know.

  15· · · · · ·Q.· ·Did you do anything to investigate

  16· · · that?

  17· · · · · ·A.· ·No.· It has no direct bearing on my

  18· · · analysis.

  19· · · · · ·Q.· ·Why?

  20· · · · · ·A.· ·Because what I looked at was the

  21· · · value of traffic.

  22· · · · · ·Q.· ·Okay.· We'll get to that in a

  23· · · second.

  24· · · · · · · · But do you know whether BuzzFeed was

  25· · · running banner ads at all when the dossier was


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  ·1· · · published?

  ·2· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·3· · · · · ·A.· ·I don't recall.

  ·4· · · BY MR. SIEGEL:

  ·5· · · · · ·Q.· ·You don't recall whether you know or

  ·6· · · not?

  ·7· · · · · ·A.· ·Yes.· I don't recall.· I mean I saw

  ·8· · · the image of it in the complaint and went to

  ·9· · · the website, but I don't recall if there were

  10· · · banner ads.· It looked like there may have

  11· · · been, but I don't recall.

  12· · · · · ·Q.· ·That's not what I am asking you.· Do

  13· · · you know whether BuzzFeed.com anywhere on its

  14· · · websites in January of 2017 was running banner

  15· · · advertising?

  16· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  17· · · · · ·A.· ·I don't know.

  18· · · BY MR. SIEGEL:

  19· · · · · ·Q.· ·So do you have any -- how -- what

  20· · · understanding, if any, do you have of how in

  21· · · January of 2017 BuzzFeed made money?

  22· · · · · ·A.· ·Well, made money?· That's I guess my

  23· · · confusion.

  24· · · · · ·Q.· ·Earned revenue?

  25· · · · · ·A.· ·Revenue is what you are talking


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  ·1· · · about?

  ·2· · · · · ·Q.· ·Yes.

  ·3· · · · · ·A.· ·My analysis didn't look at revenue

  ·4· · · earned by BuzzFeed.

  ·5· · · · · ·Q.· ·Right.· And so wouldn't revenue

  ·6· · · earned by BuzzFeed be what the benefit to

  ·7· · · BuzzFeed was, or profit earned by BuzzFeed?

  ·8· · · · · ·A.· ·It could be at some point in the

  ·9· · · future --

  10· · · · · ·Q.· ·Right.

  11· · · · · ·A.· ·-- a benefit, but that is not the

  12· · · measure of value that I looked at.

  13· · · · · ·Q.· ·Well, what measure of value do you

  14· · · look at?

  15· · · · · ·A.· ·I looked at the measure of value of

  16· · · the traffic and what the value of that traffic

  17· · · to BuzzFeed was.

  18· · · · · ·Q.· ·Well, what -- and when you say

  19· · · traffic, what do you mean by traffic?

  20· · · · · ·A.· ·Page views.

  21· · · · · ·Q.· ·Okay.· And I will ask you again.· Do

  22· · · you know how BuzzFeed makes money, earns

  23· · · revenue, from page views?

  24· · · · · ·A.· ·And again my understanding was

  25· · · through advertising, but again that's not an


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  ·1· · · element of how I looked at the value of those

  ·2· · · clicks, that traffic, that went to the page.

  ·3· · · · · ·Q.· ·Okay.· Why not?

  ·4· · · · · ·A.· ·Because that is -- because the

  ·5· · · revenue, directly or indirectly, earned if

  ·6· · · there were or were not banner ads, side banner

  ·7· · · ads, whatever you want to call it, on the page

  ·8· · · of others is not the indication of value that

  ·9· · · I looked at.

  10· · · · · ·Q.· ·Okay.· What is the indication of

  11· · · value that you looked at?

  12· · · · · ·A.· ·The traffic.

  13· · · · · ·Q.· ·And how did you value -- and

  14· · · traffic, you mean by the total number of page

  15· · · views, right, which you say was about

  16· · · 9 million roughly?

  17· · · · · ·A.· ·Correct.

  18· · · · · ·Q.· ·We will break that down as to what

  19· · · that consisted of, but just using that number

  20· · · for now, so how did you value those 9 million

  21· · · page views?

  22· · · · · ·A.· ·I valued it on the basis of what

  23· · · would be the cost of generating that level of

  24· · · traffic or what is the value of that level of

  25· · · traffic to BuzzFeed.


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  ·1· · · · · ·Q.· ·Now how do you -- and -- okay.

  ·2· · · · · · · · So as I understand it, right, what

  ·3· · · you actually did was you came up with an

  ·4· · · estimate of how much it would cost a company,

  ·5· · · right, how much it would have cost BuzzFeed to

  ·6· · · do its own advertising campaign, right, own

  ·7· · · marketing campaign on Google, or, well, search

  ·8· · · engines to generate 9 million page views?· Is

  ·9· · · that accurate?

  10· · · · · ·A.· ·Yes.· What the cost --

  11· · · · · ·Q.· ·Right.

  12· · · · · ·A.· ·-- to generate that level of page

  13· · · views would be based on BuzzFeed's historical

  14· · · search terms that drive traffic to the

  15· · · website.

  16· · · · · ·Q.· ·Okay.· And assuming -- just on a

  17· · · high level -- if your estimate was accurate,

  18· · · if it would have cost BuzzFeed $14 million to

  19· · · -- and what we are talking about is BuzzFeed

  20· · · goes out and takes out banner ads on other

  21· · · websites?· Right?

  22· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  23· · · BY MR. SIEGEL:

  24· · · · · ·Q.· ·Banner ads on Google?

  25· · · · · ·A.· ·Are you asking me if BuzzFeed does


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  ·1· · · that?

  ·2· · · · · ·Q.· ·Yes.· I am asking you.

  ·3· · · · · ·A.· ·I don't know that they do.

  ·4· · · · · ·Q.· ·No, no, no.· I am saying your --

  ·5· · · what is it that in your analysis, right, what

  ·6· · · would BuzzFeed have spent the $14 million on?

  ·7· · · · · ·A.· ·Generating the traffic.

  ·8· · · · · ·Q.· ·And -- I understand that.· The goal

  ·9· · · is to generate the traffic.

  10· · · · · · · · But what would they have

  11· · · specifically purchased in order to try to

  12· · · generate that traffic?

  13· · · · · ·A.· ·The higher-placed links under

  14· · · certain search terms that used to really look

  15· · · like ads and now they do not anymore.· I mean

  16· · · they may say ad on it.· But it is the links in

  17· · · Google, for example, in a search engine.

  18· · · · · ·Q.· ·All right.· Okay.· So just walk me

  19· · · through this.· Okay?· And assume I am a

  20· · · complete simpleton about this.

  21· · · · · ·A.· ·Sure.

  22· · · · · ·Q.· ·I will ask you one question.· Is

  23· · · what BuzzFeed is doing, is part of what

  24· · · BuzzFeed is doing, would be doing under your

  25· · · scenario, right, would be I'm on Google,


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  ·1· · · right, and when I am on Google an ad for

  ·2· · · BuzzFeed pops up?

  ·3· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·4· · · BY MR. SIEGEL:

  ·5· · · · · ·Q.· ·Is that what you're talking about?

  ·6· · · · · ·A.· ·No.

  ·7· · · · · ·Q.· ·Okay.· So I think what you just said

  ·8· · · was that BuzzFeed would be paying for certain

  ·9· · · search terms to have preference or for it to

  10· · · be given preference when certain search terms

  11· · · are input into Google?

  12· · · · · ·A.· ·To make it simple --

  13· · · · · ·Q.· ·Okay.

  14· · · · · ·A.· ·-- we will go back to Ford.

  15· · · · · ·Q.· ·Okay.

  16· · · · · ·A.· ·So Ford, you search Ford on Google.

  17· · · · · ·Q.· ·Right.

  18· · · · · ·A.· ·And if you did it on your phone

  19· · · right now it would probably have the first

  20· · · link that shows up would be Ford.

  21· · · · · ·Q.· ·Um-hmm.· Ford.com?

  22· · · · · ·A.· ·Well, it would be -- it would take

  23· · · you to Ford.com.

  24· · · · · ·Q.· ·Right.

  25· · · · · ·A.· ·But it would be Ford.


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  ·1· · · · · ·Q.· ·Um-hmm.

  ·2· · · · · ·A.· ·And it would have probably in

  ·3· · · parentheses a little ad --

  ·4· · · · · ·Q.· ·Um-hmm.

  ·5· · · · · ·A.· ·-- and maybe two, the second link,

  ·6· · · would take you to -- I don't know -- they have

  ·7· · · a new Expedition out.· Maybe the second link

  ·8· · · would take you directly to the Expedition page

  ·9· · · and that could be an ad.

  10· · · · · ·Q.· ·Okay.

  11· · · · · ·A.· ·Maybe the third link would be

  12· · · Ford.com's nonad website, organic website.· So

  13· · · does that explain that?

  14· · · · · ·Q.· ·Yes.· And from what I understand you

  15· · · were saying that Ford would have paid Google a

  16· · · certain amount of money so that when somebody

  17· · · inputs "Ford" into Google that's what shows

  18· · · up?· Is that --

  19· · · · · ·A.· ·It is a free market really in how

  20· · · they price the search terms.

  21· · · · · ·Q.· ·Okay.

  22· · · · · ·A.· ·But others -- so GM theoretically --

  23· · · could also pay for Ford.

  24· · · · · ·Q.· ·To be --

  25· · · · · ·A.· ·If somebody searches "Ford," it


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  ·1· · · could pop up at the very top "General Motors."

  ·2· · · · · ·Q.· ·I have got it.

  ·3· · · · · ·A.· ·Or GM's Suburban has more power than

  ·4· · · the first Expedition, and that could be the

  ·5· · · first link.

  ·6· · · · · ·Q.· ·All right.· And as I understand your

  ·7· · · analysis, hypothetically the amount that

  ·8· · · BuzzFeed would be paying Google, right, would

  ·9· · · vary according to the search term?· Right?· So

  10· · · that they would pay a higher price for

  11· · · BuzzFeed?· Right?· If someone puts in

  12· · · "BuzzFeed," they would be paying a higher

  13· · · price for BuzzFeed.com to pop up at the top?

  14· · · Right?

  15· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  16· · · BY MR. SIEGEL:

  17· · · · · ·Q.· ·And if they were searching for the

  18· · · term "corny jokes," for example, that would be

  19· · · a lower price, right, for BuzzFeed to pop up

  20· · · at the top?

  21· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  22· · · · · ·A.· ·Yes.· I have a list.· On Exhibit 12

  23· · · I show the top 100.

  24· · · BY MR. SIEGEL:

  25· · · · · ·Q.· ·Right.


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  ·1· · · · · ·A.· ·So it ranges from BuzzFeed's "Sponge

  ·2· · · Bob," "micropenis," I mean there is a lot of

  ·3· · · search terms that drive traffic to BuzzFeed's

  ·4· · · website.· Now "BuzzFeed" is the highest search

  ·5· · · term.

  ·6· · · · · ·Q.· ·Right.

  ·7· · · · · ·A.· ·And, you know, that has -- you are

  ·8· · · right.· It has a higher cost per click of

  ·9· · · $2.50 as opposed to the --

  10· · · · · ·Q.· ·Right.

  11· · · · · ·A.· ·-- buck and a half.

  12· · · · · ·Q.· ·Setting aside the question of

  13· · · whether the analysis is correct, even if --

  14· · · assuming the analysis was correct, okay, and

  15· · · it would cost BuzzFeed $14 million to do that,

  16· · · right, how do you know that that would

  17· · · translate into $1 million or $5 million or

  18· · · $10 million or $15 million of benefit to

  19· · · BuzzFeed?

  20· · · · · ·A.· ·How are you defining "benefit"?

  21· · · Revenue?

  22· · · · · ·Q.· ·Yes.

  23· · · · · ·A.· ·Okay.· So like I said earlier,

  24· · · revenue -- it's -- websites generate value by

  25· · · having people come to the website, page views,


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  ·1· · · monthly active users, daily active users.· So

  ·2· · · having a steady base of users and traffic to a

  ·3· · · site generates the value.· It is similar to

  ·4· · · Facebook in its early days where they were

  ·5· · · running at a loss.· They weren't generating

  ·6· · · much in revenue, but they had a massive user

  ·7· · · base.

  ·8· · · · · · · · So the theory is that, and it has

  ·9· · · turned into practice as can be shown through

  10· · · something like a Facebook which is now one of

  11· · · the largest companies in the world, once you

  12· · · have the base and have the traffic that

  13· · · continually comes to the site you can monetize

  14· · · it in other future ways.

  15· · · · · ·Q.· ·Right.

  16· · · · · ·A.· ·So the direct benefit doesn't

  17· · · necessarily have to be revenue from

  18· · · advertising on the page as opposed to having

  19· · · traffic come to your website so that you can

  20· · · then later monetize that through other

  21· · · opportunities that may arise.

  22· · · · · ·Q.· ·And you don't provide any estimate,

  23· · · right, of how much you contend BuzzFeed could,

  24· · · as you call it, later monetize those 9 million

  25· · · page views?· Right?


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  ·1· · · · · ·A.· ·Well, no.· I contend that the value

  ·2· · · of that traffic is approximately $14 million.

  ·3· · · · · ·Q.· ·And does that $14 million represent

  ·4· · · the down-the-road benefit, shall we call it,

  ·5· · · down-the-road revenue for BuzzFeed?· What does

  ·6· · · it reflect?

  ·7· · · · · ·A.· ·Again it reflects the value of that

  ·8· · · traffic.

  ·9· · · · · ·Q.· ·Well, that is how much BuzzFeed

  10· · · would have paid?· Right?· That's a cost

  11· · · actually?· Right?· It is how much it would

  12· · · have cost BuzzFeed --

  13· · · · · ·A.· ·Sure.

  14· · · · · ·Q.· ·-- under your analysis to generate

  15· · · an additional 9 million page views?· Right?

  16· · · · · ·A.· ·It's a cost.

  17· · · · · ·Q.· ·But how do we know whether having

  18· · · spent that $14 million those 9 million page

  19· · · views -- do you have any estimate of how much

  20· · · money BuzzFeed would realize down the road,

  21· · · either immediately or down the road or

  22· · · whatever, from those 9 million page views?

  23· · · · · · · · · ·MR. FRAY-WITZER:· Object.

  24· · · BY MR. SIEGEL:

  25· · · · · ·Q.· ·They spend $14 million, right, but


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  ·1· · · how much are they going to get from it?

  ·2· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·3· · · · · ·You can answer.

  ·4· · · · · ·A.· ·Again it is the future

  ·5· · · opportunities.· But just to go back to it, you

  ·6· · · are right.· It is a cost.

  ·7· · · BY MR. SIEGEL:

  ·8· · · · · ·Q.· ·Right.

  ·9· · · · · ·A.· ·And there is three basic approaches

  10· · · to valuation -- four.· But the three are:

  11· · · market approach, which we used for the

  12· · · business valuation --

  13· · · · · ·Q.· ·Okay.

  14· · · · · ·A.· ·-- income approach, which is one of

  15· · · the ones KPMG used, and then there is a cost

  16· · · approach.· The cost approach is essentially

  17· · · what we used here.· It is the cost to generate

  18· · · that traffic is a measure of the value of that

  19· · · traffic.

  20· · · · · ·Q.· ·Okay.· And just for purposes of the

  21· · · record so I understand, how would you define

  22· · · the income approach?

  23· · · · · ·A.· ·Income approach is based on future

  24· · · earnings, projected out typically five years,

  25· · · with then some terminal period, some defined


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  ·1· · · level of growth over that terminal period --

  ·2· · · · · ·Q.· ·Right.

  ·3· · · · · ·A.· ·-- discounted to the valuation date

  ·4· · · of present value.

  ·5· · · · · ·Q.· ·Okay.· So is income approach

  ·6· · · tantamount to -- I know you used the wording,

  ·7· · · so that is the more -- in layperson's terms is

  ·8· · · that like an estimate of profits?

  ·9· · · · · ·A.· ·Not profits.· EBITDA would be a much

  10· · · more --

  11· · · · · ·Q.· ·EBITDA?

  12· · · · · ·A.· ·-- relevant measure.

  13· · · · · ·Q.· ·And EBITDA as a measure of earnings

  14· · · as opposed to profits?· A measure of earnings?

  15· · · · · ·A.· ·It is really cash flow.

  16· · · · · ·Q.· ·Okay.· Okay.

  17· · · · · · · · So does it make any difference in

  18· · · your analysis to know how much BuzzFeed itself

  19· · · estimated a page view was worth in January of

  20· · · 2017 to it?

  21· · · · · ·A.· ·It would depend on what that measure

  22· · · is, where it stemmed from, and the data

  23· · · supporting it.· So it would depend.

  24· · · · · ·Q.· ·Okay.· Are you familiar, for

  25· · · example, with the term RPM, revenue per


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  ·1· · · thousand page views?

  ·2· · · · · ·A.· ·Revenue per mille.

  ·3· · · · · ·Q.· ·What is that?

  ·4· · · · · ·A.· ·Per mille.

  ·5· · · · · ·Q.· ·Mille?

  ·6· · · · · ·A.· ·Mille, meaning thousand.· Yes.

  ·7· · · · · ·Q.· ·Would it make any difference to you

  ·8· · · to know what BuzzFeed's estimate of its RPM,

  ·9· · · if any, was?

  10· · · · · ·A.· ·Again it would depend on the context

  11· · · of what that is based on.

  12· · · · · ·Q.· ·Right.

  13· · · · · ·A.· ·Timing, what does it cover.· I would

  14· · · have to see that.

  15· · · · · ·Q.· ·Okay.· Are you familiar with the

  16· · · term "native advertising"?

  17· · · · · ·A.· ·Vaguely, yes.

  18· · · · · ·Q.· ·What do you understand native

  19· · · advertising to be, to mean?

  20· · · · · ·A.· ·To be something that is -- I don't

  21· · · want to guess, so please tell me.

  22· · · · · ·Q.· ·No.· I am not going to tell you.         I

  23· · · am asking you do you have any understanding of

  24· · · what the term "native advertising" means.

  25· · · · · ·A.· ·I don't have an answer for that


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  ·1· · · right now.

  ·2· · · · · ·Q.· ·Okay.· Do you know whether BuzzFeed

  ·3· · · engaged in native advertising in January of

  ·4· · · 2017?

  ·5· · · · · ·A.· ·I don't know.

  ·6· · · · · ·Q.· ·Okay.· Now your theory looks at

  ·7· · · total page views for eight articles?· Right?

  ·8· · · · · ·A.· ·The follow-up articles plus the

  ·9· · · original.

  10· · · · · ·Q.· ·Correct.· So your theory asserts,

  11· · · right, that BuzzFeed was unjustly enriched any

  12· · · time anyone clicked on and read or read

  13· · · anything in any of those eight articles?

  14· · · Right?

  15· · · · · ·A.· ·Yes.

  16· · · · · ·Q.· ·Okay.· You don't know how many of

  17· · · those 9 million people ever viewed the

  18· · · dossier, do you?

  19· · · · · ·A.· ·I assume they have all.· It is

  20· · · embedded in the article.

  21· · · · · ·Q.· ·Well, wait a minute.· But you don't

  22· · · know -- right.

  23· · · · · · · · In order to read the dossier, you

  24· · · would have to click on the dossier after being

  25· · · in the article?· Right?


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  ·1· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·2· · · · · ·A.· ·My understanding is it was embedded

  ·3· · · in the article.

  ·4· · · BY MR. SIEGEL:

  ·5· · · · · ·Q.· ·Right.· But in order to read it, you

  ·6· · · needed to click on the embedded link?· Right?

  ·7· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·8· · · · · ·A.· ·Again my understanding is it is

  ·9· · · embedded.

  10· · · BY MR. SIEGEL:

  11· · · · · ·Q.· ·Have you looked at it?

  12· · · · · ·A.· ·At the dossier?· Yes.

  13· · · · · ·Q.· ·Have you looked at how BuzzFeed

  14· · · published the dossier?

  15· · · · · ·A.· ·Yes.

  16· · · · · ·Q.· ·You don't have to read the dossier

  17· · · at all to read any of those articles, do you?

  18· · · · · ·A.· ·That was the reason people went to

  19· · · the article.

  20· · · · · ·Q.· ·How do you know?

  21· · · · · ·A.· ·Because that's why BuzzFeed posted

  22· · · the dossier, was for people to read it.· At

  23· · · least that is what Mr. Smith said.

  24· · · · · ·Q.· ·Okay.· But do you -- do you think

  25· · · that all 9 million people who clicked on all


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  ·1· · · of those articles actually read the dossier?

  ·2· · · · · ·A.· ·I think it is actually probably a

  ·3· · · conservative number.

  ·4· · · · · ·Q.· ·When you click on -- the other seven

  ·5· · · articles that you are talking about don't all

  ·6· · · embed the dossier?· Isn't that right?

  ·7· · · · · ·A.· ·Correct.

  ·8· · · · · ·Q.· ·They link to other articles which

  ·9· · · embed the dossier, to the original article

  10· · · which embeds the dossier?· Right?

  11· · · · · ·A.· ·Correct.

  12· · · · · ·Q.· ·So somebody who read one of those

  13· · · follow-up articles would only have looked at

  14· · · the dossier if they clicked through to the

  15· · · other article and then clicked through to the

  16· · · dossier?· Right?

  17· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  18· · · · · ·A.· ·That's not necessarily the case.

  19· · · BY MR. SIEGEL:

  20· · · · · ·Q.· ·Why?

  21· · · · · ·A.· ·Well, you are saying that is the

  22· · · only way they could have read the dossier.

  23· · · The dossier is on other websites as well that

  24· · · later picked it up from BuzzFeed.

  25· · · · · ·Q.· ·Okay.· But I am saying if you are --


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  ·1· · · if you are saying that BuzzFeed is -- is it

  ·2· · · your assertion that all 9 million -- BuzzFeed

  ·3· · · was unjustly enriched because all 9 million

  ·4· · · people who clicked on any of those articles

  ·5· · · read the dossier?

  ·6· · · · · ·A.· ·My assumption is that all of those

  ·7· · · page views viewed the dossier, yes.

  ·8· · · · · ·Q.· ·And what basis do you have to assume

  ·9· · · that?

  10· · · · · ·A.· ·Again I saw an interview on CNN

  11· · · where Mr. Smith said the only reason they

  12· · · posted it is because they wanted everybody to

  13· · · view it, and so people that went to that

  14· · · article went there to view the dossier.

  15· · · · · ·Q.· ·But what Mr. Smith may have said he

  16· · · wanted doesn't mean that all 9 million people

  17· · · actually read it?· I mean you have no

  18· · · information at all as to what each of those 9

  19· · · million people actually read when they clicked

  20· · · onto any of those eight BuzzFeed articles, do

  21· · · you?

  22· · · · · ·A.· ·Well, the information that I have is

  23· · · what I requested through counsel, which was to

  24· · · ask BuzzFeed to provide the viewership of the

  25· · · articles and the dossier.


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  ·1· · · · · ·Q.· ·Right.

  ·2· · · · · ·A.· ·BuzzFeed provided this information,

  ·3· · · which I am using.

  ·4· · · · · ·Q.· ·And that information from BuzzFeed

  ·5· · · did not measure how many people clicked on the

  ·6· · · dossier?· Right?

  ·7· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·8· · · · · ·A.· ·Again we asked for how many people

  ·9· · · viewed the dossier and the article, and this

  10· · · is what was sent to us.

  11· · · BY MR. SIEGEL:

  12· · · · · ·Q.· ·No.· That is not what I asked you

  13· · · for.· You asked for page views of the

  14· · · articles.

  15· · · · · · · · You have no information, do you --

  16· · · are you assuming that the information that

  17· · · BuzzFeed provided is number of people that

  18· · · actually clicked on the dossier --

  19· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  20· · · BY MR. SIEGEL:

  21· · · · · ·Q.· ·-- or that BuzzFeed even has that

  22· · · information?

  23· · · · · ·A.· ·Again what I said is that I assumed

  24· · · that those 9 million, roughly 9 million

  25· · · views --


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  ·1· · · · · ·Q.· ·Right.

  ·2· · · · · ·A.· ·-- viewed the dossier.

  ·3· · · · · ·Q.· ·And what is that assumption based

  ·4· · · on?

  ·5· · · · · ·A.· ·Again it is based on statements made

  ·6· · · by Mr. Smith.· It is based on the fact that

  ·7· · · people --

  ·8· · · · · ·Q.· ·No, no.· Mr. Smith never said that

  ·9· · · all 9 million people who clicked on any of

  10· · · those eight articles, some of which hadn't

  11· · · even been written when Mr. Smith was talking,

  12· · · in fact read the dossier?· Mr. Smith never

  13· · · said that, did he?

  14· · · · · ·A.· ·I never said he said that.

  15· · · · · ·Q.· ·Okay.· So how -- you have no

  16· · · information at all, do you, as to how many

  17· · · people actually read any portion of the

  18· · · dossier itself?· Isn't that right?

  19· · · · · ·A.· ·All I have is the information

  20· · · provided by BuzzFeed in the context provided

  21· · · by Mr. Smith.

  22· · · · · ·Q.· ·And no, no, no.· And what

  23· · · information did you understand BuzzFeed to

  24· · · provide?

  25· · · · · ·A.· ·The amount of views of the article


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  ·1· · · and dossier.

  ·2· · · · · ·Q.· ·No, no, no.· And what is your

  ·3· · · understanding of the article and dossier?

  ·4· · · BuzzFeed never was asked to and never provided

  ·5· · · any information as to how many people actually

  ·6· · · read the dossier?

  ·7· · · · · ·A.· ·Well, I don't know why they

  ·8· · · wouldn't, but that's what we asked for.

  ·9· · · · · ·Q.· ·No, it wasn't.

  10· · · · · ·A.· ·Well, that is what I asked for.

  11· · · · · ·Q.· ·Okay.· So you may be making a

  12· · · mistaken assumption, isn't that right, that

  13· · · those numbers that BuzzFeed provided you

  14· · · represent number of people that actually

  15· · · clicked on the dossier?· Right?

  16· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  17· · · · · ·A.· ·Again I think if anything it is an

  18· · · understatement of the benefit that BuzzFeed

  19· · · received given the subsequent exposure through

  20· · · the media, the article -- the interview on

  21· · · CNN.

  22· · · BY MR. SIEGEL:

  23· · · · · ·Q.· ·No, no, no.· That's not what I am

  24· · · asking you.· I am not asking you for the

  25· · · benefit.


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  ·1· · · · · · · · I am saying you have no idea sitting

  ·2· · · here today how many people read any portion of

  ·3· · · the dossier on or through BuzzFeed's website?

  ·4· · · Correct?· You have no -- you do not know what

  ·5· · · that number is?· Right?

  ·6· · · · · ·A.· ·I assumed that nine -- that the 9

  ·7· · · million people from the information provided

  ·8· · · to me by BuzzFeed read the article and the

  ·9· · · dossier.

  10· · · · · ·Q.· ·And if that assumption is wrong,

  11· · · does that change your analysis?

  12· · · · · ·A.· ·If I am provided with different

  13· · · information, I will reassess my analysis.

  14· · · · · ·Q.· ·Well, who told you?· Who told you

  15· · · that, that information was the number of

  16· · · people who actually read the dossier?· Have

  17· · · you ever communicated with BuzzFeed?

  18· · · · · ·A.· ·No.

  19· · · · · ·Q.· ·So how could BuzzFeed have told you

  20· · · that?· That is something your counsel may have

  21· · · told you?· Right?

  22· · · · · ·A.· ·Again I asked for the information.

  23· · · I received these views.

  24· · · · · ·Q.· ·Well, you didn't receive it from

  25· · · BuzzFeed?· Right?· BuzzFeed never transmitted


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  ·1· · · anything directly to you?· Right?· You never

  ·2· · · made a request to BuzzFeed for any

  ·3· · · information?· Right?

  ·4· · · · · ·A.· ·Any requests were made through

  ·5· · · counsel.

  ·6· · · · · ·Q.· ·Right.· So you never communicated

  ·7· · · with BuzzFeed to ask BuzzFeed for anything?

  ·8· · · Right?

  ·9· · · · · ·A.· ·Of course not.

  10· · · · · ·Q.· ·And BuzzFeed never provided any

  11· · · information directly to you?· Right?

  12· · · · · ·A.· ·Oh, other than public statements

  13· · · that were made by BuzzFeed.

  14· · · · · ·Q.· ·Okay.· Okay.

  15· · · · · · · · So BuzzFeed -- you have no

  16· · · information, right, other than what your

  17· · · counsel may have told you as to what those

  18· · · 9 million views were, in other words, what

  19· · · people actually viewed?

  20· · · · · ·A.· ·There is no information I have seen

  21· · · that would indicate otherwise.

  22· · · · · ·Q.· ·There is no information you have

  23· · · seen that would indicate that those 9 million

  24· · · people did view the dossier?

  25· · · · · ·A.· ·The --


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  ·1· · · · · ·Q.· ·What information is there?

  ·2· · · · · ·A.· ·The whole purpose of posting the

  ·3· · · dossier, according to Mr. Smith himself, was

  ·4· · · that it would be inappropriate not to post the

  ·5· · · dossier regardless of knowing whether or

  ·6· · · not --

  ·7· · · · · ·Q.· ·Sure.· But come on.

  ·8· · · · · ·A.· ·If I can finish?

  ·9· · · · · ·Q.· ·You can read -- go ahead.

  10· · · · · ·A.· ·It would be inappropriate not to

  11· · · post the dossier so that the American public

  12· · · could view its content.· That was the whole

  13· · · reason they posted.

  14· · · · · ·Q.· ·You think all 9 million people

  15· · · whoever clicked on an article that mentioned

  16· · · the dossier read all the pages of the dossier?

  17· · · Is that seriously what you are asserting?

  18· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  19· · · · · ·You can answer.

  20· · · · · ·A.· ·I assumed the 9 million people based

  21· · · on the information provided by BuzzFeed read

  22· · · the dossier.

  23· · · BY MR. SIEGEL:

  24· · · · · ·Q.· ·When you say read the dossier, what

  25· · · do you mean?


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  ·1· · · · · ·A.· ·Read the dossier.

  ·2· · · · · ·Q.· ·All 35 pages from beginning to end?

  ·3· · · · · ·A.· ·Read the dossier.

  ·4· · · · · ·Q.· ·Okay.· Do you assume that all

  ·5· · · 9 million of those people read the couple of

  ·6· · · sentences that are at issue in this case?

  ·7· · · · · ·A.· ·I assume they read the dossier.

  ·8· · · · · ·Q.· ·Including the couple of issues that

  ·9· · · in this case?

  10· · · · · ·A.· ·I assume they read the entire

  11· · · dossier.

  12· · · · · ·Q.· ·That is a yes-or-no question.· You

  13· · · assume that all 9 million people who clicked

  14· · · on any page on any of those eight articles

  15· · · read the couple of sentences in the dossier

  16· · · that are at issue in this case?· That's a

  17· · · yes-or-no question.

  18· · · · · ·A.· ·And I answered that question --

  19· · · · · ·Q.· ·Yes.

  20· · · · · ·A.· ·-- that I assumed they all read the

  21· · · dossier.

  22· · · · · ·Q.· ·So the answer to my question is yes?

  23· · · · · ·A.· ·That's -- that's exactly what I

  24· · · said.· Yes.

  25· · · · · ·Q.· ·Okay.· What expertise do you have to


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  ·1· · · make that assumption?

  ·2· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·3· · · · · ·A.· ·I have to make an assumption about

  ·4· · · the value, the benefit to BuzzFeed, and so --

  ·5· · · BY MR. SIEGEL:

  ·6· · · · · ·Q.· ·Yes.· But what expertise do you have

  ·7· · · to get into the minds of all 9 million people

  ·8· · · who may have clicked on an article that in

  ·9· · · some way relates to the dossier and make a

  10· · · judgment about whether they read all 35 pages

  11· · · of the dossier?· What expertise do you have on

  12· · · that?

  13· · · · · ·A.· ·The expertise I have is to determine

  14· · · the benefit that BuzzFeed received from

  15· · · posting the dossier, and as I said before, the

  16· · · benefit as established in my report is likely

  17· · · conservative and understated given all of the

  18· · · further perpetuance of this.

  19· · · · · ·Q.· ·That is not the question I asked

  20· · · you.· I asked you what expertise do you have

  21· · · to get into the minds of 9 million people who

  22· · · may have clicked on any of those eight

  23· · · articles?· What expertise do you have to opine

  24· · · that all 9 million of those people read all 35

  25· · · pages of the dossier, including the couple of


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  ·1· · · sentences related to the plaintiffs?

  ·2· · · · · ·A.· ·So I don't have expertise to get

  ·3· · · into 9 million people's minds.· I will make

  ·4· · · that statement.· But I do have expertise to

  ·5· · · make assumptions regarding the benefit that

  ·6· · · BuzzFeed received from the posting of the

  ·7· · · dossier, and that is what I did.

  ·8· · · · · ·Q.· ·Okay.· But you don't have the

  ·9· · · expertise to make that assumption, do you,

  10· · · what exactly all 9 million people who clicked

  11· · · on one of those articles actually read?

  12· · · · · ·A.· ·Based on the information provided to

  13· · · me by BuzzFeed and statements made --

  14· · · · · ·Q.· ·No, no.· You don't know what the

  15· · · information that BuzzFeed provided you was.

  16· · · Your counsel provided you information.

  17· · · BuzzFeed didn't provide you with anything.

  18· · · · · ·A.· ·I will stand corrected.· Based on

  19· · · the information provided to counsel and then

  20· · · provided to me --

  21· · · · · ·Q.· ·Right.

  22· · · · · ·A.· ·-- the 9 million views, that was the

  23· · · basis for my opinion.

  24· · · · · ·Q.· ·Okay.· And if it turns out you are

  25· · · just dead wrong about that assumption, would


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  ·1· · · that change your analysis?

  ·2· · · · · ·A.· ·As I have said before --

  ·3· · · · · ·Q.· ·If it turns out there is no evidence

  ·4· · · that even a million of those people ever read

  ·5· · · anything in the dossier itself, would that

  ·6· · · change your analysis?

  ·7· · · · · ·A.· ·As I said before, if new information

  ·8· · · is available, I will take that into

  ·9· · · consideration and adjust my analysis

  10· · · accordingly.

  11· · · · · ·Q.· ·Okay.· So let's test that.· Let's

  12· · · get document 35.· 45.· I am sorry.

  13· · · · · · · · · ·MS. SCHARY:· 45?

  14· · · · · · · · · ·MR. SIEGEL:· Yes.

  15· · · · · · · · · ·Which exhibit is this?

  16· · · · · · · · · ·THE REPORTER:· 10.· It is

  17· · · · · ·number 10.

  18· · · · · (BuzzFeed news article marked

  19· · · · · Exhibit 10 for identification.)

  20· · · · · · · · · ·(Handing Exhibit 10 to the

  21· · · · · ·witness.

  22· · · · · · · · · ·THE WITNESS:· Thank you.

  23· · · BY MR. SIEGEL:

  24· · · · · ·Q.· ·So my first question to you -- and

  25· · · this is one of the eight articles that you


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  ·1· · · identified that BuzzFeed was unjustly enriched

  ·2· · · by publishing?· Right?

  ·3· · · · · ·A.· ·Yes.

  ·4· · · · · ·Q.· ·So my first question to you is:

  ·5· · · Where does the dossier appear in this article?

  ·6· · · · · · · · · ·(Pause.)

  ·7· · · · · · · · · ·(Witness viewing Exhibit 10.)

  ·8· · · · · ·A.· ·I don't see it appears.

  ·9· · · · · ·Q.· ·So how has BuzzFeed been unjustly

  10· · · enriched by publishing this article?

  11· · · · · ·A.· ·It perpetuates the story of the

  12· · · dossier.

  13· · · · · ·Q.· ·So how does it perpetuate the story

  14· · · of the dossier?

  15· · · · · ·A.· ·It talks directly about Russian

  16· · · interference in the election your.

  17· · · · · ·Q.· ·So your assertion is that any media

  18· · · company that wrote an article about Russian

  19· · · interference in the election has been unjustly

  20· · · enriched by doing so?

  21· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  22· · · · · ·A.· ·No.

  23· · · BY MR. SIEGEL:

  24· · · · · ·Q.· ·Do you think Russia interfered in

  25· · · the election?


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  ·1· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·2· · · · · ·A.· ·I told you I don't know.

  ·3· · · BY MR. SIEGEL:

  ·4· · · · · ·Q.· ·So how was it unjust for BuzzFeed to

  ·5· · · publish an article about John Lewis' opinion

  ·6· · · about Russian interference in the election?

  ·7· · · How is that -- how has BuzzFeed been unjustly

  ·8· · · enriched by doing that?

  ·9· · · · · ·A.· ·It is my understanding there were

  10· · · links contained in here that took you back to

  11· · · the dossier.

  12· · · · · ·Q.· ·Well, do you see any?

  13· · · · · ·A.· ·Well, there are links, but I don't

  14· · · see this on the website.

  15· · · · · · · · · ·MR. FRAY-WITZER:· And I will

  16· · · · · ·just note that there are links in

  17· · · · · ·the original article.· I am looking

  18· · · · · ·at it online right now.

  19· · · · · · · · · ·MR. SIEGEL:· Okay.· I was

  20· · · · · ·going to ask that.

  21· · · · · · · · · ·THE WITNESS:· So this is not

  22· · · · · ·a complete representation.

  23· · · · · · · · · ·(Pointing to Exhibit 10.)

  24· · · · · · · · · ·MS. SCHARY:· I will pull it

  25· · · · · ·up.


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  ·1· · · · · · · · · ·MR. SIEGEL:· Let's go off the

  ·2· · · · · ·record.

  ·3· · · · · · · · · ·MR. FRAY-WITZER:· Actually it

  ·4· · · · · ·is in the document.

  ·5· · · · · · · · · ·MR. SIEGEL:· All right.

  ·6· · · · · · · · · ·MR. FRAY-WITZER:· If you go

  ·7· · · · · ·to --

  ·8· · · · · · · · · ·THE VIDEOGRAPHER:· Are you

  ·9· · · · · ·going off the record?

  10· · · · · · · · · ·MR. SIEGEL:· Yes.· We will go

  11· · · · · ·back on in a second.

  12· · · · · · · · · ·THE VIDEOGRAPHER:· Are we

  13· · · · · ·going off?

  14· · · · · · · · · ·MR. SIEGEL:· Yes.

  15· · · · · · · · · ·THE VIDEOGRAPHER:· I am not

  16· · · · · ·off yet.· Give me a chance.

  17· · · · · · · · · ·MR. SIEGEL:· Okay.

  18· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  19· · · · · ·is 3:04.· We are off the record.

  20· · · · · · · · · ·(Recess taken at 3:04 p.m.)

  21· · · · · · · · · ·(Recess ended at 3:05 p.m.)

  22· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  23· · · · · ·is 3:05.

  24· · · BY MR. SIEGEL:

  25· · · · · ·Q.· ·So I think what we have established


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  ·1· · · here is that on page 10 of this article,

  ·2· · · right, there was a link in the sentence

  ·3· · · "BuzzFeed News published the dossier"?· Right?

  ·4· · · · · ·A.· ·Correct.

  ·5· · · · · ·Q.· ·Now but under your analysis, right,

  ·6· · · let's go to page 5.

  ·7· · · · · · · · · ·(Witness complying.)

  ·8· · · · · ·Q.· ·If someone had clicked on this

  ·9· · · article, right, and they had stopped at

  10· · · page 5, right, and they read the words "Many

  11· · · chose to highlight Lewis' civil rights work

  12· · · including his being beaten by police in Selma

  13· · · in 1965 to counter Trump's claim that he was

  14· · · 'all talk,'" right, if a reader clicked on

  15· · · this page and stopped there --

  16· · · · · ·A.· ·Um-hmm.

  17· · · · · ·Q.· ·-- right?· Under your analysis,

  18· · · though, correct, that reader is included in

  19· · · your estimate of how BuzzFeed has been

  20· · · unjustly enriched?· Right?

  21· · · · · ·A.· ·I assumed that readers of this

  22· · · clicked through to or went down to where it

  23· · · said BuzzFeed published the dossier.

  24· · · · · ·Q.· ·So you assumed that every single --

  25· · · the hundreds of thousands of readers of this


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  ·1· · · article got all the way through all the

  ·2· · · Twitter postings, all the pictures, all the

  ·3· · · copy, went to page 10, and then on page 10

  ·4· · · they clicked on the word "published"?· Right?

  ·5· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·6· · · BY MR. SIEGEL:

  ·7· · · · · ·Q.· ·And after clicking on the word

  ·8· · · "published," they then clicked which brought

  ·9· · · them to another article, they then found the

  10· · · dossier, and read the dossier from beginning

  11· · · to end?· That's what you assumed?

  12· · · · · ·A.· ·What I assumed is that the viewers

  13· · · of this --

  14· · · · · ·Q.· ·Right.

  15· · · · · ·A.· ·-- I was measuring the benefit to

  16· · · BuzzFeed.· Right?

  17· · · · · ·Q.· ·Okay.

  18· · · · · ·A.· ·So the measure of the benefit to

  19· · · BuzzFeed was the views of BuzzFeed's original

  20· · · article publishing the dossier and any

  21· · · follow-up articles which mentioned reference

  22· · · linked back to the dossier.· Again I still

  23· · · contend that that is likely a conservative

  24· · · measure due to the other benefits that

  25· · · BuzzFeed received.


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  ·1· · · · · ·Q.· ·Why are you merely referencing the

  ·2· · · dossier be an unjust benefit to BuzzFeed if

  ·3· · · somebody who read this article never read the

  ·4· · · dossier even under your theory?

  ·5· · · · · ·A.· ·It perpetuates the story to read the

  ·6· · · dossier, go see the dossier.

  ·7· · · · · ·Q.· ·So your contention is that any news

  ·8· · · story that as you call it perpetuates the

  ·9· · · dossier is unjust and that that news

  10· · · organization should give back the benefit of

  11· · · that to Mr. Gubarev?

  12· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  13· · · · · ·A.· ·I never stated that this was a

  14· · · measure of damages.· I said it was the benefit

  15· · · received --

  16· · · · · ·Q.· ·Right.

  17· · · · · ·A.· ·-- to BuzzFeed.

  18· · · · · ·Q.· ·But why do you think it would be

  19· · · fair for BuzzFeed or any other news

  20· · · organization to have to give back what you

  21· · · call the benefit of reporting about the

  22· · · dossier?

  23· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  24· · · · · ·A.· ·I -- I never said they needed to

  25· · · give back the $14 million.· It was a -- it was


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  ·1· · · an estimate of the benefit received by

  ·2· · · BuzzFeed.

  ·3· · · · · ·Q.· ·Yes.

  ·4· · · · · ·A.· ·That's it.

  ·5· · · · · ·Q.· ·But isn't it your understanding that

  ·6· · · the plaintiffs in this claim are going to

  ·7· · · argue that BuzzFeed should give that

  ·8· · · $14 million to them?

  ·9· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  10· · · · · ·A.· ·I don't know that.

  11· · · BY MR. SIEGEL:

  12· · · · · ·Q.· ·Then what relevance does that

  13· · · opinion have to this case?

  14· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  15· · · · · ·A.· ·From a legal standpoint, I have no

  16· · · idea.

  17· · · BY MR. SIEGEL:

  18· · · · · ·Q.· ·Well, you have testified about your

  19· · · -- do you think -- are you comfortable with

  20· · · that, the notion that by publishing "Many

  21· · · chose to highlight Lewis' civil rights work

  22· · · including his being beaten by police in Selma

  23· · · in 1965" that BuzzFeed should have to give to

  24· · · the plaintiffs any benefit that they might

  25· · · have received from publishing that?


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  ·1· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·2· · · · · ·A.· ·Again I never said they should have

  ·3· · · to give anything.· That was not a contention

  ·4· · · made.· That was not an assumption made.· That

  ·5· · · was not a statement made, either in my

  ·6· · · testimony now or in my report.

  ·7· · · BY MR. SIEGEL:

  ·8· · · · · ·Q.· ·Okay.· Well, then let me ask you

  ·9· · · this.· Let's get out your report again.

  10· · · · · · · · · ·(Witness complying.)

  11· · · · · ·Q.· ·Let's go to 13.

  12· · · · · ·A.· ·Which report?

  13· · · · · ·Q.· ·The supplemental one is fine.· I am

  14· · · sorry.· I may be wrong.

  15· · · · · · · · · ·(Witness complying.)

  16· · · · · ·Q.· ·Okay.· Let's first go to page 2.

  17· · · · · · · · · ·(Witness complying.)

  18· · · · · ·Q.· ·Under the assignment, do you see

  19· · · that, the second paragraph?· It says:

  20· · · · · · · · "Specifically, Consor was asked to

  21· · · analyze and provide an opinion on the damages

  22· · · stemming from the defendants' publication of

  23· · · an online article and eight follow-up

  24· · · articles."

  25· · · · · · · · Right?


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  ·1· · · · · · · · "Our analysis included:· the lost

  ·2· · · business value of XBT, and the benefit to

  ·3· · · BuzzFeed from the millions of views the

  ·4· · · defamatory articles received."

  ·5· · · · · · · · So how do you square that with what

  ·6· · · you just testified?

  ·7· · · · · ·A.· ·I --

  ·8· · · · · ·Q.· ·That you don't understand your

  ·9· · · benefit analysis to be part of your opinion on

  10· · · damages?

  11· · · · · ·A.· ·That's not --

  12· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  13· · · · · ·A.· ·-- what this reads.· That's not what

  14· · · it says.

  15· · · BY MR. SIEGEL:

  16· · · · · ·Q.· ·That is not what your meant by that?

  17· · · · · ·A.· ·It has nothing to do with what I

  18· · · meant.· It is not what it says.

  19· · · · · ·Q.· ·It is your words, so.

  20· · · · · · · · MR. FRAY-WITZER:· I think you're

  21· · · reading the wrong report.· I could be wrong.

  22· · · · · · · · MR. SIEGEL:· No.· I am reading the

  23· · · supplemental expert report.

  24· · · · · · · · · ·MR. FRAY-WITZER:· Okay.

  25· · · BY MR. SIEGEL:


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  ·1· · · · · ·Q.· ·So go ahead and explain what you

  ·2· · · meant by that.

  ·3· · · · · ·A.· ·Well, let me just read it.· This is

  ·4· · · in plain English.· At least I tried to write

  ·5· · · it that way.

  ·6· · · · · · · · "Specifically, Consor was asked to

  ·7· · · analyze and provide an opinion on the damages

  ·8· · · stemming from the defendants' publication of

  ·9· · · an online article, a defamatory article, and

  10· · · eight follow-up articles, the follow-up

  11· · · articles, collectively the defamatory

  12· · · articles."

  13· · · · · · · · Let's break it down one sentence at

  14· · · a time here.

  15· · · · · ·Q.· ·Fair enough.

  16· · · · · ·A.· ·The damages stemming from the

  17· · · defamatory article and the follow-up article

  18· · · specifically tie back to the lost business

  19· · · value of XBT.

  20· · · · · ·Q.· ·But not the benefit analysis?

  21· · · · · ·A.· ·It doesn't say that.

  22· · · · · ·Q.· ·Okay.· That's the way I read it.· It

  23· · · is your words.

  24· · · · · ·A.· ·It doesn't say that.· Let me read

  25· · · the second sentence.· Can I read the second


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  ·1· · · sentence?

  ·2· · · · · ·Q.· ·Sure.

  ·3· · · · · ·A.· ·Let's clarify this.· "Our analysis

  ·4· · · included" -- we are talking about an

  ·5· · · analysis -- "a broad analysis included the

  ·6· · · lost business value of XBT and the benefit to

  ·7· · · BuzzFeed from the millions of views the

  ·8· · · defamatory articles received."

  ·9· · · · · · · · So I don't see the -- I don't see

  10· · · how you are reading it differently.

  11· · · · · ·Q.· ·Okay.· So I understand what you are

  12· · · saying, now these are two separate

  13· · · calculations?· Right?· One is you are

  14· · · calculating how much, you are estimating how

  15· · · much did the publication of these eight

  16· · · articles cause XBT to lose business value?

  17· · · Right?

  18· · · · · ·A.· ·Correct.

  19· · · · · ·Q.· ·Okay.· And then separately what was

  20· · · the benefit to BuzzFeed?· And you are saying

  21· · · that that is not what you would call an

  22· · · estimate of damages, that second part?

  23· · · · · ·A.· ·I will testify at trial if asked

  24· · · about the benefit to BuzzFeed.

  25· · · · · ·Q.· ·Okay.


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  ·1· · · · · ·A.· ·Whether that is used as --

  ·2· · · · · ·Q.· ·Fair enough.

  ·3· · · · · ·A.· ·-- some measure of one thing or

  ·4· · · another, I'm not a lawyer.· I don't know.

  ·5· · · · · ·Q.· ·Right.· Let me ask you one last

  ·6· · · question then.· Just in terms of the lost

  ·7· · · business value calculation, do you have any

  ·8· · · ability to apportion how much of your estimate

  ·9· · · of lost value is attributable to each of these

  10· · · eight articles?

  11· · · · · ·A.· ·No.

  12· · · · · ·Q.· ·Okay.· So it is the combined effect

  13· · · of all of them?

  14· · · · · ·A.· ·It is the cumulative effect.

  15· · · · · ·Q.· ·Okay.· Okay.· So that then will lead

  16· · · to my next question, which -- ah-ha.· Okay.

  17· · · · · · · · So am I correct -- I think this may

  18· · · be what Evan is referring to -- that while in

  19· · · your first report you used the words "unjust

  20· · · enrichment," you did not use those words in

  21· · · the second report?

  22· · · · · ·A.· ·Correct.

  23· · · · · ·Q.· ·And I take it that was deliberate?

  24· · · · · ·A.· ·Correct.

  25· · · · · ·Q.· ·Okay.· Okay.· So while you are


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  ·1· · · making no value judgment about whether

  ·2· · · BuzzFeed was or wasn't unjustly enriched, this

  ·3· · · is a straightforward calculation, estimate as

  ·4· · · you contend, of the benefit to having

  ·5· · · published the dossier and follow-up reporting

  ·6· · · regarding the dossier?

  ·7· · · · · ·A.· ·As measured by the value of those

  ·8· · · page views.

  ·9· · · · · ·Q.· ·Okay.· And just so -- just using

  10· · · document 45 as an example, okay?

  11· · · · · ·A.· ·I am sorry.· Which one is that?

  12· · · · · ·Q.· ·Document 45 is the John Lewis

  13· · · article.

  14· · · · · ·A.· ·Exhibit 10?

  15· · · · · ·Q.· ·Yes.

  16· · · · · · · · So just, and again without saying

  17· · · whether it is unjust or not, right, if a

  18· · · person -- if one of those 9 million people,

  19· · · right, clicked on this article, and they only

  20· · · read to the middle of page 5, the sentence

  21· · · that "Many chose to highlight Lewis' civil

  22· · · rights work" with the picture of Selma, okay,

  23· · · that page view would still be included in your

  24· · · analysis of the benefit to BuzzFeed?· Right?

  25· · · · · ·A.· ·Yes.· Because again this is the best


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  ·1· · · indication based on the data we have --

  ·2· · · · · ·Q.· ·Okay.

  ·3· · · · · ·A.· ·-- of the benefit to BuzzFeed.· And

  ·4· · · again I contend that it is likely a

  ·5· · · conservative indication due to the other

  ·6· · · publicity and benefit that BuzzFeed received

  ·7· · · from the -- the story.

  ·8· · · · · ·Q.· ·Okay.

  ·9· · · · · ·A.· ·From the dossier.

  10· · · · · ·Q.· ·Let's look at page 43.

  11· · · · · ·A.· ·Of what?

  12· · · · · ·Q.· ·I am sorry.· Document 43.

  13· · · · · · · · · ·MR. SIEGEL:· Never mind.        I

  14· · · · · ·will scratch that.

  15· · · · · · · · · ·Let's get the dossier itself.

  16· · · · · · · · · ·Also let me look at 39.

  17· · · · · (Company Intelligence Report

  18· · · · · 2016/080, bearing production numbers

  19· · · · · P-D 000021 through P-D 000055 marked

  20· · · · · Exhibit 11 for identification.)

  21· · · · · · · · · ·MR. SIEGEL:· What are we on?

  22· · · · · ·11?

  23· · · · · · · · · ·THE REPORTER:· 11 is next.

  24· · · · · · · · · ·(Handing Exhibit 11 to the

  25· · · · · ·witness.)


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  ·1· · · BY MR. SIEGEL:

  ·2· · · · · ·Q.· ·Okay.· So I will represent to you

  ·3· · · that 11 obviously is the dossier.· Go to what

  ·4· · · is Bates numbered 27.

  ·5· · · · · · · · (Witness complying.)

  ·6· · · · · ·Q.· ·Okay.· The bottom, page 27 says:

  ·7· · · · · · · · "Inter alia, source E, acknowledged

  ·8· · · that the Russian regime had been behind the

  ·9· · · recent leak of embarrassing email messages

  10· · · emanating from the Democratic National

  11· · · Committee to the Wikileaks platform."

  12· · · · · · · · Right?

  13· · · · · ·A.· ·That's what it reads, yes.

  14· · · · · ·Q.· ·And your calculation of the benefit

  15· · · to BuzzFeed includes the benefit, any benefit

  16· · · that BuzzFeed received from publishing that

  17· · · information?· Right?

  18· · · · · ·A.· ·I am sorry.· I am not understanding

  19· · · your question.

  20· · · · · ·Q.· ·Well, this is one of the claims in

  21· · · the dossier, right, that I just read, that the

  22· · · Russian regime has been behind the recently

  23· · · given embarrassing email messages, right, from

  24· · · the DNC?· Right?

  25· · · · · ·A.· ·Right.


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  ·1· · · · · ·Q.· ·So your calculation of the benefit

  ·2· · · to BuzzFeed includes any benefit that BuzzFeed

  ·3· · · may have received from publishing the

  ·4· · · information that I just read within the

  ·5· · · dossier?· Right?

  ·6· · · · · ·A.· ·It's from publishing the entire

  ·7· · · dossier.

  ·8· · · · · ·Q.· ·Okay.· And let's look at --

  ·9· · · · · · · · · ·MR. SIEGEL:· This will be

  10· · · · · ·document 39 in your report,

  11· · · · · ·Exhibit 12.

  12· · · · · (BuzzFeed news article marked

  13· · · · · Exhibit 12 for identification.)

  14· · · · · · · · · ·(Handing Exhibit 12 to the

  15· · · · · ·witness.)

  16· · · · · · · · · ·THE WITNESS:· Thank you.

  17· · · BY MR. SIEGEL:

  18· · · · · ·Q.· ·So just to -- you know, just to

  19· · · clarify, this is, of course, the original

  20· · · article, right, in which BuzzFeed embedded the

  21· · · dossier.· So if a reader had read the first

  22· · · two pages of Exhibit 2, right, and stopped

  23· · · there, didn't proceed to actually read the

  24· · · dossier, right, that page view would still be

  25· · · included in your estimate of the benefit to


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  ·1· · · BuzzFeed?· Right?

  ·2· · · · · ·A.· ·Again I had assumed that they viewed

  ·3· · · the entire dossier.

  ·4· · · · · ·Q.· ·I understand you assumed that.

  ·5· · · · · ·A.· ·Yes.

  ·6· · · · · ·Q.· ·But what I am asking you is that

  ·7· · · even if your assumption was wrong -- right?

  ·8· · · · · ·A.· ·Um-hmm.

  ·9· · · · · ·Q.· ·Even if there was a reader who

  10· · · clicked on this article and only read to the

  11· · · end of the article itself, right, on page 2,

  12· · · that reader would still be included in your

  13· · · calculation of the benefit to BuzzFeed, that

  14· · · page view would still be included?

  15· · · · · ·A.· ·And if additional information is

  16· · · provided that shows that this -- that this is

  17· · · not the case, then I would take that into

  18· · · consideration and adjust my analysis.

  19· · · · · ·Q.· ·Okay.· And if a reader read page 1,

  20· · · page 2, and then read page 1 of the dossier,

  21· · · which is page 3 of this exhibit, right, but

  22· · · didn't click through to any of the other 34

  23· · · pages of the dossier, right, that reader, that

  24· · · page view, would also be included in your

  25· · · benefit -- in your calculation of the benefit


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  ·1· · · to BuzzFeed?

  ·2· · · · · ·A.· ·Yes.

  ·3· · · · · ·Q.· ·Okay.· Are you aware that BuzzFeed

  ·4· · · redacted the names of the plaintiffs from the

  ·5· · · dossier in early February?

  ·6· · · · · ·A.· ·Yes.

  ·7· · · · · ·Q.· ·So but your calculation of benefit

  ·8· · · includes page views that occurred after that?

  ·9· · · Right?

  10· · · · · ·A.· ·It does.

  11· · · · · ·Q.· ·So somebody who clicked on the

  12· · · dossier after early February, or an article or

  13· · · the dossier, would not have been able to read,

  14· · · to identify who the plaintiffs are?· Right?

  15· · · · · ·A.· ·No.

  16· · · · · ·Q.· ·So --

  17· · · · · ·A.· ·That's not correct.

  18· · · · · ·Q.· ·No?

  19· · · · · ·A.· ·No.

  20· · · · · ·Q.· ·And why do you say that?

  21· · · · · ·A.· ·Because even the supposed apology in

  22· · · articles that reference to it specifically

  23· · · name Mr. Gubarev, XBT and Webzilla have been

  24· · · redacted.· You can't unring that bell.

  25· · · · · ·Q.· ·Well, but if somebody had -- if


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  ·1· · · somebody -- let's just take document 39,

  ·2· · · right, which is Exhibit 12.· The original

  ·3· · · publication of that article, right --

  ·4· · · · · ·A.· ·Um-hmm.

  ·5· · · · · ·Q.· ·-- that article is still on

  ·6· · · BuzzFeed's website?· Right?

  ·7· · · · · ·A.· ·Correct.

  ·8· · · · · ·Q.· ·So if somebody had clicked on that

  ·9· · · article in July of 2017, right, that would be

  10· · · a page view that is included in your analysis

  11· · · of benefit?· Right?

  12· · · · · ·A.· ·Yes.

  13· · · · · ·Q.· ·But if somebody had clicked on that

  14· · · article in July of 2017 they would have

  15· · · learned no information -- and even if they

  16· · · clicked through and read the entire dossier,

  17· · · right, that person would have learned nothing

  18· · · attributable to Gubarev, XBT or Webzilla?

  19· · · Right?

  20· · · · · ·A.· ·Again that -- there is the finite

  21· · · assumptions that you are making there, and you

  22· · · can't unring the bell that the names had been

  23· · · included in the dossier.· They are later

  24· · · referenced even today in articles on Recode

  25· · · and other sites, CNN, saying that BuzzFeed


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  ·1· · · apologized, never redacted but apologized, or

  ·2· · · they redacted, never retracted the statements,

  ·3· · · and it still mentions in those Gubarev, XBT

  ·4· · · and Webzilla.

  ·5· · · · · ·Q.· ·How do you know that a person

  ·6· · · clicking on that article in July 2017 has ever

  ·7· · · read that in Recode?

  ·8· · · · · ·A.· ·The fact that you can't -- the cat

  ·9· · · is out of the bag.· You can't put it back in.

  10· · · And so the measure of benefit to BuzzFeed we

  11· · · used conservatively was the views of the

  12· · · original article and the follow-up articles.

  13· · · That is the best indication that we have based

  14· · · on the data available of the benefit received.

  15· · · · · ·Q.· ·Okay.· But again you are making an

  16· · · assumption that every person who clicked on

  17· · · any of the eight BuzzFeed articles you are

  18· · · talking about after the plaintiffs' names were

  19· · · redacted, and even if they read the dossier on

  20· · · BuzzFeed's site, that they somehow knew who

  21· · · the plaintiffs were, who those names that had

  22· · · been redacted were?

  23· · · · · ·A.· ·I am sorry.· Ask the question again?

  24· · · · · ·Q.· ·Yes.· How -- I understand how you

  25· · · could be arguing that BuzzFeed still -- under


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  ·1· · · your theory BuzzFeed got some benefit from the

  ·2· · · continued publication of the dossier after the

  ·3· · · plaintiffs filed their lawsuit, but if a

  ·4· · · person was not previously familiar with XBT,

  ·5· · · Webzilla or Gubarev, and that person clicked

  ·6· · · on the website, on that story, right, in

  ·7· · · Exhibit 12 --

  ·8· · · · · ·A.· ·Um-hmm.

  ·9· · · · · ·Q.· ·-- in July of 2017, and that person

  10· · · read the entire dossier --

  11· · · · · ·A.· ·Um-hmm.

  12· · · · · ·Q.· ·-- after reading the entire dossier,

  13· · · they would still have never heard the names

  14· · · XBT, Gubarev and Webzilla, how has BuzzFeed

  15· · · benefitted from doing anything vis-a-vis the

  16· · · plaintiffs at least in that scenario?

  17· · · · · ·A.· ·What do you mean benefitted from the

  18· · · plaintiffs?

  19· · · · · ·Q.· ·What has Buzzfeed benefitted from?

  20· · · In other words, what benefit to BuzzFeed are

  21· · · you claiming has happened by virtue of that

  22· · · reader who clicks in July of 2017, reads the

  23· · · dossier, and still has no idea that this has

  24· · · anything to do with any of the plaintiffs?

  25· · · · · ·A.· ·So that the benefit that we measured


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  ·1· · · was the traffic that BuzzFeed attained from

  ·2· · · publishing the original article and the

  ·3· · · follow-up articles.· I mean that's -- that's

  ·4· · · the benefit that we measured.

  ·5· · · · · ·Q.· ·Okay.· Irrespective of whether or

  ·6· · · not the plaintiffs were mentioned, explicitly

  ·7· · · mentioned?

  ·8· · · · · ·A.· ·Irrespective.

  ·9· · · · · ·Q.· ·Okay.· Are you assuming that all of

  10· · · the 9 million people only read one article but

  11· · · not any others?

  12· · · · · ·A.· ·What do you mean?

  13· · · · · ·Q.· ·Well, in other words, let's assume

  14· · · that a person read all eight articles.

  15· · · · · ·A.· ·Um-hmm.

  16· · · · · ·Q.· ·Right?· Is that -- can you imagine

  17· · · that there are people who might have looked at

  18· · · all eight articles?· Is that an unreasonable

  19· · · assumption to make?

  20· · · · · ·A.· ·There could have been.

  21· · · · · ·Q.· ·Okay.· That person didn't read the

  22· · · dossier, but would it also be reasonable to

  23· · · assume that that person didn't read the

  24· · · dossier nine times?· Right?

  25· · · · · ·A.· ·That doesn't make a difference in


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  ·1· · · the analysis that we have done here.

  ·2· · · · · ·Q.· ·Okay.

  ·3· · · · · ·A.· ·Again based on the data we have,

  ·4· · · based on the information provided to us by

  ·5· · · BuzzFeed, it was a measure of the value of

  ·6· · · those page views, and that measurement of

  ·7· · · value, as we went through this earlier, if

  ·8· · · BuzzFeed had to generate that same level of

  ·9· · · traffic through the use of an ad campaign on a

  10· · · search engine such as Google what would it

  11· · · have cost to get that traffic.· So it is

  12· · · irrespective.

  13· · · · · ·Q.· ·Page views of the article.· So we

  14· · · can go round and round in circles.· But okay.

  15· · · · · · · · Would it matter to you, to your

  16· · · analysis, if somebody -- well, let me ask you

  17· · · this.

  18· · · · · · · · Your analysis of how much it would

  19· · · have cost to as I think you would call it

  20· · · drive 9 million people to a page on the

  21· · · BuzzFeed site, right, that's what you are

  22· · · measuring?· The cost of an ad campaign -- of a

  23· · · marketing campaign to do that, to bring

  24· · · 9 million people to the BuzzFeed site?· Right?

  25· · · · · ·A.· ·I am confused.· But let me check


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  ·1· · · that over.

  ·2· · · · · ·Q.· ·All right.

  ·3· · · · · ·A.· ·I am measuring the benefit to

  ·4· · · BuzzFeed through generating 9 million views

  ·5· · · worth of traffic to the website.

  ·6· · · · · ·Q.· ·Okay.· Now what if somebody who read

  ·7· · · one of those eight articles was already on the

  ·8· · · website when they got to that article.· Would

  ·9· · · that make any difference in your analysis?

  10· · · · · ·A.· ·It -- no.· Because it still -- the

  11· · · measure -- the measure here is -- it's the

  12· · · cost approach.· We talked about this.· Right?

  13· · · · · ·Q.· ·Right.

  14· · · · · ·A.· ·So it is still if that had to be

  15· · · replicated again, what is the value of that

  16· · · traffic, of those page views.· And it doesn't

  17· · · change the premise or the methodology used.

  18· · · · · ·Q.· ·But my question is I think what --

  19· · · my understanding of the marketing campaign

  20· · · that you are talking about is directed at

  21· · · people who are not already on the BuzzFeed

  22· · · website.

  23· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  24· · · BY MR. SIEGEL:

  25· · · · · ·Q.· ·Isn't that right?


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  ·1· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  ·2· · · · · ·A.· ·We're stepping back from that.

  ·3· · · BY MR. SIEGEL:

  ·4· · · · · ·Q.· ·Okay.

  ·5· · · · · ·A.· ·We have to take a bigger picture

  ·6· · · view of this.

  ·7· · · · · ·Q.· ·Okay.

  ·8· · · · · ·A.· ·It is just strictly a measure of the

  ·9· · · value of 9 million views.· If you went to

  10· · · BuzzFeed tomorrow and said you have got to

  11· · · generate 9 million views, you have got to get

  12· · · them right away, this is how much it would

  13· · · cost BuzzFeed to generate those views from a

  14· · · nonorganic perspective, from a demand, pushing

  15· · · demand to get those views.

  16· · · · · ·Q.· ·And does it matter whether a million

  17· · · of those views were people who were already on

  18· · · the BuzzFeed website?

  19· · · · · ·A.· ·It -- it -- no.· It is still -- a

  20· · · million of the people?· It is still a view.

  21· · · If you have to push that 9 million views, it

  22· · · is still the same concept.

  23· · · · · ·Q.· ·So even if one of those people -- so

  24· · · you are saying it doesn't make any difference

  25· · · whether a person views two pages on BuzzFeed


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  ·1· · · or four pages on BuzzFeed or six pages on

  ·2· · · BuzzFeed?

  ·3· · · · · ·A.· ·I am saying to get the 9 million

  ·4· · · views that were received by the eight

  ·5· · · articles --

  ·6· · · · · ·Q.· ·All right.

  ·7· · · · · ·A.· ·-- the cost of that, and, therefore,

  ·8· · · the benefit to BuzzFeed was the $14 million.

  ·9· · · · · ·Q.· ·But that is -- the $14 million,

  10· · · right --

  11· · · · · ·A.· ·And it's --

  12· · · · · ·Q.· ·-- isn't that the cost of bringing

  13· · · somebody to BuzzFeed.com?· Right?

  14· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  15· · · · · ·A.· ·No.

  16· · · BY MR. SIEGEL:

  17· · · · · ·Q.· ·Is it the cost of bringing them to a

  18· · · specific article?· Is that what you are

  19· · · asserting?

  20· · · · · ·A.· ·It could be to -- we discussed this

  21· · · with Ford, right, where it could have been --

  22· · · the first one could be the Ford main website

  23· · · and the second ad could be to the new

  24· · · Expedition website.· And so it could be to the

  25· · · main website.· It could be to a specific link.


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  ·1· · · · · · · · · ·MR. SIEGEL:· Let's get the

  ·2· · · · · ·document that shows the page views.

  ·3· · · · · ·No, no, no.· The document.· The

  ·4· · · · · ·Excel spreadsheet.

  ·5· · · · · · · · · ·Can we mark this as

  ·6· · · · · ·Exhibit 13?

  ·7· · · · · (One-page chart marked Exhibit 13 for

  ·8· · · · · identification.)

  ·9· · · · · · · · · ·MR. FRAY-WITZER:· Can we take

  10· · · · · ·a break?

  11· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  12· · · · · ·is 3:31.· We are off the record.

  13· · · · · · · · · ·(Recess taken at 3:31 p.m.)

  14· · · · · · · · · ·(Recess ended at 3:46 p.m.)

  15· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  16· · · · · ·is 3:47.· We are back on the record.

  17· · · BY MR. SIEGEL:

  18· · · · · ·Q.· ·Okay.· Mr. Anderson, I am going to

  19· · · -- you know, I am going to do something a

  20· · · little unconventional, because I think as you

  21· · · know one of the difficulties of dealing with

  22· · · websites is they don't always look exactly on

  23· · · paper as they do on a machine.· I am going to

  24· · · ask you to look at it.

  25· · · · · · · · · ·(Handing laptop computer to


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  ·1· · · · · ·the witness.)

  ·2· · · · · · · · · ·MR. SIEGEL (addressing the

  ·3· · · · · ·videographer):· If you could sort of

  ·4· · · · · ·hone in on the computer?· Is that

  ·5· · · · · ·possible?

  ·6· · · · · · · · · ·THE VIDEOGRAPHER:· Sure.

  ·7· · · BY MR. SIEGEL:

  ·8· · · · · ·Q.· ·This is the first article, the

  ·9· · · article they published the dossier itself.

  10· · · · · · · · This is going to get doubly tricky.

  11· · · · · · · · So what I wanted just to clarify is

  12· · · that -- so, you know, this is the top of the

  13· · · article?· Right?· This is where the dossier is

  14· · · embedded within the article.· Right?

  15· · · · · ·A.· ·Right.

  16· · · · · ·Q.· ·Is it still your assumption that

  17· · · everyone who read this article would have both

  18· · · read this front page of the dossier and then

  19· · · you would have to click through, right, you

  20· · · would have to click --

  21· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

  22· · · BY MR. SIEGEL:

  23· · · · · ·Q.· ·-- to get to each of the next 34

  24· · · pages?

  25· · · · · · · · · ·MR. FRAY-WITZER:· Can I just


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  ·1· · · · · ·say you don't have to click?· Not

  ·2· · · · · ·even once?

  ·3· · · · · · · · · ·MR. SIEGEL:· You can scroll

  ·4· · · · · ·down?

  ·5· · · · · · · · · ·MS. SCHARY:· Scroll.

  ·6· · · · · · · · · ·MR. SIEGEL:· I'm sorry.

  ·7· · · BY MR. SIEGEL:

  ·8· · · · · ·Q.· ·You can either click each one or you

  ·9· · · could scroll down through all 34 or all 35 of

  10· · · them, right, and your assumption is that every

  11· · · person who came to this article also looked at

  12· · · the dossier as it was embedded here and either

  13· · · clicked through or scrolled through all 35

  14· · · pages and read all of them?

  15· · · · · ·A.· ·No.· So let me clarify.

  16· · · · · ·Q.· ·Okay.

  17· · · · · ·A.· ·Because I think I -- I think I tried

  18· · · to do it in a very unclear way --

  19· · · · · ·Q.· ·Okay.

  20· · · · · ·A.· ·-- before we went off the record.

  21· · · · · · · · The assumption, and I stated it in

  22· · · my report --

  23· · · · · ·Q.· ·Okay.

  24· · · · · ·A.· ·-- is that all we are looking at is

  25· · · the value to BuzzFeed or the benefit BuzzFeed


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  ·1· · · received from the views to the pages.

  ·2· · · · · ·Q.· ·Okay.

  ·3· · · · · ·A.· ·Regardless of whether they read all,

  ·4· · · part, or none of the entire dossier.

  ·5· · · · · ·Q.· ·Okay.

  ·6· · · · · ·A.· ·It is still the value BuzzFeed

  ·7· · · received from posting the dossier and the

  ·8· · · subsequent views of those pages.

  ·9· · · · · ·Q.· ·And I just want to make sure.· When

  10· · · you say pages, it could be a page in the

  11· · · article, not necessarily in the dossier

  12· · · itself?

  13· · · · · ·A.· ·Correct.

  14· · · · · ·Q.· ·Okay.

  15· · · · · · · · · ·(Handing laptop computer back

  16· · · · · ·to Mr. Siegel.)

  17· · · · · ·A.· ·And that's how we -- that is how it

  18· · · is explained in the report, too.

  19· · · · · ·Q.· ·This is Exhibit 13.

  20· · · · · · · · · ·(Handing Exhibit 13 to the

  21· · · · · ·witness.

  22· · · · · ·Q.· ·And this is the exhibit that you

  23· · · identify in the -- you cite in your report as

  24· · · the page view numbers that BuzzFeed produced,

  25· · · and actually your clarification just took care


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  ·1· · · of a number of follow-up questions I had, so

  ·2· · · you may get out of here sooner.

  ·3· · · · · ·A.· ·Okay.

  ·4· · · · · ·Q.· ·So --

  ·5· · · · · ·A.· ·Are we done?

  ·6· · · · · ·Q.· ·We're not done.· I can't give you

  ·7· · · that much.

  ·8· · · · · ·A.· ·All right.· All right.

  ·9· · · · · ·Q.· ·So what I will ask, though, is what

  10· · · was -- you see that, you know, this document,

  11· · · this Excel spreadsheet has a lot of columns

  12· · · with different headers on each of those

  13· · · columns.· What was your understanding of what

  14· · · those headers mean?

  15· · · · · ·A.· ·Where the traffic presumably came

  16· · · from.

  17· · · · · ·Q.· ·Right.· That's correct.· Okay.· And

  18· · · so my question is let's take, for example,

  19· · · the, looking for the original one, number 8.

  20· · · Right?· These reports allege Trump has deep

  21· · · ties to Russia.· Right?

  22· · · · · ·A.· ·Right.

  23· · · · · ·Q.· ·This document indicates that under

  24· · · column F, which says "BuzzFeed," right,

  25· · · 1,293,097 page views came from someone who was


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  ·1· · · already on the BuzzFeed.com site and went to

  ·2· · · that article?

  ·3· · · · · ·A.· ·Right.

  ·4· · · · · ·Q.· ·Right.· And similarly column E, I

  ·5· · · can just represent to you, is the app, the

  ·6· · · mobile app, is the BuzzFeed mobile app.

  ·7· · · · · ·A.· ·Okay.

  ·8· · · · · ·Q.· ·293,465 get there from the BuzzFeed

  ·9· · · app.

  10· · · · · · · · And my question -- so this indicates

  11· · · that of the 6.659 million page views of that

  12· · · article, approximately 1.6 million came from

  13· · · people who were already within the BuzzFeed

  14· · · website in some way.· Does that make any

  15· · · difference to your analysis?

  16· · · · · ·A.· ·No.· But I think it -- I am glad you

  17· · · asked the question.· I think it further

  18· · · highlights the statements I made earlier about

  19· · · how the numbers I presented, the 14 million,

  20· · · is really a conservative number.· Because then

  21· · · the 5 million or so roughly, 1.6 I think you

  22· · · said it was, right, so 5 million roughly --

  23· · · · · ·Q.· ·Right.

  24· · · · · ·A.· ·-- that that went though the

  25· · · original article not from BuzzFeed, came from


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  ·1· · · some outside source.

  ·2· · · · · ·Q.· ·True.

  ·3· · · · · ·A.· ·And any number of those, which I

  ·4· · · don't have that information, which is why I

  ·5· · · didn't -- I say it is conservative -- but any

  ·6· · · number of those may never have been to

  ·7· · · BuzzFeed.· So now it is a new potential user

  ·8· · · and follower of BuzzFeed, which has

  ·9· · · exponentially more value than the further

  10· · · views of other nondossier-related articles,

  11· · · which again is why I said it is really a

  12· · · conservative number.

  13· · · · · ·Q.· ·Okay.· I take it, though, you don't

  14· · · actually based on this information know how

  15· · · many of those 5 million people may have been

  16· · · to BuzzFeed before or were regular readers of

  17· · · BuzzFeed and just got there from somewhere

  18· · · else?· We don't know that?· Right?

  19· · · · · ·A.· ·No, I don't.· And if I had that

  20· · · information, I would do a different analysis.

  21· · · · · ·Q.· ·Okay.· Let's get the SEMrush

  22· · · exhibit.

  23· · · · · · · · · ·MR. SIEGEL:· This is 14.

  24· · · · · (SEMrush Organic Research:· Positions

  25· · · · · Generated on February 16, 2018 marked


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  ·1· · · · · Exhibit 14 for identification.)

  ·2· · · · · · · · · ·(Handing exhibit 14 to the

  ·3· · · · · ·witness.

  ·4· · · · · · · · · ·THE WITNESS:· Thank you.

  ·5· · · BY MR. SIEGEL:

  ·6· · · · · ·Q.· ·Okay.· Exhibit 14 again is your

  ·7· · · document 59, I believe, that you cite in your

  ·8· · · report.· Could you go to page 7 where it says

  ·9· · · "Organic search:· positions 1 through 100"?

  10· · · · · ·A.· ·Is it doc 59 or doc 22?

  11· · · · · ·Q.· ·I am sorry.· It is this one.

  12· · · Exhibit 14.

  13· · · · · ·A.· ·Right.· Okay.

  14· · · · · ·Q.· ·The SEMrush document.

  15· · · · · ·A.· ·And what page?

  16· · · · · ·Q.· ·Page 7.

  17· · · · · · · · · ·(Witness complying.)

  18· · · · · ·A.· ·Okay.

  19· · · · · ·Q.· ·Okay.· So just to understand the

  20· · · analysis here again, key word number one on

  21· · · this list is BuzzFeed?· Right?

  22· · · · · ·A.· ·(The witness nodding his head.)

  23· · · · · ·Q.· ·So what I understand you are saying

  24· · · is that SEMrush is estimating that if BuzzFeed

  25· · · wanted to pay Google or other search engines


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  ·1· · · to drive people to its site when they put the

  ·2· · · -- when they put in the word BuzzFeed to a

  ·3· · · search, right --

  ·4· · · · · ·A.· ·Correct.

  ·5· · · · · ·Q.· ·-- it would cost them $2.50 per

  ·6· · · click to do that?· Right?

  ·7· · · · · ·A.· ·Yes.

  ·8· · · · · ·Q.· ·$2.50 per click for that?

  ·9· · · · · ·A.· ·If BuzzFeed was used as a search

  10· · · term on Google, for example, and then a link

  11· · · posted at the top.

  12· · · · · ·Q.· ·Okay.

  13· · · · · ·A.· ·Yes.

  14· · · · · ·Q.· ·And is it $2.50 per click-through?

  15· · · In other words, is it $2.50 per person who

  16· · · actually clicks onto BuzzFeed.com?· How does

  17· · · the pricing work?

  18· · · · · ·A.· ·That is a cost per click.· If

  19· · · someone clicks on it --

  20· · · · · ·Q.· ·Right.

  21· · · · · ·A.· ·-- then they are charged that to go

  22· · · through.

  23· · · · · ·Q.· ·So, in other words, they click on a

  24· · · link to BuzzFeed?· If they actually click on a

  25· · · link to BuzzFeed, they are charged $2.50 for


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  ·1· · · that?

  ·2· · · · · ·A.· ·Well, it wouldn't necessarily have

  ·3· · · to be a link to BuzzFeed.· Like we talked

  ·4· · · about, GM could use Ford.· Right?

  ·5· · · · · ·Q.· ·So you could also pay $2.50 to

  ·6· · · direct traffic somewhere else?

  ·7· · · · · ·A.· ·It could.· It could be a nonBuzzFeed

  ·8· · · site.

  ·9· · · · · ·Q.· ·Fair enough.

  10· · · · · ·A.· ·It is a market -- it is a --

  11· · · · · ·Q.· ·All right.· That is helpful.· So

  12· · · whatever site the purchaser of this search

  13· · · word was trying to drive traffic to, right,

  14· · · would pay $2.50 for that to each click

  15· · · whatever website it was drying to drive

  16· · · traffic to?

  17· · · · · ·A.· ·Correct.

  18· · · · · ·Q.· ·And your analysis uses a weighted

  19· · · average of the first 100 search terms?

  20· · · · · ·A.· ·Correct.

  21· · · · · ·Q.· ·Why did you choose to do a weighted

  22· · · average of the first 100?

  23· · · · · ·A.· ·Well, it is a more accurate

  24· · · reflection of the actual cost for a click as

  25· · · opposed to taking a simple average, because


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  ·1· · · you have -- if we took a simple average, some

  ·2· · · of these have very high costs.· I am trying to

  ·3· · · find one here.· Some of these are $20 a click.

  ·4· · · 16.52 for "Why is Caillou bald."· So if we

  ·5· · · took a simple average, it would actually skew

  ·6· · · the results.· A weighted average provides a

  ·7· · · more accurate indication of the cost.

  ·8· · · · · ·Q.· ·Turn to page 2 of this document.

  ·9· · · · · · · · · ·(Witness complying.)

  10· · · · · ·Q.· ·So if I am reading this correctly,

  11· · · the information that is at the top of the

  12· · · page 2, right, indicates that there are

  13· · · actually a total of 6.2 million keywords?

  14· · · Right?· They gave us the top 100 but there are

  15· · · actually 6.2 million in total?

  16· · · · · ·A.· ·Right.

  17· · · · · ·Q.· ·And the total amount of traffic

  18· · · those generated was 19 and a half million, and

  19· · · their estimate of traffic cost is $18 million?

  20· · · · · ·A.· ·Correct.

  21· · · · · ·Q.· ·So why wouldn't that number, in

  22· · · other words, the average cost of all traffic

  23· · · to BuzzFeed, which would be what?· 18 million

  24· · · over 19.5, so about 92 cents, why wouldn't

  25· · · that be the most accurate number to use?


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  ·1· · · · · ·A.· ·Because in identifying the cost to

  ·2· · · actually drive the 9 million or so in

  ·3· · · traffic --

  ·4· · · · · ·Q.· ·Right.

  ·5· · · · · ·A.· ·-- first of all it would be absurd

  ·6· · · to have to do a campaign using 6.2 million

  ·7· · · keywords.

  ·8· · · · · ·Q.· ·Um-hmm.

  ·9· · · · · ·A.· ·If you are going to do it, you are

  10· · · going to use at most the top 100 keywords to

  11· · · drive that traffic.· So it is a more accurate

  12· · · representation of what it would take and what

  13· · · it would cost to generate that traffic.

  14· · · · · ·Q.· ·Okay.· Did you ever check what the

  15· · · cost per click or whether there is one listed

  16· · · for what Gubarev, XBT or Webzilla would be?

  17· · · · · ·A.· ·No.

  18· · · · · ·Q.· ·Or dossier?

  19· · · · · ·A.· ·I did not.

  20· · · · · ·Q.· ·Did that have any relevance to your

  21· · · analysis in your view?

  22· · · · · ·A.· ·No.· Because again I am measuring

  23· · · the benefit to BuzzFeed from the posting of

  24· · · the dossier.

  25· · · · · ·Q.· ·Right.


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  ·1· · · · · ·A.· ·So really the question is what is

  ·2· · · the value of that traffic to BuzzFeed as

  ·3· · · measured through the top 100.· And so it --

  ·4· · · whether it is XBT or Webzilla, dossier, it is

  ·5· · · not an accurate reflection of what that value

  ·6· · · would be.

  ·7· · · · · ·Q.· ·Do you have an understanding of how

  ·8· · · SEMrush calculates the cost per click?

  ·9· · · · · ·A.· ·Yes.

  10· · · · · ·Q.· ·And how do they do that?

  11· · · · · ·A.· ·So they base it on -- again there is

  12· · · a market for how much it costs to different

  13· · · keywords.· Some keywords, for example, I

  14· · · believe it is mesothelioma attorney, is the

  15· · · highest -- one click is like $1,600 or more,

  16· · · because the cases are worth a lot of money,

  17· · · million-dollar payouts from the trust or

  18· · · whatnot.· And the market is willing to pay --

  19· · · presumably the mesothelioma attorneys who want

  20· · · to use those ads, they bid those prices up to

  21· · · the $1,600.· And that changes.· It can change

  22· · · daily, monthly.· It depends on the demand.· It

  23· · · is a supply-and-demand issue.

  24· · · · · ·Q.· ·Okay.· The words dossier or Gubarev,

  25· · · XBT, Webzilla, are not in the top 100 search


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  ·1· · · terms, right, at least identified by SEMrush?

  ·2· · · · · ·A.· ·Yes.· I think the date we pulled

  ·3· · · this was the date that the dossier was

  ·4· · · published.· And so I don't think it is on

  ·5· · · here.

  ·6· · · · · ·Q.· ·Okay.· Are you specifically planning

  ·7· · · to supplement your report with any additional

  ·8· · · information?

  ·9· · · · · ·A.· ·I have no plans to do it or not to

  10· · · do it.

  11· · · · · ·Q.· ·Okay.

  12· · · · · ·A.· ·If it comes up.

  13· · · · · ·Q.· ·Okay.· I am just asking you sitting

  14· · · here today you're not aware of any?

  15· · · · · ·A.· ·No.

  16· · · · · ·Q.· ·You don't have a specific intent to

  17· · · supplement?

  18· · · · · ·A.· ·No instructions nor have I been

  19· · · asked to do so.

  20· · · · · · · · · ·MR. SIEGEL:· Obviously we

  21· · · · · ·would reserve the right, if there is

  22· · · · · ·a further supplementation, to

  23· · · · · ·continue the deposition on that.

  24· · · BY MR. SIEGEL:

  25· · · · · ·Q.· ·As I understand it, you are being


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  ·1· · · paid $700 an hour for this case for testimony?

  ·2· · · · · ·A.· ·That's correct.

  ·3· · · · · ·Q.· ·And other people in your company are

  ·4· · · paid $500 an hour?

  ·5· · · · · ·A.· ·That's correct.

  ·6· · · · · ·Q.· ·And are you paid $700 an hour for

  ·7· · · all your work or just the testifying part?

  ·8· · · · · ·A.· ·Testimony, preparation.· Pretty much

  ·9· · · postreport work, trial and trial preparation.

  10· · · · · ·Q.· ·That is $700?

  11· · · · · ·A.· ·Yes.

  12· · · · · ·Q.· ·And you are paid $500 an hour for

  13· · · the work you did --

  14· · · · · ·A.· ·Report writing.

  15· · · · · ·Q.· ·-- for the report itself?

  16· · · · · ·A.· ·Right.

  17· · · · · ·Q.· ·And just to clarify.· I looked at

  18· · · your agreement with the plaintiffs.· It looks

  19· · · like the rates range from $500 to like 900 or

  20· · · 950 for the chairman, CEO.· I take it you are

  21· · · not the chairman, CEO?· Right?

  22· · · · · ·A.· ·No.· I am the managing director.

  23· · · · · ·Q.· ·You are the managing director.

  24· · · Okay.

  25· · · · · · · · · ·MR. SIEGEL:· Why don't we go


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  ·1· · · · · ·off the record a second.

  ·2· · · · · · · · · ·THE VIDEOGRAPHER:· Okay.· The

  ·3· · · · · ·time is 4:03.· We are off the

  ·4· · · · · ·record.

  ·5· · · · · · · · · ·(Recess ended at 4:03 p.m.)

  ·6· · · · · · · · · ·(Recess ended at 4:04 p.m.)

  ·7· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  ·8· · · · · ·is 4:04.· We are back on the record.

  ·9· · · BY MR. SIEGEL:

  10· · · · · ·Q.· ·So just looking at the SEMrush data

  11· · · again in Exhibit 14, if you would turn to

  12· · · page 7.

  13· · · · · · · · · ·(Witness complying.)

  14· · · · · ·Q.· ·If you look at position number 1,

  15· · · does that indicate that when people typed in

  16· · · the search word BuzzFeed, 2.24 million of them

  17· · · actually went to the BuzzFeed site?· Is that

  18· · · what that is saying?

  19· · · · · ·A.· ·Yes.· That's the percent -- well,

  20· · · 2.24 million was traffic generated from.

  21· · · · · ·Q.· ·Okay.· So here is -- the question is

  22· · · if BuzzFeed is already getting 2.24 million,

  23· · · right, views --

  24· · · · · ·A.· ·Um-hmm.

  25· · · · · ·Q.· ·-- when people are typing in


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  ·1· · · "BuzzFeed" to a search engine, why would they

  ·2· · · pay for -- why would they pay $2.50 a click to

  ·3· · · -- when they are already getting 2.24 million?

  ·4· · · Why would they do that?

  ·5· · · · · ·A.· ·Yes.· And I'm not saying they would.

  ·6· · · What I am saying is that's the value of that

  ·7· · · search term for that level of traffic.· And so

  ·8· · · it is not necessarily that -- what you paid

  ·9· · · doesn't necessarily have to be what something

  10· · · is worth.

  11· · · · · ·Q.· ·Right.· Okay.· But why -- if

  12· · · BuzzFeed were to -- how would it be an actual

  13· · · benefit to BuzzFeed if BuzzFeed were to start

  14· · · paying $2.50 a click for that search term?

  15· · · · · ·A.· ·Again the premise of this was what's

  16· · · the value or the measure of benefit of the

  17· · · traffic to BuzzFeed.

  18· · · · · ·Q.· ·Right.

  19· · · · · ·A.· ·And so the search term "BuzzFeed,"

  20· · · which is why we didn't just limit it to

  21· · · BuzzFeed -- obviously it would make the number

  22· · · higher than $2.50 -- but that is why we took

  23· · · the top 100.· We are saying of all the search

  24· · · terms that drive traffic to BuzzFeed, what is

  25· · · the value of those search terms, and so that's


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  ·1· · · a measure of the benefit that BuzzFeed

  ·2· · · received from the 9 million in traffic.

  ·3· · · · · ·Q.· ·Okay.· And is that the benefit to a

  ·4· · · hypothetical average website, in other words,

  ·5· · · to any website?· Is that an estimate of the

  ·6· · · benefit to any website?

  ·7· · · · · ·A.· ·Well, no, because we did it based on

  ·8· · · actual BuzzFeed traffic.

  ·9· · · · · ·Q.· ·Um-hmm.

  10· · · · · ·A.· ·And so it is based on the search

  11· · · terms that drove traffic to BuzzFeed in

  12· · · January of 2017.

  13· · · · · ·Q.· ·Um-hmm.

  14· · · · · ·A.· ·And so the search terms that drove

  15· · · traffic to a different website, go back to

  16· · · Ford.com, would be different search terms, and

  17· · · each of those search terms would have a

  18· · · different value.· So they would be different

  19· · · situations.

  20· · · · · ·Q.· ·Does it matter in your analysis

  21· · · whether most of the traffic to BuzzFeed

  22· · · doesn't come from search engines?· Does it

  23· · · matter?

  24· · · · · ·A.· ·For the calculation of the value

  25· · · here using again the cost approach --


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  ·1· · · · · ·Q.· ·Um-hmm.

  ·2· · · · · ·A.· ·-- it doesn't make a difference

  ·3· · · where the actual traffic comes from.· It is an

  ·4· · · indication of that benefit.· And I have got to

  ·5· · · say it again.· It is a conservative indication

  ·6· · · for the other reasons we have discussed.

  ·7· · · · · ·Q.· ·Okay.

  ·8· · · · · · · · · ·MR. SIEGEL:· That's all I

  ·9· · · · · ·have.· Oh, well, this is -- yes.

  10· · · · · ·Let me just --

  11· · · · · · · · · ·I think why don't we just

  12· · · · · ·actually make -- we can do this

  13· · · · · ·afterwards.· I think document 76 was

  14· · · · · ·attorney eyes' only.· Right?· The

  15· · · · · ·exhibit, the spreadsheet exhibit.

  16· · · · · ·So we can just designate those pages

  17· · · · · ·accordingly.· I don't think we need

  18· · · · · ·to designate the whole deposition

  19· · · · · ·for attorney eyes' only.· We will

  20· · · · · ·take a look when the transcript

  21· · · · · ·comes out.

  22· · · · · · · · · ·MR. FRAY-WITZER:· I think the

  23· · · · · ·questions that related to that

  24· · · · · ·document.

  25· · · · · · · · · ·MR. SIEGEL:· Specifically?


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  ·1· · · · · · · · · ·MR. FRAY-WITZER:· Yes.

  ·2· · · · · · · · · ·MR. SIEGEL:· I agree.· Okay.

  ·3· · · · · · · · · ·THE WITNESS:· Thank you.

  ·4· · · · · · · · · ·THE VIDEOGRAPHER:· The time

  ·5· · · · · ·is 4:08.· That concludes today's

  ·6· · · · · ·deposition.· We are off the record.

  ·7· · · · · · · · · ·(Whereupon, at 4:08 p.m., the

  ·8· · · · · ·deposition was adjourned.)

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  ·1· · · · · · · · · DEPONENT'S ERRATA SHEET

  ·2· · · · · · · · ·AND SIGNATURE INSTRUCTIONS

  ·3

  ·4· · · · · · ·The original of the Errata Sheet has

  ·5· · · been delivered to EVAN FRAY-WITZER, ESQUIRE.

  ·6· · · · · · ·When the Errata Sheet has been

  ·7· · · completed by the deponent and signed, a copy

  ·8· · · thereof should be delivered to each party of

  ·9· · · record and the ORIGINAL delivered to NATHAN

  10· · · SIEGEL, ESQUIRE, to whom the original

  11· · · deposition transcript was delivered.

  12

  13· · · · · · · · · INSTRUCTIONS TO DEPONENT

  14· · · · · · ·After reading this volume of your

  15· · · deposition, indicate any corrections or

  16· · · changes to your testimony and the reasons

  17· · · therefor on the Errata Sheet supplied to you

  18· · · and sign it.· DO NOT make marks or notations

  19· · · on the transcript volume itself.

  20

  21· · · · · · ·REPLACE THIS PAGE OF THE TRANSCRIPT

  22· · · WITH THE COMPLETED AND SIGNED ERRATA SHEET

  23· · · WHEN RECEIVED.

  24

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  ·1· · · ATTACH TO DEPOSITION OF JEFFREY ANDERSON

  ·2· · · CASE: ALEKSEJ GUBAREV, XBT HOLDING S.A., AND
  · · · · · · · WEBZILLA, INC. V. BUZZFEED, INC. AND BEN
  ·3· · · · · · SMITH

  ·4· · · DATE TAKEN:· May 31, 2018

  ·5· · · · · · · · · · · · ERRATA SHEET

  ·6· · · · · · ·Please refer to the preceding page

  ·7· · · errata sheet instructions and distribution

  ·8· · · instructions.

  ·9· · · PAGE· · · ·LINE· · · CHANGE· · · · REASON

  10· · · · · · · · · · · · · · · · · · · · · · ·_______

  11· · · ______________________________________________

  12· · · ______________________________________________

  13· · · ______________________________________________

  14· · · ______________________________________________

  15· · · ______________________________________________

  16· · · ______________________________________________

  17· · · ______________________________________________

  18· · · · · · ·I have read the foregoing transcript of

  19· · · my deposition and except for any corrections

  20· · · or changes noted above, I hereby subscribe to

  21· · · the transcript as an accurate record of the

  22· · · statements made by me.

  23· · · · · · ·Executed this ____ day of

  24· · · __________________, 2018.

  25· · · · · _______________________________________
  · · · · · · · · · · · ·JEFFREY ANDERSON


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  ·1· · · · · · · · · · · · ·CERTIFICATE

  ·2· · · Commonwealth of Massachusetts

  ·3· · · Plymouth, ss.

  ·4

  ·5

  ·6· · · · · · · · ·I, Judith McGovern Williams, a

  ·7· · · Notary Public in and for the Commonwealth of

  ·8· · · Massachusetts, do hereby certify:

  ·9· · · · · · · · ·That JEFFREY ANDERSON, the witness

  10· · · whose deposition is hereinbefore set forth,

  11· · · was duly sworn by me and that such deposition

  12· · · is a true record of the testimony given by the

  13· · · said witness.

  14· · · · · · · · ·IN WITNESS WHEREOF, I have hereunto

  15· · · set my hand this 5th day of June, 2018.

  16

  17
  · · · · · · · · · · Judith McGovern Williams
  18· · · · · · ·Registered Professional Reporter
  · · · · · · · · · Certified Realtime Reporter
  19· · · · · · · · Certified LiveNote Reporter
  · · · · · · Certified Shorthand Reporter No. 130993
  20

  21
  · · · · My Commission expires:
  22
  · · · · April 19, 2024
  23

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